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                         Exhibit A:
                        October Order
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                                                                                                  EARLY TERMINATIONS GRANTED—Continued
                                                                                                             [July 1, 2020 thru July 31, 2020]

                                            20201217 ........     G    Oaktree Power Opportunities Fund V, L.P.; Montrose Environmental Group, Inc.; Oaktree Power Opportunities Fund V,
                                                                        L.P.
                                            20201220 ........     G    General Atlantic Partners 100, L.P.; Doctor on Demand, Inc.; General Atlantic Partners 100, L.P.

                                                                                                                         07/16/2020

                                            20201198 ........     G    Enviva Partners, LP; RWE Aktiengesellschaft; Enviva Partners, LP.

                                                                                                                         07/17/2020

                                            20201192 ........     G    Vista Equity Partners Fund V, L.P.; 4C Insights, Inc.; Vista Equity Partners Fund V, L.P.
                                            20201207 ........     G    Genstar Capital Partners IX, L.P.; Sentinel Capital Partners V, L.P.; Genstar Capital Partners IX, L.P.

                                                                                                                         07/27/2020

                                            20201218   ........   G    Fiera Infrastructure Fund; CSC CUB Holdings, LP; Fiera Infrastructure Fund.
                                            20201219   ........   G    Stichting Pensioenfonds ABP; CSC CUB Holdings, LP; Stichting Pensioenfonds ABP.
                                            20201221   ........   G    Citadel Kensington Global Strategies Fund Ltd.; UP Energy Corporation; Citadel Kensington Global Strategies Fund Ltd.
                                            20201222   ........   G    Sony Corporation; Timothy D. Sweeney; Sony Corporation
                                            20201223   ........   G    Crescent Acquisition Corp; F45 Training Holdings Inc.; Crescent Acquisition Corp.
                                            20201224   ........   G    VPI Holding Company, LLC; Centerbridge Capital Partners III, L.P.; VPI Holding Company, LLC.
                                            20201231   ........   G    Thomas Tull; Acrisure Holdings, Inc.; Thomas Tull.
                                            20201234   ........   G    Temasek Holdings (Private) Limited; LegalApp Holdings, Inc.; Temasek Holdings (Private) Limited.
                                            20201235   ........   G    Authentic Brands Group LLC; LBD Parent Holdings, LLC; Authentic Brands Group LLC.

                                                                                                                         07/29/2020

                                            20201233   ........   G    Roark Capital Partners III LP; Roark Capital Partners IV Cayman AIV LP; Roark Capital Partners III LP.
                                            20201238   ........   G    Insurance Acquisition Corp.; Shift Technologies, Inc.; Insurance Acquisition Corp.
                                            20201241   ........   G    GT Polaris Holdings, L.P.; I. Charles Widger; GT Polaris Holdings, L.P.
                                            20201242   ........   G    GT Polaris Holdings, L.P.; NorthStar Topco, LLC; GT Polaris Holdings, L.P.
                                            20201248   ........   G    KIA X (Breathe), L.P.; GlaxoSmithKline plc; KIA X (Breathe), L.P.
                                            20201249   ........   G    Eppendorf AG; Promega Corporation; Eppendorf AG.
                                            20201250   ........   G    Naspers Limited; Remitly Global, Inc.; Naspers Limited.
                                            20201251   ........   G    Blackstone Capital Partners VII L.P.; Gregory Burgess; Blackstone Capital Partners VII L.P.
                                            20201258   ........   G    Hargray Acquisition Holdings, LLC; Cable One, Inc.; Hargray Acquisition Holdings, LLC.

                                                                                                                         07/31/2020

                                            20201252 ........     G    EQT VIII (No. 1) SCSp; Rancher Labs, Inc.; EQT VIII (No. 1) SCSp.



                                            FOR FURTHER INFORMATION CONTACT:                         DEPARTMENT OF HEALTH AND                              through Canada and Mexico into the
                                            Theresa Kingsberry (202–326–3100),                       HUMAN SERVICES                                        United States creates a serious danger of
                                            Program Support Specialist, Federal                                                                            the introduction of COVID–19 into the
                                            Trade Commission Premerger                               Centers for Disease Control and                       United States, and the danger is so
                                            Notification Office, Bureau of                           Prevention                                            increased by the introduction of such
                                            Competition, Room CC–5301,                                                                                     aliens that a temporary suspension is
                                                                                                     Order Suspending the Right To                         necessary to protect the public health.
                                            Washington, DC 20024.
                                                                                                     Introduce Certain Persons From
                                             By direction of the Commission.                         Countries Where a Quarantinable                       DATES: This action took effect October
                                            April J. Tabor,                                          Communicable Disease Exists                           13, 2020.
                                            Acting Secretary.                                                                                              FOR FURTHER INFORMATION CONTACT:
                                                                                                     AGENCY: Centers for Disease Control and               Nina B. Witkofsky, Office of the Chief of
                                            [FR Doc. 2020–22944 Filed 10–15–20; 8:45 am]             Prevention (CDC), Department of Health                Staff, Centers for Disease Control and
                                            BILLING CODE 6750–01–P                                   and Human Services (HHS).                             Prevention, 1600 Clifton Road NE, MS
                                                                                                     ACTION: Notice.                                       V18–2, Atlanta, GA 30329. Phone: 404–
                                                                                                                                                           639–7000. Email: cdcregulations@
                                                                                                     SUMMARY:    The Centers for Disease                   cdc.gov.
                                                                                                     Control and Prevention (CDC), a
                                                                                                     component of the Department of Health                 SUPPLEMENTARY INFORMATION:     The
                                                                                                     and Human Services (HHS), announces                   Director of the CDC (Director) is issuing
                                                                                                     the issuance of an Order suspending the               this Order pursuant to Sections 362 and
                                                                                                     right to introduce certain persons into               365 of the Public Health Service (PHS)
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                                                                                                     the United States from countries where                Act, 42 U.S.C. 265, 268, and their
                                                                                                     a quarantinable communicable disease                  implementing regulations,1 which
                                                                                                     exists. This Order is based on the CDC                authorize the Director of the Centers for
                                                                                                     Director’s determination that                         Disease Control and Prevention (CDC) to
                                                                                                     introduction of aliens, regardless of
                                                                                                     their country of origin, migrating                      1 85   FR 56424.



                                       VerDate Sep<11>2014    18:59 Oct 15, 2020   Jkt 253001   PO 00000   Frm 00019   Fmt 4703   Sfmt 4703   E:\FR\FM\16OCN1.SGM    16OCN1
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                                            suspend the right to introduce 2 persons                congregate settings in POEs or Border                 processing. The common areas of such
                                            into the United States when the Director                Patrol stations to facilitate immigration             facilities were not designed for, and are
                                            determines that the existence of a                      processing, would typically be aliens                 not equipped to, quarantine, isolate, or
                                            quarantinable communicable disease in                   seeking to enter the United States at                 enable social distancing by persons who
                                            a foreign country or place creates a                    POEs who do not have proper travel                    are or may be infected with COVID–19.
                                            serious danger of the introduction of                   documents, aliens whose entry is                      The introduction into congregate
                                            such disease into the United States and                 otherwise contrary to law, and aliens                 settings in land and coastal POEs and
                                            the danger is so increased by the                       who are apprehended at or near the                    Border Patrol stations of persons from
                                            introduction of persons from the foreign                border seeking to unlawfully enter the                Canada or Mexico increases the already
                                            country or place that a temporary                       United States between POEs. This Order                serious danger to the public health to
                                            suspension of the right of such                         is intended to cover all such aliens. For             the point of requiring a temporary
                                            introduction is necessary to protect                    simplicity, I shall refer to the persons              suspension of the right of introduction
                                            public health. This Order replaces the                  covered by this Order as ‘‘covered                    of such persons into the United States.
                                            Order Suspending Introduction of                        aliens.’’                                                The public health risks of inaction
                                            Certain Persons from Countries Where a                     This Order, which is substantially the             include transmission and spread of
                                            Communicable Disease Exists, issued on                  same as the amended and extended                      COVID–19 to CBP personnel, U.S.
                                            March 20, 2020 (March 20, 2020 Order),                  March 20, 2020 Order, is necessary to                 citizens, lawful permanent residents,
                                            extended on April 20, 2020, and                         continue to protect the public health                 and other persons in the POEs and
                                            amended May 19, 2020, which were                        from an increase in the serious danger                Border Patrol stations; further
                                            based on the prior interim final rule.3                 of the introduction of Coronavirus                    transmission and spread of COVID–19
                                               This Order applies to persons                        Disease 2019 (COVID–19) into the POEs,                in the interior; and the increased strain
                                            traveling from Canada or Mexico                         and the Border Patrol stations between                that further transmission and spread of
                                            (regardless of their country of origin)                 POEs, at or near the United States                    COVID–19 would put on the United
                                            who would otherwise be introduced                       borders with Canada and Mexico. Those                 States healthcare system and supply
                                            into a congregate setting in a land or                  facilities are operated by U.S. Customs               chain during the current public health
                                            coastal Port of Entry (POE) or Border                   and Border Protection (CBP), an agency                emergency.
                                            Patrol station at or near the United                    within DHS. This Order is intended to                    These risks are troubling because
                                            States borders with Canada or Mexico,                   help mitigate the continued risks of                  POEs and Border Patrol stations were
                                            subject to the exceptions detailed below.               transmission and spread of COVID–19                   not designed and are not equipped to
                                               This Order does not apply to U.S.                    to CBP personnel, U.S. citizens, lawful               deliver medical care to numerous
                                            citizens and lawful permanent                           permanent residents, and other persons                persons exposed to or infected with a
                                            residents; members of the armed forces                  in the POEs and Border Patrol stations;               quarantinable communicable disease,
                                            of the United States, and associated                    further transmission and spread of                    nor are they capable of providing the
                                            personnel, and their spouses and                        COVID–19 in the interior of the United                level of medical care that would be
                                            children; persons from foreign countries                States; and the increased strain that                 necessary in the cases of serious
                                            who hold valid travel documents and                     further transmission and spread of                    COVID–19 infection that occur with
                                            arrive at a POE; or persons from foreign                COVID–19 would put on the United                      greater frequency in vulnerable
                                            countries in the visa waiver program                    States healthcare system and supply                   populations like the elderly and those
                                            who are not otherwise subject to travel                 chain during the current public health                with certain pre-existing conditions.
                                            restrictions and arrive at a POE.                       emergency.4                                           Indeed, CBP transfers persons with
                                            Additionally, this Order does not apply                    There is a serious danger of the                   acute presentations of illness to local or
                                            to any alien who must test negative for                 introduction of COVID–19 into the POEs                regional healthcare providers for
                                            COVID–19 before they are expelled to                    and Border Patrol stations at or near the             treatment. Outbreaks of COVID–19 in
                                            their home country. Further, this Order                 United States borders with Canada and                 POEs or Border Patrol stations would
                                            does not apply to persons whom                          Mexico, and into the interior of the                  lead to transfers of such persons to local
                                            customs officers determine, with                        country as a whole, because COVID–19                  or regional health care providers, which
                                            approval from a supervisor, should be                   exists in Canada, Mexico, and the other               would exhaust the local or regional
                                            excepted based on the totality of the                   countries of origin of persons who                    healthcare resources, or at least reduce
                                            circumstances, including consideration                  migrate to the United States across the               the availability of such resources to the
                                            of significant law enforcement, officer                 United States land and coastal borders                domestic population, and further expose
                                            and public safety, humanitarian, and                    with Canada and Mexico. Those persons                 local or regional healthcare workers to
                                            public health interests. DHS shall                      are subject to immigration processing in              COVID–19. The continuing availability
                                            consult with CDC concerning how these                   the POEs and Border Patrol stations.                  of healthcare resources to the domestic
                                            types of case-by-case, individualized                   Many of those persons (typically aliens               population is a critical component of
                                            exceptions shall be made to help ensure                 who lack valid travel documents and are               the federal government’s overall public
                                            consistency with current CDC guidance                   therefore inadmissible) are held in the               health response to COVID–19.
                                            and public health assessments.                          common areas of the facilities, in close                 Based on these ongoing concerns and
                                               DHS has informed CDC that persons                    proximity to one another, for hours or                to protect the public health, I hereby
                                            who are traveling from Canada or                        days, as they undergo immigration                     suspend the introduction of all covered
                                            Mexico (regardless of their country of                                                                        aliens into the United States until I
                                            origin), and who must be held longer in
                                                                                                      4 As of October 1, 2020, CBP has had 2,195          determine that the danger of further
                                                                                                    employees contract COVID–19. In addition, 13          introduction of COVID–19 into the
                                                                                                    employees and one USBP transportation contractor
                                                                                                                                                          United States has ceased to be a serious
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                                              2 Suspension of the right to introduce means to
                                                                                                    have died due to the virus. Any outbreak of COVID–
                                            cause the temporary cessation of the effect of any      19 among CBP personnel in land POEs or Border         danger to the public health, and
                                            law, rule, decree, or order pursuant to which a         Patrol stations would impact CBP operations           continuation of the Order is no longer
                                            person might otherwise have the right to be             negatively. Although not part of the CDC public       necessary to protect the public health.
                                            introduced or seek introduction into the United         health analysis, it bears emphasizing that the
                                            States. 42 CFR 71.40(b)(5).                             impact on CBP could reduce the security of U.S.
                                                                                                                                                          Every 30 days, CDC shall review the
                                              3 85 FR 16559, 85 FR 17060, 85 FR 22424, 85 FR        land borders and the speed with which cargo moves     latest information regarding the status of
                                            31503.                                                  across the same.                                      the COVID–19 pandemic and associated


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                                            public health risks to ensure that the                  (regardless of their country of origin)               intended to help mitigate the continued
                                            Order remains necessary to protect the                  who would otherwise be introduced                     risks of transmission and spread of
                                            public health. Upon determining that                    into a congregate setting in a land or                COVID–19 to CBP personnel, U.S.
                                            the further introduction of COVID–19                    coastal Port of Entry (POE) or Border                 citizens, lawful permanent residents,
                                            into the United States is no longer a                   Patrol station at or near the United                  and other persons in the POEs and
                                            serious danger to the public health                     States borders with Canada or Mexico,                 Border Patrol stations; further
                                            necessitating the continuation of this                  subject to the exceptions detailed below.             transmission and spread of COVID–19
                                            Order, I will publish a notice in the                      This Order does not apply to U.S.                  in the interior of the United States; and
                                            Federal Register terminating this Order                 citizens and lawful permanent                         the increased strain that further
                                            and its Extensions. I may amend this                    residents; members of the armed forces                transmission and spread of COVID–19
                                            Order as necessary to protect the public                of the United States or U.S. government               would put on the United States
                                            health.                                                 personnel serving overseas, and                       healthcare system and supply chain
                                              A copy of the Order is provided below                 associated personnel, and their spouses               during the current public health
                                            and a copy of the signed Order can be                   and children; persons from foreign                    emergency.8
                                            found at https://www.cdc.gov/                           countries who hold valid travel                          There is a serious danger of the
                                            coronavirus/2019-ncov/order-                            documents and arrive at a POE; or                     introduction of COVID–19 into the POEs
                                            suspending-introduction-certain-                        persons from foreign countries in the                 and Border Patrol stations at or near the
                                            persons.html.                                           visa waiver program who are not                       United States borders with Canada and
                                                                                                    otherwise subject to travel restrictions              Mexico, and into the interior of the
                                            U.S. DEPARTMENT OF HEALTH AND                           and arrive at a POE. Additionally, this               country as a whole, because COVID–19
                                            HUMAN SERVICES                                          Order does not apply to any alien who                 exists in Canada, Mexico, and the other
                                            Centers for Disease Control and                         must test negative for COVID–19 before                countries of origin of persons who
                                            Prevention (CDC)                                        they are expelled directly to their home              migrate to the United States across the
                                            Order Under Sections 362 & 365 of the                   country. Further, this Order does not                 United States land and coastal borders
                                            Public Health Service Act                               apply to persons whom customs officers                with Canada and Mexico. Those persons
                                                                                                    determine, with approval from a                       are subject to immigration processing in
                                            (42 U.S.C. 265, 268):                                   supervisor, should be excepted based on               the POEs and Border Patrol stations.
                                            Order Suspending the Right To                           the totality of the circumstances,                    Many of those persons (typically aliens
                                            Introduce Certain Persons From                          including consideration of significant                who lack valid travel documents and are
                                            Countries Where a Quarantinable                         law enforcement, officer and public                   therefore inadmissible) are held in the
                                            Communicable Disease Exists                             safety, humanitarian, and public health               common areas of the facilities, in close
                                                                                                    interests. DHS shall consult with CDC                 proximity to one another, for hours or
                                            I. Purpose and Application                              concerning how these types of case-by-                days, as they undergo immigration
                                               I issue this Order pursuant to Sections              case, individualized exceptions shall be              processing. The common areas of such
                                            362 and 365 of the Public Health                        made to help ensure consistency with                  facilities were not designed for, and are
                                            Service (PHS) Act, 42 U.S.C. 265, 268,                  current CDC guidance and public health                not equipped to, quarantine, isolate, or
                                            and their implementing regulations,5                    assessments.                                          enable social distancing by persons who
                                            which authorize the Director of the                        DHS has informed CDC that persons                  are or may be infected with COVID–19.
                                            Centers for Disease Control and                         who are traveling from Canada or                      The introduction into congregate
                                            Prevention (CDC) to suspend the right to                Mexico (regardless of their country of                settings in land and coastal POEs and
                                            introduce 6 persons into the United                     origin), and who must be held longer in               Border Patrol stations of persons from
                                            States when the Director determines                     congregate settings in POEs or Border                 Canada or Mexico increases the already
                                            that the existence of a quarantinable                   Patrol stations to facilitate immigration             serious danger to the public health to
                                            communicable disease in a foreign                       processing, would typically be aliens                 the point of requiring a temporary
                                            country or place creates a serious danger               seeking to enter the United States at                 suspension of the right of introduction
                                            of the introduction of such disease into                POEs who do not have proper travel                    of such persons into the United States.
                                            the United States and the danger is so                  documents, aliens whose entry is                         The public health risks of inaction
                                            increased by the introduction of persons                otherwise contrary to law, and aliens                 include transmission and spread of
                                            from the foreign country or place that a                who are apprehended at or near the                    COVID–19 to CBP personnel, U.S.
                                            temporary suspension of the right of                    border seeking to unlawfully enter the                citizens, lawful permanent residents,
                                            such introduction is necessary to protect               United States between POEs. This Order                and other persons in the POEs and
                                            public health. This Order replaces the                  is intended to cover all such aliens. For             Border Patrol stations; further
                                            Order Suspending Introduction of                        simplicity, I shall refer to the persons              transmission and spread of COVID–19
                                            Certain Persons from Countries Where a                  covered by this Order as ‘‘covered                    in the interior; and the increased strain
                                            Communicable Disease Exists, issued on                  aliens.’’                                             that further transmission and spread of
                                            March 20, 2020 (March 20, 2020 Order),                     This Order, which is substantially the             COVID–19 would put on the United
                                            extended on April 20, 2020, and                         same as the amended and extended                      States healthcare system and supply
                                            amended May 19, 2020, which were                        March 20, 2020 Order, is necessary to                 chain during the current public health
                                            based on the prior interim final rule.7                 continue to protect the public health                 emergency.
                                               This Order applies to persons                        from an increase in the serious danger
                                            traveling from Canada or Mexico                         of the introduction of Coronavirus                      8 As of October 1, 2020, CBP has had 2,195

                                                                                                    Disease 2019 (COVID–19) into the POEs,                employees contract COVID–19. In addition, 13
                                                                                                                                                          employees and one USBP transportation contractor
                                              5 85 FR 56424, 42 CFR 71.40.                          and the Border Patrol stations between
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                                                                                                                                                          have died due to the virus. Any outbreak of COVID–
                                              6 Suspension  of the right to introduce means to      POEs, at or near the United States                    19 among CBP personnel in land and coastal POEs
                                            cause the temporary cessation of the effect of any      borders with Canada and Mexico. Those                 or Border Patrol stations would impact CBP
                                            law, rule, decree, or order pursuant to which a         facilities are operated by U.S. Customs               operations negatively. Although not part of the CDC
                                            person might otherwise have the right to be                                                                   public health analysis, it bears emphasizing that the
                                            introduced or seek introduction into the United         and Border Protection (CBP), an agency                impact on CBP could reduce the security of U.S.
                                            States. 42 CFR 71.40(b)(5).                             within the U.S. Department of                         borders and the speed with which cargo moves
                                              7 85 FR 17060, 85 FR 22424, 85 FR 31503.              Homeland Security (DHS). This Order is                across the same.



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                                               These risks are troubling because                    that was first identified as the cause of                obstructive pulmonary disease (COPD),
                                            POEs and Border Patrol stations were                    an outbreak of respiratory illness that                  serious heart conditions, cancer, Type 2
                                            not designed and are not equipped to                    began in Wuhan, Hubei Province,                          diabetes, and those with compromised
                                            deliver medical care to numerous                        People’s Republic of China (China). As                   immune systems.15
                                            persons exposed to or infected with a                   of October 1, 2020, there were over
                                                                                                                                                                Unfortunately, at this time, there is no
                                            quarantinable communicable disease,                     34,103,279 cases of COVID–19 globally,
                                                                                                                                                             vaccine against COVID–19, although
                                            nor are they capable of providing the                   resulting in over 1,016,167 deaths.
                                            level of medical care that would be                        COVID–19 spreads easily and                           several are in development. While U.S.
                                            necessary in the cases of serious                       sustainably within communities.10 The                    Food and Drug Administration (FDA)
                                            COVID–19 infection that occur with                      virus is thought to transfer principally                 has not approved drugs to treat patients
                                            greater frequency in vulnerable                         by person-to-person contact through                      with COVID–19 based on a
                                            populations like the elderly and those                  respiratory droplets produced during                     demonstration of safety and efficacy in
                                            with certain pre-existing conditions.                   exhalation, such as breathing, speaking,                 randomized controlled trials, FDA has
                                            Indeed, CBP transfers persons with                      coughing, and sneezing. Droplets can                     granted an Emergency Use
                                            acute presentations of illness to local or              span a wide spectrum of sizes that can                   Authorization for the use of VEKLURY®
                                            regional healthcare providers for                       remain airborne from seconds for larger                  (remdesivir) and other investigational
                                            treatment. Outbreaks of COVID–19 in                     droplets to several hours for smaller                    therapeutics in the treatment of COVID–
                                            POEs or Border Patrol stations would                    droplets and particles. The virus may                    19 infection. Beyond these therapeutics,
                                            lead to transfers of such persons to local              also transfer through contact with                       treatment is currently limited to
                                            or regional health care providers, which                surfaces or objects contaminated with                    supportive care to manage symptoms.
                                            would exhaust the local or regional                     these droplets.11 There is also evidence                 Hospitalization may be required in
                                            healthcare resources, or at least reduce                of asymptomatic transmission, in which                   severe cases and mechanical respiratory
                                            the availability of such resources to the               an individual infected with COVID–19                     support may be needed in the most
                                            domestic population, and further expose                 is capable of spreading the virus to                     severe cases.
                                            local or regional healthcare workers to                 others before exhibiting symptoms.12
                                            COVID–19. The continuing availability                      Symptoms may include fever or                            Global efforts to slow the spread of
                                            of healthcare resources to the domestic                 chills, cough, and shortness of breath or                COVID–19 have included sweeping
                                            population is a critical component of                   difficulty breathing, fatigue, muscle or                 travel limitations and lockdowns.
                                            the federal government’s overall public                 body aches, headache, new loss of taste                  Nations such as the European Union
                                            health response to COVID–19.                            or smell, sore throat, congestion or                     (EU) Member States and Schengen Area
                                               Based on these ongoing concerns and                  runny nose, nausea or vomiting, and                      countries,16 Australia, New Zealand,
                                            to protect the public health, I hereby                  diarrhea, and typically appear 2–14                      and Canada have imposed restrictions
                                            suspend the introduction of all covered                 days after exposure to the virus.13                      on international travelers.17 In many
                                            aliens into the United States until I                   Manifestations of severe disease have                    countries, individuals are being asked to
                                            determine that the danger of further                    included severe pneumonia, acute                         self-quarantine for 14 days—the outer
                                            introduction of COVID–19 into the                       respiratory distress syndrome (ARDS),                    limit of the COVID–19’s estimated
                                            United States has ceased to be a serious                septic shock, and multi-organ failure.14                 incubation period—following return
                                            danger to the public health, and                        Mortality rates are higher among seniors                 from a foreign country with sustained
                                            continuation of the Order is no longer                  and those with certain underlying                        community transmission. For example,
                                            necessary to protect the public health.                 medical conditions, such as chronic                      all returning citizens and residents of
                                            Every 30 days, CDC shall review the                                                                              Australia and New Zealand are subject
                                            latest information regarding the status of                10 COVID–19 Pandemic Planning Scenarios, Ctrs.
                                                                                                                                                             to a mandatory 14-day quarantine at
                                            the COVID–19 pandemic and associated                    for Disease Control & Prevention, https://
                                                                                                    www.cdc.gov/coronavirus/2019-ncov/hcp/planning-
                                            public health risks to ensure that the                  scenarios.html, (last visited Oct. 3, 2020), (CDC           15 Coronavirus Disease 2019 (COVID–19): People
                                            Order remains necessary to protect the                  estimates that the viral transmissibility (R0) of        with Certain Medical Conditions, Ctrs. for Disease
                                            public health. Upon determining that                    COVID–19 is around 2.5, but may be as high as 4,         Control & Prevention, https://www.cdc.gov/
                                            the further introduction of COVID–19                    meaning that a single infected person will on            coronavirus/2019-ncov/need-extra-precautions/
                                                                                                    average infect between 2 to 4 others).                   people-with-medical-conditions.html?CDC_AA_
                                            into the United States is no longer a                     11 Interim Infection Prevention and Control
                                                                                                                                                             refVal=https%3A%2F%2Fwww.cdc.
                                            serious danger to the public health                     Recommendations for Healthcare Personnel During          gov%2Fcoronavirus%2F2019-ncov%2Fneed;-extra-
                                            necessitating the continuation of this                  the Coronavirus Disease 2019 (COVID–19)                  precautions%2Fgroups-at-higher-risk.html (last
                                            Order, I will publish a notice in the                   Pandemic, Ctrs. for Disease Control & Prevention,        updated Sept. 11, 2020).
                                            Federal Register terminating this Order                 https://www.cdc.gov/coronavirus/2019-ncov/hcp/              16 Migration and Home Affairs: Schengen Area,
                                                                                                    infection-control-recommendations.html?CDC_AA_           Eur. Comm’n (Jan. 1, 2020), https://ec.europa.eu/
                                            and its Extensions. I may amend this                    refVal=https%3A%2F%2Fwww.cdc.                            home-affairs/what-we-do/policies/order-and-visas/
                                            Order as necessary to protect the public                gov%2Fcoronavirus%2F2019-ncov%2Finfection-               schengen_en (‘‘Today, the Schengen Area [of the
                                            health.                                                 control%2Fcontrol-recommendations.html (last             EU] encompasses most EU States, except for
                                                                                                    visited Sept. 29, 2020),                                 Bulgaria, Croatia, Cyprus, Ireland and Romania.
                                            II. Factual Basis for Order 9                             12 COVID–19 Pandemic Planning Scenarios, Ctrs.
                                                                                                                                                             However, Bulgaria, Croatia and Romania are
                                                                                                    for Disease Control & Prevention, https://               currently in the process of joining the Schengen
                                            1. COVID–19 is a global pandemic that                   www.cdc.gov/coronavirus/2019-ncov/hcp/planning-          Area. Of non-EU States, Iceland, Norway,
                                            has spread rapidly                                      scenarios.html, (last visited Sept. 29, 2020), (CDC’s    Switzerland and Liechtenstein have joined the
                                                                                                    current best estimate is that between 30 to 70% of       Schengen Area.’’); Travel to and from the EU during
                                               COVID–19 is a quarantinable                          infections are transmitted prior to symptom onset        the pandemic: Travel restrictions, Eur. Comm’n,
                                            communicable disease caused by a                        (pre-symptomatic transmission)).                         https://ec.europa.eu/info/live-work-travel-eu/
                                            novel (new) coronavirus, SARS–CoV–2,                      13 Coronavirus Disease 2019 (COVID–19):                health/coronavirus-response/travel-and-
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                                                                                                    Symptoms of Coronavirus, Ctrs. for Disease Control       transportation-during-coronavirus-pandemic/travel-
                                              9 Given the dynamic nature of the public health       & Prevention, https://www.cdc.gov/coronavirus/           and-eu-during-pandemic_en (last visited Aug. 31,
                                            emergency, CDC recognizes that the types of facts       2019-ncov/symptoms-testing/symptoms.html (last           2020).
                                            and data set forth in this section may change           updated May 13, 2020).                                      17 See Andrea Salcedo, Sanam Yar, & Gina
                                                                                                      14 Sevim Zaim, et al., COVID–19 and Multiorgan         Cherelus, Coronavirus Travel Restrictions, Across
                                            rapidly (even within a matter of hours). The facts
                                            and data cited by CDC in this order represent a         Response, 00 Current Problems in Cardiology 2020,        the Globe, N.Y. Times (July 16, 2020), https://
                                            good-faith effort by the agency to present the          (available at: https://www.ncbi.nlm.nih.gov/pmc/         www.nytimes.com/article/coronavirus-travel-
                                            current factual justification for the order.            articles/PMC7187881/pdf/main.pdf).                       restrictions.html.



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                                            designated secure facilities, such as a                 that it applies to all land and coastal               Patrol stations, thereby reducing the risk
                                            hotel at their port of arrival.18                       POEs and Border Patrol stations 20 at or              of COVID–19 transmission for DHS
                                                                                                    near the United States’ border with                   personnel and others within these
                                            2. The March 20, 2020 Order has
                                                                                                    Canada or Mexico that would otherwise                 facilities.
                                            reduced the risk of COVID–19
                                                                                                    hold covered aliens in a congregate                     By significantly reducing the number
                                            transmission in POEs and Border Patrol
                                                                                                    setting.21 Pursuant to the May 19, 2020               of covered aliens held in POEs and
                                            stations
                                                                                                    Amendment, the March 20, 2020 Order                   Border Patrol stations, the March 20,
                                               I issued the March 20, 2020 Order                    was again extended with CDC thereafter                2020 Order reduced the density of
                                            pursuant to Sections 362 and 365 of the                 conducting reviews every 30 days.22                   covered aliens held in congregate
                                            Public Health Service (PHS) Act, 42                     Upon conducting these reviews, I have                 custody within these facilities, which
                                            U.S.C. 265, 268, and an interim final                   kept the amended Order in place; the                  reduced the risk of exposure to COVID–
                                            rule implementing Section 362.19 The                    current 30 day period lapses on October               19 for DHS personnel and others in
                                            March 20, 2020 Order suspended the                      17, 2020.                                             POEs and Border Patrol stations.
                                            introduction of certain ‘‘covered aliens’’                 In general, the federal government’s
                                            into the United States for a period of 30               overall experience under the March 20,                3. Conditions in Canada, Mexico, and
                                            days. The definition of ‘‘covered aliens’’              2020 Order, together with the factual                 the United States warrant issuing this
                                            in the March 20, 2020 Order is                          developments since May 20, 2020,                      Order
                                            substantially the same as in this Order.                sustain the policy rationales for issuing
                                            The March 20, 2020 Order was based on                   this Order.                                             COVID–19 has continued to spread
                                            the following determinations:                              Since the March 20, 2020 Order was                 since the March 20, 2020 Order. Canada,
                                               • COVID–19 is a communicable                         issued, the daily average population in               Mexico, and the countries of origin of
                                            disease that poses a danger to the public               CBP custody is 1,134 individuals. This                many of the individuals who travel to
                                            health;                                                 is a 64% reduction of daily in custody                the United States through Canada or
                                               • COVID–19 is present in numerous                    numbers since the March 20, 2020                      Mexico continue to see increasing
                                            foreign countries, including Canada and                 Order went into effect and a 67%                      numbers of COVID–19 infections and
                                            Mexico;                                                 reduction from the same period in 2019.               deaths.
                                               • There is a serious danger of the                   In the 50 days preceding the March 20,                i. Canada
                                            introduction of COVID–19 into the land                  2020 Order, CBP officers made over
                                            POEs and Border Patrol stations at or                   1,600 trips to community hospitals to                    As detailed in the March 20, 2020
                                            near the United States borders with                     facilitate advanced medical care for                  Order, approximately 33 million
                                            Canada and Mexico, and into the                         individuals. For the first 80 days after              individuals crossed the Canadian border
                                            interior of the country as a whole,                     the March 20, 2020 Order’s                            into the United States in 2017.
                                            because COVID–19 exists in Canada,                      implementation, CBP made only 400                     Historically, inadmissible aliens
                                            Mexico, and the other countries of                      trips for individuals to receive medical              attempting to unlawfully enter the
                                            origin of persons who migrate to the                    care from community hospitals. This                   United States from Canada have
                                            United States across the land borders                   represents a 75% decrease in utilization.             included not only Canadian nationals,
                                            with Canada and Mexico;                                 In the 60 days preceding September 16,                but also nationals of countries
                                               • But for a suspension-of-entry order                2020, CBP made 746 trips for                          experiencing, or suspected of
                                            under 42 U.S.C. § 265, covered aliens                   individuals to receive medical care from              experiencing, widespread COVID–19
                                            would be subject to immigration                         community hospitals. The increase in                  transmission such as the member
                                            processing at the land POEs and Border                  hospital utilization corresponds with a               countries of the Schengen Area, China,
                                            Patrol stations and, during that                        month-over-month increase in CBP                      and Iran.23 From March through August,
                                            processing, many of them (typically                     enforcement encounters, including                     2020, CBP has processed 28,841
                                            aliens who lack valid travel documents                  encounters with covered aliens who                    inadmissible aliens at POEs at the U.S.-
                                            and are therefore inadmissible) would                   have subsequently tested positive for                 Canadian border, and CBP has
                                            be held in the congregate areas of the                  COVID–19. The risks of COVID–19                       apprehended 2,014 inadmissible aliens
                                            facilities, in close proximity to one                   transmission and overutilization in                   attempting to unlawfully enter the
                                            another, for hours or days; and                         community hospitals serving domestic                  United States between POEs, of which
                                               • Such introduction into congregate                  populations would have been greater                   DHS determined 1,126 were covered
                                            settings of persons from Canada or                      absent the March 20, 2020 Order.                      aliens subject to the March 20, 2020
                                            Mexico would increase the already                          The March 20, 2020 Order has                       Order.24
                                            serious danger to the public health of                  reduced the risk of COVID–19
                                            the United States to the point of                                                                                As of October 6, 2020, Canada
                                                                                                    transmission in POEs and Border Patrol
                                            requiring a temporary suspension of the                                                                       reported over 171,300 cases of COVID–
                                                                                                    stations, and thereby reduced risks to
                                            introduction of covered aliens into the                 DHS personnel and the U.S. health care                19 and over 9,500 confirmed deaths
                                            United States.                                          system. The public health risks to the                with a seven day average of 1,797 new
                                               The March 20, 2020 Order was                         DHS workforce—and the erosion of DHS
                                                                                                                                                             23 U.S. Border Patrol Nationwide Apprehensions
                                            extended on April 20, 2020 and                          operational capacity—would have been
                                                                                                                                                          by Citizenship and Sector in Fiscal Years 2007 to
                                            amended on May 19, 2020, to clarify                     greater absent the March 20, 2020 Order.              2019, U.S. Border Patrol, U.S. Dep’t. of Homeland
                                                                                                    DHS data shows that the March 20, 2020                Security, https://www.cbp.gov/sites/default/files/
                                               18 Id.; COVID–19 and the border: Travel
                                                                                                    Order has significantly reduced the                   assets/documents/2020-Jan/U.S.%20Border
                                            restrictions, Cmlth. of Austl, Dep’t of Home Aff.,      population of covered aliens held in                  %20Patrol%20Nationwide%20Apprehensions
                                            https://covid19.homeaffairs.gov.au/travel-                                                                    %20by%20Citizenship%20and%20Sector
                                                                                                    congregate settings in POEs and Border
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                                            restrictions-0 (last updated Aug. 28, 2020); COVID–                                                           %20%28FY2007%20-%20FY%202019%29_1.pdf
                                            19: New Zealanders in the UK—Frequently Asked                                                                 (last visited Oct. 9, 2020).
                                            Questions, N.Z. Foreign Aff. & Trade, https://             20 As explained below, air POEs are excluded          24 Nationwide Enforcement Encounters: Title 8
                                            www.mfat.govt.nz/en/countries-and-regions/              from the Amended Order and Extension because          Enforcement Actions and Title 42 Expulsions, U.S.
                                            europe/united-kingdom/new-zealand-high-                 they do not present the same public health risk as    Customs and Border Protection, U.S. Dep’t. of
                                            commission/living-in-the-uk/covid-19-coronavirus/       land and coastal POEs.                                Homeland Security, https://www.cbp.gov/
                                            (last visited Aug. 28, 2020).                              21 85 FR 22424.
                                                                                                                                                          newsroom/stats/cbp-enforcement-statistics/title-8-
                                               19 85 FR 16559.                                         22 85 FR 31503.                                    and-title-42-statistics (last visited Oct. 9, 2020).



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                                            cases.25 In response to increases in the                September 4, 2020 excess mortality                     themselves into the United States. The
                                            level of community transmission,                        totals of 122,765 deaths through August                introduction of more infected covered
                                            authorities in Toronto, Ottawa, and                     28, 2020 as compared to 2019 totals.                   aliens would likely have a negative
                                            several other Ontario cities have                       This figure includes confirmed cases of                impact on community transmission in
                                            mandated indoor mask use. On                            COVID–19 and deaths confirmed from                     the United States.
                                            September 19, 2020, Ontario issued new                  other causes, but the excess suggests the
                                                                                                                                                           iii. United States
                                            restrictions limiting indoor gatherings to              true number of deaths from COVID–19
                                            10 people and outdoor gatherings to                     in Mexico is much higher than official                    While pandemic conditions have
                                            25.26 In Quebec masks have been                         counts.                                                improved, community transmission of
                                            mandated in all indoor public places                       While the data on Mexico is more                    COVID–19 is continuing across the
                                            since July 27, 2020. In an effort to slow               limited, there are signs that the rate of              United States. The United States has
                                            the transmission and spread of the                      COVID–19 community transmission in                     recorded over 7,200,000 cumulative
                                            virus, the Canadian government banned                   Mexico is slowing as the overall public                confirmed cases; and more than 200,000
                                            most foreign nationals from entry and                   health situation improves somewhat. As                 deaths.31 The country is averaging
                                            mandated that returning Canadians and                   of September 25, 2020, under SALUD’s                   around 36,000 to 40,000 new cases a
                                            excepted foreign nationals (including                   ‘‘stoplight’’ designation system, none of              day.32 Nationally, since mid-July, there
                                            Americans) self-monitor for COVID–19                    Mexico’s 32 states are red, 15 are                     has been an overall decreasing trend in
                                            symptoms for 14 days following their                    orange, 16 are yellow and 1, Colima, is                the percentage of specimens testing
                                            return.27 Canadian public health                        green. According to SALUD, Mexico                      positive and a decreasing or stable
                                            officials have expressed alarm at the                   City has the most lab-confirmed cases                  (change of ≤0.1%) trend in the
                                            recent increase in new COVID–19 cases                   with 121,087 and the most deaths with                  percentage of hospitalizations.33 To wit,
                                            after several months of low level                       11,814 as of September 24, 2020.                       as of October 3, 2020, the seven day
                                            community transmission, particularly as                 Hospital occupancy rates have also                     average of new cases and deaths are
                                            Canada begins to enter influenza                        improved in recent weeks—the national                  down 35.8% and 40.3% respectively
                                            season.28                                               hospital occupancy rate is 28 percent—                 from their peak levels. Similarly, the
                                                                                                    hospital occupancy rates remain                        seven day positivity rate, as of October
                                            ii. Mexico                                              elevated in Mexican border-states such                 3, 2020, was 4.6%. This low positivity
                                               As of October 1, 2020, Mexico has                    as Nuevo Leon (47 percent). As of                      rate is not shared uniformly, Arizona
                                            738,163 confirmed cases, and 77,163                     September 25, 2020, several Mexican                    and Texas both report positivity rates of
                                            reported deaths.29 While Mexico’s                       border states report relatively high                   between 11–20%.34
                                            official statistics for COVID–19                        numbers of active COVID–19 infections:                    Millions of Americans are subject to
                                            infections and number of deaths provide                 Tamaulipas (3,566 active cases), Nuevo                 local and state public health restrictions
                                            insights to general trends, they have                   Leon (6,028 actives cases) and Baja                    and precautions calculated to slow the
                                            serious deficiencies that greatly                       California (1,440 active cases).                       spread of, and protect others from,
                                            understate actual totals. COVID–19                         The COVID–19 pandemic in Mexican                    COVID–19. CDC continues to
                                            infections and deaths are likely                        states along the U.S.-Mexico border                    recommend that all Americans practice
                                            multiples of what is reported as Mexico                 region presents increased concerns for                 vigorous hand hygiene, engage in social
                                            has the lowest diagnostic testing per                   the United States because all covered                  distancing,35 limit non-essential
                                            capital of OECD countries. Mexico’s                     aliens crossing the U.S.-Mexico border                 travel,36 and wear cloth face coverings
                                            positivity rate is estimated to be around               necessarily travel through that region                 or masks when out in public.37 Public
                                            44% based on confirmed positive cases,                  and the level of migration is so high.                 health measures intended to slow the
                                            confirmed negative tests, and suspected                 From March to August, 2020, DHS has                    spread of COVID–19 in order to avoid
                                            cases. This is an improvement from a                    processed 54,503 inadmissible aliens at
                                            positivity rate of approximately 50% in                 POEs along the border, and U.S. Border                    31 CDC COVID Data Tracker: United States

                                            mid-July. However, Mexico’s Health                      Patrol has apprehended 345,267 aliens                  COVID–19 Cases and Deaths by State, Ctrs. for
                                            Ministry, SALUD, reported on                            attempting to unlawfully enter the                     Disease Control & Prevention https://covid.cdc.gov/
                                                                                                                                                           covid-data-tracker/#cases_casesinlast7days (last
                                                                                                    United States between POEs.30 DHS                      visited Oct. 6, 2020).
                                               25 Coronavirus Disease (COVID–19): Outbreak
                                                                                                    determined 153,569 were covered aliens                    32 Id.
                                            Update, Gov’t of Can., https://www.canada.ca/en/        subject to the March 20, 2020 Order, of                   33 COVID View: A Weekly Summary of U.S.
                                            public-health/services/diseases/2019-novel-
                                            coronavirus-infection.html (last updated Oct. 6,        which over 70% were Mexican                            COVID–19 Activity Week 39, Ctrs. for Disease
                                            2020).                                                  nationals. With the continued growth of                Control & Prevention https://www.cdc.gov/
                                                                                                                                                           coronavirus/2019-ncov/covid-data/covidview/
                                               26 Reopening Ontario in Stages: Gathering Limits,    COVID–19 cases in Central and South                    index.html (last visited Oct. 6, 2020).
                                            Gov’t of Ontario, https://www.ontario.ca/page/          America, the overwhelming majority of                     34 CDC COVID Data Tracker: United States
                                            reopening-ontario-stages#restrictions (last updated
                                            Oct. 2, 2020).                                          covered aliens encountered on the U.S.-                Laboratory Testing, Ctrs. for Disease Control &
                                               27 Travel Restriction Measures: COVID–19             Mexico border are nationals of countries               Prevention https://covid.cdc.gov/covid-data-
                                            Program Delivery Travel Restriction Exemptions for      experiencing sustained human to                        tracker/#testing_totalpercentpositive (last visited
                                            Those Departing From a Country Other Than the                                                                  Oct. 6, 2020).
                                                                                                    human transmission of COVID–19.                           35 How to Protect Yourself & Others, Ctrs. for
                                            U.S., Gov’t of Canada, https://www.canada.ca/en/           The continued prevalence of COVID–
                                            immigration-refugees-citizenship/corporate/                                                                    Disease Control & Prevention https://www.cdc.gov/
                                            publications-manuals/operational-bulletins-             19 in Mexico continues to present a                    coronavirus/2019-ncov/prevent-getting-sick/
                                            manuals/service-delivery/coronavirus/travel-            serious danger of the introduction of                  prevention.html (last visited Oct. 6, 2020).
                                            restrictions.html#travel-restriction-exemptions (last                                                             36 Travel During the COVID–19 Pandemic, Ctrs.
                                                                                                    COVID–19 into the United States. If
                                            updated Jul. 23, 2020).                                                                                        for Disease Control & Prevention https://
                                               28 Statement from the Chief Public Health Officer
                                                                                                    community transmission in the Mexican                  www.cdc.gov/coronavirus/2019-ncov/travelers/
                                                                                                    border region accelerates, experience
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                                            of Canada on October 3, 2020, Gov’t of Canada,                                                                 travel-during-covid19.html (last visited Oct. 6,
                                            https://www.canada.ca/en/public-health/news/            shows then the numbers of COVID–19                     2020).
                                            2020/10/statement-from-the-chief-public-health-         cases in that region are likely to                        37 COVID–19: Use of Cloth Face Coverings to Help

                                            officer-of-canada-on-october-3-2020.html (last          increase, as are the numbers of infected               Slow the Spread of COVID–19, Ctrs. for Disease
                                            updated Oct. 3, 2020).                                                                                         Control & Prevention, https://www.cdc.gov/
                                               29 WHO Coronavirus Disease (COVID–19)                covered aliens who seek to introduce                   coronavirus/2019-ncov/prevent-getting-sick/diy-
                                            Dashboard, WHO, https://covid19.who.int/table                                                                  cloth-face-coverings.html (last reviewed Oct. 6,
                                            (last visited Oct. 2, 2020).                              30 Supra,   note 21.                                 2020).



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                                            overwhelming healthcare systems have                    movement of all such aliens to the                      Notice and comment and a delay in
                                            largely proven successful. However,                     country from which they entered the                     effective date would not be required for
                                            several cities and states, including                    United States, their country of origin, or              that reason as well.
                                            several located at or near U.S. borders,                another practicable location outside the                *     *     *    *     *
                                            continue to experience widespread,                      United States, as rapidly as possible,                     This Order shall remain effective until
                                            sustained community transmission that                   with as little time spent in congregate
                                                                                                                                                            I determine that the danger of further
                                            has strained their healthcare and public                settings as practicable under the
                                                                                                                                                            introduction of COVID–19 into the
                                            health systems. Furthermore, continuing                 circumstances. The faster a covered
                                                                                                                                                            United States has ceased to be a serious
                                            to slow the rate of COVID–19                            alien is returned to the country from
                                                                                                                                                            danger to the public health, and
                                            transmission is critical as states and                  which they entered the United States, to
                                                                                                                                                            continuation of this Order is no longer
                                            localities ease public health restrictions              their country of origin, or another
                                                                                                                                                            necessary to protect public health. Every
                                            on businesses and public activities in an               location as practicable, the lower the
                                                                                                                                                            30 days, the CDC shall review the latest
                                            effort to mitigate the economic and                     risk the alien poses of introducing,
                                                                                                                                                            information regarding the status of the
                                            other costs of the COVID–19 pandemic.                   transmitting, or spreading COVID–19
                                                                                                                                                            COVID–19 pandemic and associated
                                                                                                    into POEs, Border Patrol stations, other
                                            III. Determination and Implementation                                                                           public health risks to ensure that the
                                                                                                    congregate settings, and the interior.
                                               Based on the foregoing, I find that                     I consulted with DHS and other                       Order remains necessary to protect
                                            COVID–19 is a quarantinable                             federal departments as needed before I                  public health.
                                            communicable disease 38 and that there                  issued this Order, and requested that                      Upon determining that the further
                                            is a serious danger of the introduction                 DHS aid in the enforcement this Order                   introduction of COVID–19 into the
                                            of COVID–19 into the POEs and Border                    because CDC does not have the                           United States is no longer a serious
                                            Patrol stations at or near the United                   capability, resources, or personnel                     danger to the public health necessitating
                                            States borders with Canada and Mexico,                  needed to do so. As part of the                         the continuation of this Order, I will
                                            and the interior of the country as a                    consultation, CBP developed an                          publish a notice in the Federal Register
                                            whole, because COVID–19 exists in                       operational plan for implementing this                  terminating this Order and its
                                            Canada, Mexico, and the countries or                    Order. The plan is generally consistent                 Extensions. I retain the authority to
                                            places of origin of the covered aliens                  with the language of this Order directing               extend, modify, or terminate the Order,
                                            who migrate to the United States across                 that covered aliens spend as little time                or implementation of this Order, at any
                                            the land and coastal borders with                       in congregate settings as practicable                   time as needed to protect public health.
                                            Canada and Mexico. I also find that the                 under the circumstances. Additionally,
                                            introduction into land and coastal POEs                                                                         Authority
                                                                                                    DHS will continue to use repatriation
                                            and Border Patrol stations of covered                   flights as necessary to move covered                      The authority for this Order is
                                            aliens increases the seriousness of the                 aliens on a space-available basis, as                   Sections 362 and 365 of the Public
                                            danger to the point of requiring a                      authorized by law. In my view, DHS’s                    Health Service Act (42 U.S.C. 265, 268)
                                            temporary suspension of the right to                    assistance with implementing the Order                  and 42 CFR 71.40.
                                            introduce covered aliens into the United                is necessary, as CDC’s other public
                                            States. Therefore, I am suspending the                  health tools are not viable mechanisms                  Nina B. Witkofsky,
                                            right to introduce and prohibiting the                  given CDC resource and personnel                        Acting Chief of Staff, Centers for Disease
                                            introduction of covered aliens travelling               constraints, the large numbers of                       Control and Prevention.
                                            into the United States from Mexico and                  covered aliens involved, and the                        [FR Doc. 2020–22978 Filed 10–13–20; 4:15 pm]
                                            Canada.                                                 likelihood that covered aliens do not                   BILLING CODE 4163–18–P
                                               In making this determination, I have                 have homes in the United States.39
                                            considered facts including the overall                     This Order is not a rule subject to
                                            number of cases of COVID–19 reported                    notice and comment under the                            DEPARTMENT OF HEALTH AND
                                            in Mexico, Canada, and the countries or                 Administrative Procedure Act (APA).                     HUMAN SERVICES
                                            places of origin of the covered aliens                  Notice and comment and a delay in
                                            who migrate to the United States across                 effective date are not required because                 Centers for Medicare & Medicaid
                                            the land and coastal borders with                       there is good cause to dispense with                    Services
                                            Canada and Mexico, the influx of cases                  prior public notice and the opportunity
                                            in areas near the U.S.-Mexico border,                   to comment on this Order and a delay                    [CMS–3399–FN]
                                            epidemiological factors including the                   in effective date. Given the public
                                            viral transmissibility and asymptomatic                 health emergency caused by COVID–19,                    Medicare and Medicaid Programs:
                                            transmission of the disease, the                        it would be impracticable and contrary                  Application from DNV–GL Healthcare
                                            morbidity and mortality associated with                 to public health practices—and, by                      USA, Inc. for Continued Approval of its
                                            the disease for individuals in certain                  extension, the public interest—to delay                 Critical Access Hospital Accreditation
                                            risk categories, and the negative effects               the issuing and effective date of this                  Program
                                            of the disease already experienced by                   Order. In addition, because this Order
                                                                                                    concerns the ongoing discussions with                   AGENCY: Centers for Medicare &
                                            CBP. Therefore, it is necessary for the
                                                                                                    Canada and Mexico on how best to                        Medicaid Services (CMS), Health and
                                            United States to continue the
                                                                                                    control COVID–19 transmission over                      Human Services (HHS).
                                            suspension of the right to introduce
                                            covered aliens at this time.                            our shared border, it directly ‘‘involve[s]             ACTION:   Final notice.
                                               The continued suspension of the right                . . . a . . . foreign affairs function of the
                                            to introduce covered aliens requires the                United States.’’ 5 U.S.C. 553(a)(1).                    SUMMARY:  This final notice announces
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                                                                                                                                                            our decision to approve DNV–GL
                                              38 COVID–19 is a severe acute respiratory                39 CDC relies on the Department of Defense, other    Healthcare USA, Inc. (DNV–GL) for
                                            syndrome, which is one of the diseases included in      federal agencies, and state and local governments to    continued recognition as a national
                                            the ‘‘Revised List of Quarantinable Communicable        provide both logistical support and facilities for
                                            Diseases.’’ Exec. Order 13295 (Apr. 4, 2003), as        federal quarantines. CDC lacks the resources,
                                                                                                                                                            accrediting organization for critical
                                            amended by Exec. Order 13375 (Apr. 1, 2005) and         manpower, and facilities to quarantine covered          access hospitals that wish to participate
                                            Exec. Order 13674 (July 31, 2014).                      aliens.                                                 in the Medicare or Medicaid programs.


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                        Exhibit B:
                      February Order
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                                              Dated: February 10, 2021.                             expulsion unaccompanied noncitizen                    the District of Columbia Circuit granted a
                                            Dharmesh Vashee,                                        children encountered in the United                    stay pending appeal of the District Court’s
                                            Acting General Counsel, Federal Retirement              States pending the outcome of its                     PJES preliminary injunction.3
                                            Thrift Investment Board.                                forthcoming public health reassessment                  The current COVID–19 pandemic
                                            [FR Doc. 2021–03102 Filed 2–16–21; 8:45 am]             of the Order. This temporary exception                continues to be a highly dynamic public
                                                                                                    from expulsion went into effect on or                 health emergency. CDC is in the process of
                                            BILLING CODE P
                                                                                                    about Saturday, January 30, 2021, and                 reassessing the overall public health risk at
                                                                                                    will remain in effect until CDC has                   the United States’ borders and its ‘‘Order
                                                                                                    completed its public health assessment                Suspending the Right To Introduce Certain
                                            DEPARTMENT OF HEALTH AND                                                                                      Persons From Countries Where a
                                            HUMAN SERVICES                                          and published any notice or modified
                                                                                                    Order. All other terms of the Order,                  Quarantinable Communicable Disease
                                                                                                    including its application to adults,                  Exists’’ based on the most current
                                            Centers for Disease Control and
                                                                                                    remain in place until such time as any                information regarding the COVID–19
                                            Prevention
                                                                                                    modified Order is issued.                             pandemic as well as the situation at the
                                            Notice of Temporary Exception From                         Separately, on February 2, 2021 the                Nation’s borders.4 Although the D.C. Circuit’s
                                            Expulsion of Unaccompanied                              President signed Executive Order 14010,               stay pending appeal permits the CDC to
                                            Noncitizen Children Pending                             ‘Creating a Comprehensive Regional                    enforce its order and immediately expel
                                            Forthcoming Public Health                               Framework to Address the Causes of                    unaccompanied noncitizen children, CDC
                                            Determination                                           Migration, to Manage Migration                        has exercised its discretion to temporarily
                                                                                                    Through Norther and Central America,                  except from expulsion unaccompanied
                                            AGENCY: Centers for Disease Control and                 and to Provide Safe and Orderly                       noncitizen children 5 encountered in the
                                            Prevention (CDC), Department of Health                  Processing of Asylum Seekers at the                   United States pending the outcome of its
                                            and Human Services (HHS).                               United States Border’ (86 FR 8267). This              forthcoming public health reassessment of
                                            ACTION: General Notice.                                                                                       the Order. This temporary exception went
                                                                                                    Executive Order requires a review of the
                                                                                                                                                          into effect on or about Saturday, January 30,
                                                                                                    CDC Order to determine whether the
                                            SUMMARY:   The Centers for Disease                                                                            2021, and will remain in effect until CDC has
                                                                                                    CDC Order should be terminated,
                                            Control and Prevention (CDC), located                                                                         completed its public health assessment and
                                                                                                    rescinded, or modified.
                                            within the Department of Health and                        A copy of the Notice can be found at
                                                                                                                                                          published any notice or modified Order. All
                                            Human Services (HHS) announces a                        https://www.cdc.gov/coronavirus/2019-
                                                                                                                                                          other terms of the Order, including its
                                            temporary exception from expulsion for                                                                        application to adults, remain in place until
                                                                                                    ncov/more/pdf/CDCPauseNotice-
                                            unaccompanied noncitizen children to                                                                          such time as any modified Order is issued.6
                                                                                                    ExceptfromExpulsion.pdf
                                            its Order issued October 13, 2020                                                                               In testimony whereof, the Director, Centers
                                            suspending the right to introduce                       U.S. Department of Health and Human                   for Disease Control and Prevention, U.S.
                                            certain persons from countries where a                  Services                                              Department of Health and Human Services,
                                            quarantinable communicable disease                      Centers for Disease Control and Prevention            has hereunto set her hand at Atlanta, Georgia,
                                            exists.                                                 (CDC)                                                 this 11th day of February, 2021.

                                            DATES:  The temporary exception went                    Order Under Sections 362 & 365 of the                 Sherri Berger,
                                            into effect on or about January 30, 2021.               Public Health Service Act (42 U.S.C. 265,             Acting Chief of Staff, Centers for Disease
                                                                                                    268):                                                 Control and Prevention.
                                            FOR FURTHER INFORMATION CONTACT:
                                            Jennifer Buigut, Division of Global                     Notice of Temporary Exception From                    [FR Doc. 2021–03227 Filed 2–12–21; 11:15 am]
                                            Migration and Quarantine, Centers for                   Expulsion of Unaccompanied Noncitizen                 BILLING CODE 4163–18–P
                                            Disease Control and Prevention, 1600                    Children Encountered in the United States
                                            Clifton Road NE, MS H16–4, Atlanta,                     Pending Forthcoming Public Health
                                                                                                                                                            3 No.  20–5357, Doc. No. 1882899.
                                                                                                    Determination
                                            Georgia 30329. Telephone: 404–498–                                                                              4 Review   of CDC’s 265 Order is also directed by
                                            1600. Email: dgmqpolicyoffice@cdc.gov.                  * * *                                                 Executive Order 14010, Sec. 4(a)(ii)(A), ‘‘Creating a
                                            SUPPLEMENTARY INFORMATION: On                              Pursuant to its authority under 42 U.S.C.          Comprehensive Regional Framework to Address the
                                                                                                    265, 268, and implementing regulations, and           Causes of Migration, to Manage Migration
                                            October 13, 2020, the CDC Director
                                                                                                    due to the COVID–19 pandemic, CDC issued              Throughout North and Central America, and to
                                            issued an Agency Order titled ‘Order                    an Order suspending the right to introduce            Provide Safe and Orderly Processing of Asylum
                                            Suspending the Right to Introduce                       and prohibiting the introduction of covered           Seekers at the United States Border,’’ Feb, 2, 2021,
                                            Certain Persons From Countries Where                    aliens travelling into the United States from         86 FR 8267 (Feb. 5, 2021).
                                            a Quarantinable Communicable Disease                    Mexico and Canada.1 On November 18, 2020,                5 Unaccompanied noncitizen children are

                                            Exists’ (85 FR 65806; pub. Oct. 16,                     the United States District Court for the              unaccompanied children who do not hold valid
                                                                                                    District of Columbia entered a preliminary            travel documents and who are encountered by the
                                            2020). The CDC Order was based on the
                                                                                                    injunction in PJES v. Mayorkas (‘‘PJES                U.S. Department of Homeland Security (DHS) in the
                                            most current information at that time                                                                         United States or otherwise upon introduction into
                                                                                                    injunction’’),2 enjoining the expulsion of
                                            regarding the COVID–19 pandemic and                     unaccompanied noncitizen children                     the United States. CDC understands
                                            the situation at the Nation’s borders.                  pursuant to the Order. On Friday, January 29,         ‘‘unaccompanied noncitizen children’’ as the class
                                            The Order implemented a final rule                      2021, the United States Court of Appeals for          of individuals subject to the PJES litigation (‘‘all
                                            published September 11, 2020 entitled                                                                         unaccompanied noncitizen children who (1) are or
                                                                                                                                                          will be detained in U.S. government custody in the
                                            ‘‘Control of Communicable Diseases;                       1 See Notice of Order Suspending the Right To
                                                                                                                                                          United States, and (2) are or will be subjected to
                                            Foreign Quarantine: Suspension of the                   Introduce Certain Persons From Countries Where a
                                                                                                                                                          expulsion from the United States under the CDC
                                            Right to Introduce and Prohibition of                   Quarantinable Communicable Disease Exists, 85 FR
                                                                                                                                                          Order Process’’). It is also CDC’s understanding that
                                                                                                    65,806, 65,812 (Oct. 16, 2020; eff. Oct. 13, 2020),
                                            Introduction of Persons From                                                                                  this class of individuals is similar to or the same
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                                                                                                    replacing the Order Suspending Introduction of
                                            Designated Countries or Places for                      Certain Persons from Countries Where a                as those individuals who would be considered
                                            Public Health Purposes’’ (85 FR 56424).                 Communicable Disease Exists, 85 FR 17,060 (Mar.       ‘‘unaccompanied alien children’’ for purposes of
                                                                                                    26, 2020; eff. Mar. 20, 2020), as extended, 85 FR     HHS Office of Refugee Resettlement custody, were
                                            The final rule was effective October 13,                                                                      DHS to make the necessary immigration
                                                                                                    22,424 (Apr. 22, 2020; eff. Apr. 20, 2020), and as
                                            2020.                                                   amended and extended, 85 FR 31,503 (May 26,           determinations under Title 8 of the United States
                                               CDC has decided to exercise its                      2020; eff. May 21, 2020).                             Code.
                                            discretion to temporarily except from                     2 No. 1:20–cv–02245 (D.D.C.), Dkt. Nos. 79–80.         6 See 85 FR 65,806.




                                       VerDate Sep<11>2014   20:43 Feb 16, 2021   Jkt 253001   PO 00000   Frm 00038   Fmt 4703   Sfmt 9990   E:\FR\FM\17FEN1.SGM    17FEN1
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                           Exhibit C:
                           July Order
                                                          Case 4:21-cv-00579-P Document 62-1 Filed 08/23/21                                                                            Page 12 of 49 PageID 750
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                                                                                                  EXHIBIT 2—ESTIMATED ANNUALIZED COST BURDEN—Continued
                                                                                                                                                                                                              Average
                                                                                                                                                                        Number of       Total burden                                 Total cost
                                                                                               Form name                                                                                                    hourly wage
                                                                                                                                                                       respondents         hours                                      burden
                                                                                                                                                                                                                rate

                                                                                                                            Electronic Health Record (EHR) Extracts

                                              Initial data pull for 10% of hospitals that do not confer rights to their NHSN
                                                 data (once at baseline for ICU and non-ICU cohorts, 800 units total) ........                                                    27               135                ∧ 35.17           4,747.95
                                              Initial data pull for hospital onset bacteremia (including MSSA) and MRSA-
                                                 positive clinical cultures (not available in NHSN) (once at baseline for ICU
                                                 and non-ICU cohorts, 800 units total) ..........................................................                               267                935                ∧ 35.17          32,866.37
                                              Initial data pull for 10% of units that submit point prevalence survey data
                                                 (once at baseline for ICU and non-ICU cohorts, 800 units total) ................                                                 27                14                ∧ 35.17             474.80
                                              Initial data pull for 20% of surgical settings that do not confer rights to
                                                 NHSN data (once at baseline for Surgical cohort, 300 settings total) ........                                                   20                 10                ∧ 35.17             351.70
                                              Initial data pull (once at baseline for LTC cohort, 300 facilities total) .............                                           100                500                ∧ 35.17          17,585.00
                                              Quarterly data (quarterly during 18 months of implementation for ICU and
                                                 non-ICU cohorts, 1,100 units total) ..............................................................                             267                801                ∧ 35.17          28,171.17
                                              Quarterly data collection of monthly data for 20% of hospitals that do not
                                                 confer rights to their NHSN data (quarterly during 18 months of imple-
                                                 mentation for surgical cohorts, 300 units total) ............................................                                    20                60                ∧ 35.17           2,110.20
                                              Monthly data (monthly per facility during 18 months of implementation for
                                                 LTC cohort, 100 facilities total) ....................................................................                         100                900                ∧ 35.17          31,653.00

                                                    Total ..........................................................................................................         13,429              11,552   ........................    540,325.83
                                                * This is an average of the average hourly wage rate for physician, nurse, nurse practitioner, physician’s assistant, and nurse’s aide from the
                                              May 2019 National Occupational Employment and Wage Estimates, United States, U.S. Bureau of Labor Statistics (https://www.bls.gov/oes/cur-
                                              rent/oes_nat.htm#00-0000).
                                                ∧ This is an average of the average hourly wage rate for nurse and IT specialist from the May 2019 National Occupational Employment and
                                              Wage Estimates, United States, U.S. Bureau of Labor Statistics (https://www.bls.gov/oes/current/oes_nat.htm#00-0000).


                                              Request for Comments                                                        DEPARTMENT OF HEALTH AND                                       COVID–19-related public health
                                                                                                                          HUMAN SERVICES                                                 concerns associated with UC
                                                In accordance with the Paperwork                                                                                                         introduction can be adequately
                                              Reduction Act, 44 U.S.C. 3501–3520,                                         Centers for Disease Control and                                addressed without the UC being subject
                                              comments on AHRQ’s information                                              Prevention                                                     to the October Order, thereby permitting
                                              collection are requested with regard to                                                                                                    the government to better address the
                                              any of the following: (a) Whether the                                       Public Health Determination Regarding                          humanitarian challenges for these
                                              proposed collection of information is                                       an Exception for Unaccompanied                                 children. Therefore, CDC is fully
                                              necessary for the proper performance of                                     Noncitizen Children From the Order                             excepting UC from the October Order,
                                              AHRQ’s health care research and health                                      Suspending the Right To Introduce                              and the Notice regarding the temporary
                                              care information dissemination                                              Certain Persons From Countries                                 exception of UC published February 17,
                                              functions, including whether the                                            Where a Quarantinable Communicable                             2021 is hereby superseded.
                                              information will have practical utility;                                    Disease Exists
                                                                                                                                                                                         DATES: This Order went into effect July
                                              (b) the accuracy of AHRQ’s estimate of                                                                                                     16, 2021.
                                                                                                                          AGENCY: Centers for Disease Control and
                                              burden (including hours and costs) of
                                                                                                                          Prevention (CDC), Department of Health                         FOR FURTHER INFORMATION CONTACT:
                                              the proposed collection(s) of                                               and Human Services (HHS).                                      Tiffany Brown, Deputy Chief of Staff,
                                              information; (c) ways to enhance the                                                                                                       Centers for Disease Control and
                                              quality, utility and clarity of the                                         ACTION: Notice.
                                                                                                                                                                                         Prevention, 1600 Clifton Road NE, MS
                                              information to be collected; and (d)                                                                                                       H21–10, Atlanta, GA 30329. Phone:
                                                                                                                          SUMMARY:    The Centers for Disease
                                              ways to minimize the burden of the                                                                                                         404–639–7000. Email: cdcregulations@
                                                                                                                          Control and Prevention (CDC), a
                                              collection of information upon the                                                                                                         cdc.gov.
                                                                                                                          component of the Department of Health
                                              respondents, including the use of
                                                                                                                          and Human Services (HHS), announces                            SUPPLEMENTARY INFORMATION:    As part of
                                              automated collection techniques or                                          an Order excepting unaccompanied
                                              other forms of information technology.                                                                                                     government efforts to mitigate the
                                                                                                                          noncitizen children (UC) from the Order                        introduction, transmission, and spread
                                                Comments submitted in response to                                         Suspending the Right to Introduce                              of COVID–19, CDC issued the October
                                              this notice will be summarized and                                          Certain Persons from Countries Where a                         Order,1 suspending the right to
                                              included in the Agency’s subsequent                                         Quarantinable Communicable Disease
                                              request for OMB approval of the                                             Exists, issued on October 13, 2020                                1 Order Suspending the Right to Introduce Certain

                                              proposed information collection. All                                        (October Order). CDC finds that, at this                       Persons from Countries Where a Quarantinable
                                              comments will become a matter of                                            time, there is appropriate infrastructure                      Communicable Disease Exists, 85 FR 65806 (Oct.
                                                                                                                                                                                         16, 2020). The October Order replaced the Order
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                                              public record.                                                              in place to protect the children,                              Suspending Introduction of Certain Persons from
                                                Dated: July 19, 2021.                                                     caregivers, and local communities from                         Countries Where a Communicable Disease Exists,
                                                                                                                          elevated risk of COVID–19 transmission                         issued on March 20, 2020. 85 FR 17060 (Mar. 26,
                                              Marquita Cullom,                                                                                                                           2020); Extension of Order Under Sections 362 and
                                                                                                                          as a result of the introduction of UC,
                                              Associate Director.                                                                                                                        365 of the Public Health Service Act; Order
                                                                                                                          and U.S. healthcare resources are not                          Suspending Introduction of Certain Persons From
                                              [FR Doc. 2021–15621 Filed 7–21–21; 8:45 am]                                 significantly impacted by providing UC                         Countries Where a Communicable Disease Exists,
                                              BILLING CODE 4160–90–P                                                      necessary care. CDC believes the                                                                               Continued




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                                              introduce certain persons into the                       vaccination when possible, and their                     public health from an increase in risk of
                                              United States (U.S.) from countries or                   sponsors are provided with appropriate                   the introduction of COVID–19. The
                                              places where a quarantinable                             medical and public health direction.                     Orders applied specifically to covered
                                              communicable disease exists to protect                     A copy of the Order is provided                        noncitizens 9 who would otherwise be
                                              the public’s health from an increase in                  below, and a copy of the signed Order                    introduced into a congregate setting in
                                              risk of the introduction of COVID–19.                    can be found at https://www.cdc.gov/                     land or coastal ports of entry (POE) or
                                              The Order applied specifically to certain                coronavirus/2019-ncov/more/pdf/Notice                    Border Patrol stations at or near the U.S.
                                              noncitizens as defined 2 who would                       UnaccompaniedChildren.pdf.                               borders 10 with Canada and Mexico. On
                                              otherwise be introduced into a                                                                                    February 17, 2021, CDC published a
                                              congregate setting in land or coastal                    U.S. DEPARTMENT OF HEALTH AND                            notice 11 (February Notice) announcing
                                              ports of entry (POE) or Border Patrol                    HUMAN SERVICES                                           the temporary exception of
                                              stations at or near the U.S. borders with                Centers for Disease Control and                          unaccompanied noncitizen children
                                              Canada and Mexico. On February 17,                       Prevention (CDC)                                         from the October Order; the February
                                              2021,3 CDC published a notice                            Order Under Sections 362 & 365 of the                    Notice stated that CDC would complete
                                              announcing the temporary exception                       Public Health Service Act (42 U.S.C.                     a public health assessment and publish
                                              from expulsion of unaccompanied                                                                                   an additional notice or a modified
                                                                                                       265, 268) and 42 CFR 71.40
                                              noncitizen children 4 (UC) encountered                                                                            Order. As explained below, CDC has
                                              in the United States from the October                    Public Health Determination Regarding                    concluded that it is appropriate to
                                              Order.5                                                  an Exception for Unaccompanied                           except unaccompanied noncitizen
                                                 As detailed in the Order, CDC has                     Noncitizen Children From the Order                       children 12 (UC) from the October Order
                                              reviewed the current situation with                      Suspending the right to Introduce                        given the measures in place to prevent
                                              regards to the COVID–19 public health                    Certain Persons From Countries Where                     and mitigate transmission of COVID–19
                                              emergency and UC in immigrations                         a Quarantinable Communicable Disease                     in this population.
                                              facilities and has concluded that it is                  Exists                                                      Under the March and October Orders,
                                              appropriate to fully except UC from the                     As part of U.S. government efforts to                 UC were included as part of the covered
                                              October Order given the measures in                      mitigate the introduction, transmission,                 noncitizens for whom the right of
                                              place to prevent and mitigate                            and spread of COVID–19, CDC issued an                    introduction into the United States was
                                              transmission of COVID–19 in this                         Order on March 20, 2020 (March Order),                   suspended; however, UC largely have
                                              population. CDC finds that the robust                                                                             been excepted from the application of
                                                                                                       later replaced on October 13, 2020
                                              network UC care facilities operated by                                                                            the Order, first pursuant to judicial
                                                                                                       (October Order),6 suspending the right
                                              the Office of Refugee Resettlement
                                                                                                       to introduce 7 certain persons into the
                                              (ORR), a component of HHS, the testing                                                                            causing, or have the potential to cause, a pandemic.
                                                                                                       United States from countries or places
                                              and medical care available therein, as                                                                            See Exec. Order 13295, 68 FR 17255 (Apr. 4, 2003),
                                                                                                       where a quarantinable communicable                       as amended by Exec. Order 13375, 70 FR 17299
                                              well as COVID–19 mitigation protocols
                                                                                                       disease 8 exists in order to protect the                 (Apr. 1, 2005) and Exec. Order 13674, 79 FR 45671
                                              including vaccination for personnel and                                                                           (July 31, 2014).
                                              eligible UC, result in very low                             6 Order Suspending the Right to Introduce Certain        9 This Order is using the term ‘‘covered
                                              likelihood that processing UC in                         Persons from Countries Where a Quarantinable             noncitizens’’ to have the same meaning as ‘‘covered
                                              accordance with existing immigration                     Communicable Disease Exists, 85 FR 65806 (Oct.           aliens’’ in the October Order. See October Order, 85
                                              procedures under Title 8 of the U.S.                     16, 2020). The October Order replaced the Order          FR 65806, 65807 (defining ‘‘covered aliens’’ as
                                                                                                       Suspending Introduction of Certain Persons from          ‘‘persons traveling from Canada or Mexico
                                              Code will result in undue strain on the                                                                           (regardless of their country of origin) who would
                                                                                                       Countries Where a Communicable Disease Exists,
                                              U.S. healthcare system or healthcare                     issued on March 20, 2020, extended on April 20,          otherwise be introduced into a congregate setting in
                                              resources. Moreover, UC released to a                    2020, and amended May 19, 2020. Notice of Order          a land or coastal Port of Entry (POE) or Border
                                              vetted sponsor or placed in a permanent                  Under Sections 362 and 365 of the Public Health          Patrol station at or near the United States borders
                                                                                                       Service Act Suspending Introduction of Certain           with Canada or Mexico,’’ subject to certain
                                              ORR shelter do not pose a significant                                                                             exceptions. These persons ‘‘would typically be
                                                                                                       Persons from Countries Where a Communicable
                                              level of risk for COVID–19 spread into                   Disease Exists, 85 FR 17060 (Mar. 26, 2020);             aliens seeking to enter the United States at POEs
                                              the community because they are                           Extension of Order Under Sections 362 and 365 of         who do not have proper travel documents, aliens
                                              released after having undergone testing,                 the Public Health Service Act; Order Suspending          whose entry is otherwise contrary to law, and aliens
                                                                                                       Introduction of Certain Persons From Countries           who are apprehended near the border seeking to
                                              quarantine and/or isolation, and                                                                                  unlawfully enter the United States between
                                                                                                       Where a Communicable Disease Exists, 85 FR 22424
                                                                                                       (Apr. 22, 2020); Amendment and Extension of              POEs.’’).
                                              85 FR 22424 (Apr. 22, 2020); Amendment and               Order Under Sections 362 and 365 of the Public              10 When U.S. Customs and Border Protection
                                              Extension of Order Under Sections 362 and 365 of         Health Service Act; Order Suspending Introduction        (CBP) or the U.S. Department of Homeland Security
                                              the Public Health Service Act; Order Suspending          of Certain Persons from Countries Where a                (DHS) partner agencies encounter noncitizens off
                                              Introduction of Certain Persons from Countries           Communicable Disease Exists, 85 FR 31503 (May            the coast closely adjacent to the land borders, it
                                              Where a Communicable Disease Exists, 85 FR 31503         26, 2020).                                               transfers the noncitizens for processing in POE or
                                              (May 26, 2020).                                             7 ‘‘Suspension of the right to introduce’’ means to   Border Patrol stations closest to the encounter.
                                                 2 See 85 FR 65806, 65807.
                                                                                                       cause the temporary cessation of the effect of any       Absent the October Order, such noncitizens would
                                                 3 Notice of Temporary Exception from Expulsion                                                                 be held in the same congregate settings and holding
                                                                                                       law, rule, decree, or order pursuant to which a
                                              of Unaccompanied Noncitizen Children                     person might otherwise have the right to be              facilities as any encounters along the land border,
                                              Encountered in the United States Pending                 introduced or seek introduction into the United          resulting in similar public health concerns related
                                              Forthcoming Public Health Determination, 86 FR           States. 42 CFR 71.40(b)(5).                              to the introduction, transmission, and spread of
                                              9942 (Feb. 17, 2021).                                       8 Quarantinable communicable diseases are any         COVID–19.
                                                 4 CDC’s understanding is that this class of                                                                       11 Notice of Temporary Exception from Expulsion
                                                                                                       of the communicable diseases listed in Executive
                                              individuals is similar to or the same as those           Order, as provided under § 361 of the Public Health      of Unaccompanied Noncitizen Children
                                              individuals who would be considered                      Service Act (42 U.S.C. 264). 42 CFR 71.1. The list       Encountered in the United States Pending
                                              ‘‘unaccompanied alien children’’ (see 6 U.S.C. 279)      of quarantinable communicable diseases currently         Forthcoming Public Health Determination, 86 FR
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                                              for purposes of HHS ORR custody, were DHS to             includes cholera, diphtheria, infectious                 9942 (Feb. 17, 2021).
                                              make the necessary immigration determinations            tuberculosis, plague, smallpox, yellow fever, viral         12 CDC’s understanding is that this class of
                                              under Title 8 of the U.S. Code.                          hemorrhagic fevers (Lassa, Marburg, Ebola,               individuals is similar to or the same as those
                                                 5 Notice of Temporary Exception from Expulsion        Crimean-Congo, South American, and others not yet        individuals who would be considered
                                              of Unaccompanied Noncitizen Children                     isolated or named), severe acute respiratory             ‘‘unaccompanied alien children’’ (see 6 U.S.C. 279)
                                              Encountered in the United States Pending                 syndromes (including Middle East respiratory             for purposes of HHS ORR custody, were DHS to
                                              Forthcoming Public Health Determination, 86 FR           syndrome and COVID–19), and influenza caused by          make the necessary immigration determinations
                                              9942 (Feb. 17, 2021).                                    novel or reemergent influenza viruses that are           under Title 8 of the U.S. Code.



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                                              action,13 and later under the February                   assisted ORR by sending medical                         cleaning and disinfection, improved
                                              Notice. As a result, since November 18,                  epidemiologists and other public health                 ventilation, staff vaccination, and
                                              2020, UC have generally been processed                   professionals to provide technical                      cohorting UC according to their COVID–
                                              under regular immigration processes                      assistance on COVID–19 mitigation                       19 test status. Per CDC recommendation,
                                              under Title 8 of the U.S. Code and                       protocols. ORR now has a capacity of                    ORR conducts serial testing of staff to
                                              therefore referred from U.S. Customs                     over 20,000 beds; currently, over 15,100                allow early detection of a possible
                                              and Border Protection (CBP), an agency                   children are in its care. ORR has                       outbreak.20 ORR contract staff working
                                              within the U.S. Department of                            successfully processed and discharged                   in facilities serving UC are encouraged
                                              Homeland Security (DHS), to the Office                   over 55,000 UC since January 20, 2021.                  to receive the COVID–19 vaccine.21 As
                                              of Refugee Resettlement (ORR) within                     The successful efforts to expand                        advised by CDC, ORR restricts
                                              the U.S. Department of Health and                        capacity for UC have resulted in                        movement of unvaccinated personnel
                                              Human Services’ (HHS) Administration                     sufficient capacity at ORR sites—both                   between facilities to reduce potential
                                              for Children and Families (ACF) for care                 along the border and in the interior—                   outbreaks resulting from transfer of
                                              and custody, according to the usual                      significantly reducing the length of time               unvaccinated staff between shelters.
                                              legal framework governing such                           that UC remain in CBP custody. As of                    These measures help reduce the spread
                                              referrals.14 Pursuant to these                           July 13, 2021, the current average time                 of COVID–19 among UC prior to being
                                              requirements, UC encountered in the                      a UC remained in CBP custody before                     introduced into U.S. communities.
                                              United States by CBP generally are                       transferring to ORR custody was 26                         In addition to the mitigation measures
                                              transferred to ORR within 72 hours of                    hours, and four UC have been in CBP                     at EIS and ORR facilities outlined above,
                                              intake at a POE or Border Patrol                         custody for over 72 hours.17 This                       following FDA expansion of the
                                              station.15 Upon transfer to ORR custody,                 represents a substantial improvement                    emergency use authorization for the
                                              UC are transported to facilities that                    from early 2021.18 While the number of                  Pfizer-BioNTech COVID–19 vaccine for
                                              operate under cooperative agreements or                  UC encountered may remain at elevated                   adolescents 12 to 15 years of age, CDC
                                              contracts with HHS and must meet ORR                     levels, expanded ORR capacity and                       provided updated recommendations to
                                              requirements to ensure a high level of                   improved processing methods have                        ORR regarding the vaccination of UC
                                              quality, child-focused care by                           resulted in UC remaining in CBP                         ages 12 and older. ORR subsequently
                                              appropriately trained staff. ORR                         custody for shorter periods of time.                    approved the administration of COVID–
                                              operates 210 facilities in 22 states. At                    The processes in place at the EIS and                19 vaccine for age-eligible children.
                                              these facilities, case managers work to                  at ORR’s regular facilities afford                      Under ORR care, children ages 12 and
                                              identify and ultimately place UC with                    sufficient resources and time to identify               over are offered a COVID–19 vaccine as
                                              vetted sponsors (usually family                          SARS–CoV–2 cases and implement                          soon as possible, as long as there are no
                                              members within the United States).                       environmental controls to attenuate the                 contraindications and vaccination does
                                                 Beginning in mid-2020, the United                     risk of COVID–19 infection and                          not delay unification of UC with
                                              States began experiencing an increase in                 spread.19 With CDC’s assistance and                     sponsors. Of the total population of UC
                                              the number of UC arriving daily at the                   guidance, ORR also has implemented                      in ORR care, approximately 90% are
                                              southern border. By February 2021, due                   COVID–19 testing regimes for UC in its                  eligible for vaccination and, as of July
                                              to the record numbers of transfers to                    care and continues to practice other                    12, 2021, ORR has administered at least
                                              ORR, UC being held in CBP custody                        mitigation measures to further prevent                  one dose of the COVID–19 vaccine to
                                              awaiting ORR transfer increased due to                   and curtail any transmission of the                     10,124 UC. CDC considers these
                                                                                                       SARS–CoV–2 virus among UC in its                        vaccination efforts to be a critical risk
                                              a lack of available space in ORR
                                                                                                       care. These strategies include universal                reduction measure that supports
                                              facilities. ORR and other government
                                                                                                       and proper wearing of masks, physical                   excepting UC from the October Order.
                                              agencies responded to the influx of UC                                                                              Although 8,435 UC have tested
                                                                                                       distancing, frequent hand washing,
                                              by rapidly expanding capacity and                                                                                positive for COVID–19 while at ORR
                                              developing robust, safe COVID–19                            17 HHS Executive Leadership Information Brief        shelters during the period of March 24,
                                              protocols in consultation with CDC.                      (internal document). Published July 12, 2021.           2020 to July 8, 2021, 8,081 of those UC
                                                 In conjunction with the Federal                          18 For comparison, on March 29, 2021, nearly
                                                                                                                                                               testing positive have successfully
                                              Emergency Management Agency                              5,500 UC were in CBP custody, with 3,540 of those
                                                                                                                                                               completed medical isolation, with few
                                              (FEMA) and with the assistance of the                    UC in custody for longer than 72 hours; as of March
                                                                                                       31, 2021, the average time in CBP custody for UC        requiring medical treatment. Similarly,
                                              Department of Defense, HHS and ORR                       was 131 hours.                                          6,590 COVID–19 cases have been
                                              opened temporary intake facilities along                    19 Specifically, ORR currently uses the following
                                                                                                                                                               reported among 14 EIS as of July 7,
                                              the U.S. southern border and in the                      COVID–19 protocols for UC at EIS: UC are tested
                                                                                                                                                               2021; however only 14 (0.5%) of the UC
                                              interior to add capacity. A total of 14                  for COVID–19 by CBP prior to being transported to
                                                                                                       an EIS and then are also tested upon arrival to EIS.    in this group have required
                                              Emergency Intake Sites (EIS) 16 were                     UC are required to quarantine for the first 7 days      hospitalization (including two severe
                                              opened across the United States. CDC                     after admission to an EIS and can be released from
                                                                                                       quarantine on the morning of day 8 if they remain          20 In ORR facilities where the risk of transmission
                                                 13 Dkt. No. 80, P.J.E.S. v. Mayorkas et al., No.      asymptomatic and had a negative COVID–19 test in
                                                                                                       the 48 hours prior. In addition to testing at           is moderate to high, public health officials working
                                              1:20–cv–02245 (D.D.C. Nov. 18, 2020).                                                                            collaboratively with ORR facilities can determine
                                                 14 See 8 U.S.C. 1232; Stipulated Settlement
                                                                                                       admission and during quarantine, UC are routinely
                                                                                                       tested during their stay at EIS (e.g., every three      the appropriateness of offering screening and repeat
                                              Agreement, Flores v. Reno, No. CV 85–cv–4544             days), and any UC that develops symptoms                testing of randomly selected asymptomatic staff and
                                              (C.D. Cal. Jan. 17, 1997).                               consistent with COVID–19 infection is immediately       children at the facility, as feasible, to identify cases
                                                 15 8 U.S.C. 1232(b)(3).                                                                                       and prevent secondary transmission.
                                                                                                       tested. UC who test positive for COVID–19 are
                                                 16 EIS are intended to be a temporary measure                                                                    21 Additional criteria (e.g., continued symptom
                                                                                                       required to be isolated for 10 days from the date the
                                              providing a standard of care consistent with the         positive test was collected, or 10 days from the date   monitoring and correct and consistent wearing of
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                                              best interest of children during an emergency            of symptom onset if asymptomatic. Contact tracing       masks) should be met by ORR as outlined on CDC’s
                                              situation. When fully operational with appropriate       is conducted whenever anyone tests positive for         website. See Science Brief: Options to Reduce
                                              staffing and basic medical resources, EIS provide a      COVID–19; UC exposed to COVID–19 are                    Quarantine for Contacts of Persons with SARS–
                                              safer, less crowded environment where UC are             quarantined for seven days, tested on the 5th, 6th,     CoV–2 Infection Using Symptom Monitoring and
                                              cared for, processed as quickly as possible, and are     or 7th day of their quarantine, and are released        Diagnostic Testing, Centers for Disease Control and
                                              either released to a sponsor or transferred to an        upon receiving a negative test result. ORR has also     Prevention, https://www.cdc.gov/coronavirus/2019-
                                              appropriate ORR facility for longer-term care. When      issued similar COVID–19 guidance to licensed            ncov/more/scientific-brief-options-to-reduce-
                                              no longer necessary, EIS facilities are demobilized.     facilities.                                             quarantine.html (last updated Dec. 2, 2020).



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                                              cases requiring intensive care). These                   COVID–19 and the highly unpredictable                   • By Mail: NIOSH Docket Office,
                                              numbers indicate that the risk of                        nature of its transmission and spread, it             Robert A. Taft Laboratories, MS C–34,
                                              overburdening the local healthcare                       would be impracticable and contrary to                1090 Tusculum Avenue, Cincinnati,
                                              systems by UC presenting with severe                     public health practices and the public                Ohio 45226–1998.
                                              COVID–19 disease remains low. Based                      interest to delay the issuing and                       Instructions: All written submissions
                                              on the robust network of ORR care                        effective date of this Order with respect             received in response to this notice must
                                              facilities and the testing and medical                   to UC. In addition, because this Order                include the agency name (Centers for
                                              care available therein, as well as                       concerns the ongoing discussions with                 Disease Control and Prevention, HHS)
                                              COVID–19 mitigation protocols                            Canada and Mexico on how best to                      and docket number (CDC–2021–0071;
                                              including vaccination for personnel and                  control COVID–19 transmission over                    NIOSH–341) for this action. All relevant
                                              eligible UC, there is very low likelihood                our shared borders, it directly                       comments, including any personal
                                              that processing UC in accordance with                    ‘‘involve[s] . . . a . . . foreign affairs            information provided, will be posted
                                              existing Title 8 procedures will result in               function of the United States.’’ 5 U.S.C.             without change to http://
                                              undue strain on the U.S. healthcare                      553(a)(1). Notice and comment and a                   www.regulations.gov.
                                              system or healthcare resources.                          delay in effective date would not be
                                              Moreover, UC released to a vetted                        required for that reason as well.                     FOR FURTHER INFORMATION CONTACT:
                                              sponsor or placed in a permanent ORR                                                                           Rachel Weiss, Program Analyst, 1090
                                                                                                       Authority                                             Tusculum Avenue, MS: C–48,
                                              shelter do not pose a significant level of
                                              risk for COVID–19 spread into the                          The authority for this Order is                     Cincinnati, OH 45226; telephone (855)
                                              community because they are released                      Sections 362 and 365 of the Public                    818–1629 (this is a toll-free number);
                                              after having undergone testing,                          Health Service Act (42 U.S.C. 265, 268)               email NIOSHregs@cdc.gov.
                                              quarantine and/or isolation, and                         and 42 CFR 71.40.                                     SUPPLEMENTARY INFORMATION: Title I of
                                              vaccination when possible, and their                       Dated: July 19,2021.                                the James Zadroga 9/11 Health and
                                              sponsors are provided with appropriate                   Sherri Berger,                                        Compensation Act of 2010 (Pub. L. 111–
                                              medical and public health direction.                     Chief of Staff, Centers for Disease Control           347, as amended by Pub. L. 114–113
                                                 CDC thus finds that, at this time,22                  and Prevention.                                       and Pub. L. 116–59), added Title XXXIII
                                              there is appropriate infrastructure in                   [FR Doc. 2021–15699 Filed 7–20–21; 4:15 pm]           to the Public Health Service (PHS) Act,1
                                              place to protect the children, caregivers,                                                                     establishing the WTC Health Program
                                                                                                       BILLING CODE 4163–18–P
                                              and local communities from elevated                                                                            within the Department of Health and
                                              risk of COVID–19 transmission as a                                                                             Human Services (HHS). The WTC
                                              result of the introduction of UC, and                    DEPARTMENT OF HEALTH AND                              Health Program provides medical
                                              U.S. healthcare resources are not                        HUMAN SERVICES                                        monitoring and treatment benefits for
                                              significantly impacted by providing UC                                                                         health conditions on the List of WTC-
                                              necessary care. CDC believes the                         Centers for Disease Control and                       Related Health Conditions (List) 2 to
                                              COVID–19-related public health                           Prevention                                            eligible firefighters and related
                                              concerns associated with UC                                                                                    personnel, law enforcement officers,
                                                                                                       [Docket No. CDC–2021–0071; NIOSH–341]
                                              introduction can be adequately                                                                                 and rescue, recovery, and cleanup
                                              addressed without UC being subject to                    World Trade Center Health Program;                    workers who responded to the
                                              the October Order, thereby permitting                    Request for Information                               September 11, 2001, terrorist attacks in
                                              the government to better address the
                                                                                                       AGENCY:  Centers for Disease Control and              New York City, at the Pentagon, and in
                                              humanitarian challenges for these
                                                                                                       Prevention, HHS.                                      Shanksville, Pennsylvania (responders).
                                              children. Based on the foregoing, CDC is
                                                                                                                                                             The Program also provides benefits to
                                              fully excepting UC from the October                      ACTION: Request for information.
                                                                                                                                                             eligible persons who were present in the
                                              Order,23 and the February Notice is
                                                                                                       SUMMARY:    The National Institute for                dust or dust cloud on September 11,
                                              hereby superseded. This Order shall be
                                                                                                       Occupational Safety and Health                        2001, or who worked, resided, or
                                              immediately effective. I consulted with
                                                                                                       (NIOSH), within the Centers for Disease               attended school, childcare, or adult
                                              DHS and other federal departments as
                                              needed before I issued this Order and                    Control and Prevention (CDC), is                      daycare in the New York City disaster
                                              requested that DHS continue to aid in                    soliciting public comment on the scope                area (survivors).
                                              the enforcement of this Order because                    of an upcoming funding announcement                      The Zadroga Act also requires that the
                                              CDC does not have the capability,                        for FY2022 regarding the World Trade                  Program establish a research program on
                                              resources, or personnel needed to do                     Center (WTC) Health Program’s research                health conditions resulting from the
                                              so.24                                                    priorities involving WTC survivors. The               September 11, 2001, terrorist attacks,
                                                 This Order is not a rule subject to                   WTC Health Program’s research                         addressing the following topics: 3
                                              notice and comment under the                             program helps answer critical questions                  • Physical and mental health
                                              Administrative Procedure Act (APA).                      about potential 9/11-related physical                 conditions that may be related to the
                                              Even if it were, notice and comment and                  and mental health conditions as well as               September 11, 2001, terrorist attacks;
                                              a delay in effective date are not required               diagnosing and treating health
                                              because there is good cause to dispense                  conditions on the List of WTC-Related                   1 Title XXXIII of the PHS Act is codified at 42

                                              with prior public notice and the                         Health Conditions.                                    U.S.C. 300mm to 300mm–61. Those portions of the
                                              opportunity to comment on this Order                     DATES: Comments must be received by                   James Zadroga 9/11 Health and Compensation Act
                                                                                                                                                             of 2010 found in Titles II and III of Public Law 111–
                                              and a delayed effective date. Given the                  August 23, 2021.                                      347 do not pertain to the WTC Health Program and
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                                              public health emergency caused by                        ADDRESSES: Comments may be                            are codified elsewhere.
                                                                                                       submitted through either of the                         2 The List of WTC-Related Health Conditions is
                                                22 This situation could change based on an                                                                   established in 42 U.S.C. 300mm–22(a)(3)–(4) and
                                                                                                       following two methods:
                                              increased influx of UC, changes in COVID–19                 • Federal eRulemaking Portal: http://              300mm–32(b); additional conditions may be added
                                              infection dynamics among UC, or unforeseen                                                                     through rulemaking and the complete list is
                                              reductions in housing capacity.                          www.regulations.gov (follow the                       provided in WTC Health Program regulations at 42
                                                23 See 86 FR 9942.                                     instructions for submitting comments),                CFR 88.15.
                                                24 42 U.S.C. 268; 42 CFR 71.40(d).                     or                                                      3 42 U.S.C. 300mm–51(a).




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                          Exhibit D:
                         August Order
                                                        Case 4:21-cv-00579-P Document 62-1 Filed 08/23/21                                                 Page 17 of 49 PageID 755
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                                               state, local and courtroom requirements                 ADDRESSES:   Individuals seeking an                   • Email address
                                               and seek a commitment to adhere to                      appointment to the IPAC may send a                      At their option, candidates may
                                               those requirements. The requirements                    Statement of Interest by email to IPAC@               provide additional information for
                                               apply to all attorneys, assistants, parties,            frb.gov. The Statement of Interest                    consideration.
                                               and witnesses. The discussion will also                 contains only contact information.
                                               address who may enter the courtroom,                    Candidates also may choose to provide                 Qualifications
                                               when, and what safety measures, such                    additional information. Candidates may                  IPAC candidates should be insurance
                                               as masks and social distancing, must be                 send this information by email to IPAC@               experts. The Board provides equal
                                               implemented. No person may enter the                    frb.gov. The Privacy Act Statement for                appointment opportunity to all persons
                                               courtroom, or the witness room without                  IPAC Member Selection, which                          without regard to race, color, religion,
                                               the permission of the Judge. The Judge                  describes the purposes, authority,                    sex (including sexual orientation,
                                               may consider allowing persons who are                   effects of nondisclosure, and uses of this            gender identity, and pregnancy),
                                               not fully vaccinated to enter the                       information, can be found at https://                 national origin, age, disability, genetic
                                               courtroom, but they must wear masks                     www.federalreserve.gov/aboutthefed/                   information, or military service. In
                                               and practice social distancing.                         ipac-privacy.htm.                                     addition, the Board is committed to a
                                                  All court reporters will be notified                    Individuals also may mail Statements               diverse committee and seeks a diverse
                                               that they must be vaccinated.                           of Interest and any additional                        set of expert perspectives from the
                                                  The Judge may consider all factors, in               information to the Board of Governors of              various sectors of the U.S. insurance
                                               totality, in determining if a remote                    the Federal Reserve System, Attn:                     industry including life insurance,
                                               hearing will be held and who may be                     Insurance Policy Advisory Committee,                  property and casualty insurance and
                                               present for the hearing. No single factor               20th Street and Constitution Ave. NW,                 reinsurance, agents and brokers,
                                               is dispositive. These procedures shall be               Washington, DC 20551.                                 academics, consumer advocates, and
                                               in place until December 31, 2021, unless                                                                      experts on issues facing underserved
                                                                                                       FOR FURTHER INFORMATION CONTACT: Jan
                                               extended or modified by order. The                                                                            insurance communities and consumers.
                                                                                                       Bauer, Senior Insurance Policy Analyst,
                                               order shall be posted on the                                                                                  The Board also seeks relevant actuarial,
                                                                                                       (202) 475–7697 or Thomas Sullivan,
                                               Commission’s website                                                                                          legal, regulatory, and accounting
                                                                                                       Senior Associate Director, (202) 452–
                                               (www.fmshrc.gov) and the contents of                                                                          expertise, as well as expertise on lines
                                                                                                       3000, Division of Supervision and
                                               the order will be published in a notice                                                                       of business underwritten by its
                                               appearing in the Federal Register.                      Regulation; or IPAC@frb.gov.
                                                                                                       SUPPLEMENTARY INFORMATION: The
                                                                                                                                                             currently supervised population of
                                                  Authority: 30 U.S.C. 823; 29 CFR part                                                                      insurance institutions.
                                               2700.                                                   Economic Growth, Regulatory Relief,
                                                                                                                                                               Members must be willing and able to
                                                                                                       and Consumer Protection Act
                                                 Dated: July 30, 2021.                                                                                       participate in conference calls and
                                                                                                       established at the Board an Insurance
                                               Sarah L. Stewart,                                                                                             prepare for and attend meetings in
                                                                                                       Policy Advisory Committee (IPAC) to
                                               Deputy General Counsel, Federal Mine Safety                                                                   person. Membership and attendance is
                                                                                                       advise the Board on international
                                               and Health Review Commission.                                                                                 not delegable.
                                                                                                       capital standards and other insurance
                                               [FR Doc. 2021–16661 Filed 8–4–21; 8:45 am]                                                                      By order of the Board of Governors of the
                                                                                                       matters. This notice advises individuals
                                               BILLING CODE 6735–01–P
                                                                                                       of the opportunity to be considered for               Federal Reserve System, acting through the
                                                                                                       appointment to the IPAC. To assist with               Director of the Division of Supervision and
                                                                                                                                                             Regulation under delegated authority.
                                                                                                       the appointment of IPAC members, the
                                               FEDERAL RESERVE SYSTEM                                  Board considers information submitted                 Ann Misback,
                                                                                                       by the candidate, public information,                 Secretary of the Board.
                                               Solicitation of Statements of Interest                                                                        [FR Doc. 2021–16669 Filed 8–4–21; 8:45 am]
                                                                                                       and any other relevant information the
                                               for Membership on the Insurance
                                                                                                       Board determines to consider.                         BILLING CODE P
                                               Policy Advisory Committee
                                                                                                       Council Size and Terms
                                               AGENCY: Board of Governors of the
                                               Federal Reserve System (Board).                            The IPAC has at most 21 members.                   DEPARTMENT OF HEALTH AND
                                               ACTION: Notice.                                         IPAC members serve staggered three-                   HUMAN SERVICES
                                                                                                       year terms. Members are appointed to
                                               SUMMARY:   The Economic Growth,                         three-year terms unless the Board                     Centers for Disease Control and
                                               Regulatory Relief, and Consumer                         appoints a member to fill a vacant                    Prevention
                                               Protection Act established at the Board                 unexpired term. A member that is
                                               an Insurance Policy Advisory                            appointed to serve a three-year term                  Public Health Reassessment and Order
                                               Committee (IPAC). This notice advises                   begins his or her service on the first                Suspending the Right To Introduce
                                               individuals who wish to serve as IPAC                   January 1 occurring after his or her                  Certain Persons From Countries
                                               members of the annual opportunity to                    appointment. A member appointed to                    Where a Quarantinable Communicable
                                               be considered for the IPAC.                             fill an vacant unexpired term serves for              Disease Exists
                                               DATES: Individuals that submit a                        the remaining time of the term. The                   AGENCY: Centers for Disease Control and
                                               Statement of Interest that is received by               Board provides a nominal honorarium                   Prevention (CDC), Department of Health
                                               the Board from the first Monday in                      and reimburses members only for their                 and Human Services (HHS).
                                               August through the first Monday in                      actual travel expenses, subject to Board              ACTION: Notice.
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                                               October of each year will be considered                 policy.
                                               for appointments to the IPAC                                                                                  SUMMARY:  The Centers for Disease
                                                                                                       Statement of Interest
                                               announced in the fourth calendar                                                                              Control and Prevention (CDC), a
                                               quarter of the same year. Statements of                   A Statement of Interest must contain                component of the Department of Health
                                               Interest received outside the period                    the following information:                            and Human Services (HHS), announces
                                               from the first Monday in August                         • Full name;                                          an Order to replace and supersede the
                                               through the first Monday in October                     • Address;                                            Order Suspending the Right to
                                               generally will not be considered.                       • Phone number; and                                   Introduce Certain Persons from


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                                               Countries Where a Quarantinable                           along the U.S. land and adjacent coastal               U.S. DEPARTMENT OF HEALTH AND
                                               Communicable Disease Exists, issued on                    borders. In recognition of the specific                HUMAN SERVICES CENTERS FOR
                                               October 13, 2020 (‘‘October Order’’).                     COVID–19 mitigation measures                           DISEASE CONTROL AND
                                               Following an assessment of the current                    available in facilities providing care for             PREVENTION (CDC)
                                               status of the COVID–19 public health                      Unaccompanied Noncitizen Children                      Order Under Sections 362 & 365 of the
                                               emergency and the situation in                            (UC), CDC excepted UC from the                         Public Health Service Act
                                               congregate settings where noncitizens                     October Order 2 on July 16, 2021 (July
                                               seeking to enter the United States are                                                                           (42 U.S.C. 265, 268) and 42 CFR 71.40
                                                                                                         Exception) and continues that exception
                                               processed and held, CDC has                               herein.3 In addition, CDC is continuing                Public Health Reassessment and Order
                                               determined that an Order remains                          an exception for individuals on a case-                Suspending the Right To Introduce
                                               appropriate at this time for all ‘‘covered                                                                       Certain Persons From Countries Where
                                                                                                         by-case basis, based on the totality of
                                               noncitizens’’ as defined in the order.                                                                           a Quarantinable Communicable Disease
                                                                                                         the circumstances, and is incorporating
                                               Unaccompanied noncitizen children,                                                                               Exists
                                                                                                         an additional exception for programs
                                               already excepted under a July 16, 2021
                                                                                                         approved by the U.S. Department of                     Executive Summary
                                               order, remain excepted from the order’s
                                               coverage. In addition, CDC is continuing                  Homeland Security (DHS) that                             The Centers for Disease Control and
                                               an exception for individuals on a case-                   incorporate appropriate COVID–19                       Prevention (CDC), a component of the
                                               by-case basis, based on the totality of                   mitigation protocols as recommended                    U.S. Department of Health and Human
                                               the circumstances, and is incorporating                   by CDC.                                                Services (HHS), is hereby replacing and
                                               an additional exception for programs                        A copy of the Order is provided                      superseding the Order Suspending the
                                               approved by the U.S. Department of                        below, and a copy of the signed Order                  Right to Introduce Certain Persons from
                                               Homeland Security (DHS) that                              can be found at https://www.cdc.gov/                   Countries Where a Quarantinable
                                               incorporate appropriate COVID–19                          coronavirus/2019-ncov/downloads/                       Communicable Disease Exists, issued on
                                               mitigation protocols as recommended                                                                              October 13, 2020 (October Order). The
                                                                                                         CDC-Order-Suspending-Right-to-
                                               by CDC.                                                                                                          instant Order continues the suspension
                                                                                                         Introduce-_Final_8-2-21.pdf.
                                               DATES: This Order went into effect
                                                                                                                                                                of the right to introduce ‘‘covered
                                               August 2, 2021.                                                                                                  noncitizens,’’ as defined herein,4 into
                                                                                                                                                                the United States along the U.S. land
                                               FOR FURTHER INFORMATION CONTACT:
                                                                                                                                                                and adjacent coastal borders. In
                                               Tiffany Brown, Deputy Chief of Staff,
                                                                                                                                                                recognition of the specific COVID–19
                                               Centers for Disease Control and                           (regardless of their country of origin) who would
                                                                                                                                                                mitigation measures available in
                                               Prevention, 1600 Clifton Road NE, MS                      otherwise be introduced into a congregate setting in
                                                                                                         a POE or U.S. Border Patrol station at or near the     facilities providing care for
                                               H21–10, Atlanta, GA 30329. Phone:
                                                                                                         U.S. land and adjacent coastal borders subject to      Unaccompanied Noncitizen Children
                                               404–639–7000. Email: cdcregulations@
                                                                                                         certain exceptions detailed below; this includes       (UC), CDC excepted UC from the
                                               cdc.gov.                                                  noncitizens who do not have proper travel              October Order on July 16, 2021 (July
                                               SUPPLEMENTARY INFORMATION: CDC has                        documents, noncitizens whose entry is otherwise        Exception) and continues that exception
                                               determined that an Order under 42                         contrary to law, and noncitizens who are               herein.5 Following an assessment of the
                                               U.S.C. 265 remains necessary to protect                   apprehended at or near the border seeking to
                                                                                                         unlawfully enter the United States between POE.
                                                                                                                                                                current status of the COVID–19 public
                                               U.S. citizens, U.S. nationals, lawful                        2 Order Suspending the Right to Introduce Certain
                                                                                                                                                                health emergency and the situation in
                                               permanent residents, personnel and                        Persons from Countries Where a Quarantinable           congregate settings where noncitizens
                                               noncitizens at the ports of entry (POE)                   Communicable Disease Exists, 85 FR 65806 (Oct.         seeking to enter the United States are
                                               and U.S. Border Patrol stations, and                      16, 2020). The October Order replaced the Order        processed and held, CDC has
                                               destination communities in the United                     Suspending Introduction of Certain Persons from        determined that an Order remains
                                               States during the COVID–19 public                         Countries Where a Communicable Disease Exists,         appropriate at this time for all other
                                               health emergency. This Order reflects                     issued on March 20, 2020 (March Order) and             covered noncitizens as described herein.
                                               the current, highly dynamic conditions                    subsequently extended and amended. Notice of
                                                                                                                                                                As outlined below, CDC is continuing
                                                                                                         Order Under Sections 362 and 365 of the Public
                                               regarding COVID–19, including variants                                                                           an exception for individuals on a case-
                                                                                                         Health Service Act Suspending Introduction of
                                               of concern and levels of vaccination, as                  Certain Persons from Countries Where a                 by-case basis, based on the totality of
                                               well as evolving circumstances specific                   Communicable Disease Exists, 85 FR 17060 (Mar.         the circumstances, and is incorporating
                                               to the U.S. borders. As facts change,                     26, 2020); Extension of Order Under Sections 362       an additional exception for programs
                                               CDC may further modify the Order. This                    and 365 of the Public Health Service Act; Order        approved by the U.S. Department of
                                               Order will remain in place until either                   Suspending Introduction of Certain Persons From        Homeland Security (DHS) that
                                               the expiration of the Secretary of HHS’                   Countries Where a Communicable Disease Exists,
                                                                                                                                                                incorporate appropriate COVID–19
                                                                                                         85 FR 22424 (Apr. 22, 2020); Amendment and
                                               declaration that COVID–19 constitutes a                                                                          mitigation protocols as recommended
                                                                                                         Extension of Order Under Sections 362 and 365 of
                                               public health emergency, or the CDC                       the Public Health Service Act; Order Suspending        by CDC.
                                               Director determines that the danger of                    Introduction of Certain Persons from Countries           CDC has determined that an Order
                                               further introduction of COVID–19 into                     Where a Communicable Disease Exists, 85 FR 31503       under 42 U.S.C. 265 remains necessary
                                               the United States has declined such that                  (May 26, 2020).
                                               continuation of the Order is no longer                       3 Public Health Determination Regarding an            4 See infra Section III.A.
                                               necessary to protect public health,                       Exception for Unaccompanied Noncitizen Children          5 Public  Health Determination Regarding an
                                               whichever occurs first. The                               from Order Suspending the Right to Introduce           Exception for Unaccompanied Noncitizen Children
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                                                                                                         Certain Persons from Countries Where a                 from Order Suspending the Right to Introduce
                                               circumstances necessitating the Order                                                                            Certain Persons from Countries Where a
                                                                                                         Quarantinable Communicable Disease Exists,
                                               will be reassessed at least every 60 days.                Centers for Disease Control and Prevention, https://   Quarantinable Communicable Disease Exists,
                                               This Order continues the suspension of                    www.cdc.gov/coronavirus/2019-ncov/more/pdf/
                                                                                                                                                                Centers for Disease Control and Prevention, https://
                                               the right to introduce ‘‘covered                                                                                 www.cdc.gov/coronavirus/2019-ncov/more/pdf/
                                                                                                         NoticeUnaccompaniedChildren.pdf (July 16, 2021);       NoticeUnaccompaniedChildren.pdf (July 16, 2021);
                                               noncitizens,’’ 1 into the United States                   see 86 FR 38717 (July 22, 2021). The July Exception    see 86 FR 38717 (July 22, 2021). The July Exception
                                                                                                         relating to UC is hereby made a part of this Order     relating to UC is hereby made a part of this Order
                                                 1 The term ‘‘covered noncitizens’’ is defined as        and incorporated by reference as if fully set forth    and incorporated by reference as if fully set forth
                                               persons traveling from Canada or Mexico                   herein.                                                herein.



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                                               to protect U.S. citizens, U.S. nationals,               virus. As part of U.S. government efforts               Order.11 The exception of UC from the
                                               lawful permanent residents, personnel                   to mitigate the introduction,                           October Order was confirmed with the
                                               and noncitizens at the ports of entry                   transmission, and spread of COVID–19,                   publication of the July Exception.12
                                               (POE) and U.S. Border Patrol stations,                  CDC issued an Order on October 13,                         POE and U.S. Border Patrol stations
                                               and destination communities in the                      2020 (October Order), replacing an                      are operated by U.S. Customs and
                                               United States during the COVID–19                       Order initially issued on March 20, 2020                Border Protection (CBP), an agency
                                               public health emergency. This Order                     (March Order),7 suspending the right to                 within DHS. The March and October
                                               reflects the current, highly dynamic                    introduce 8 certain persons into the                    Orders were intended to reduce the risk
                                               conditions regarding COVID–19,                          United States from countries or places                  of COVID–19 introduction,
                                               including variants of concern and levels                where the quarantinable communicable                    transmission, and spread in POE and
                                               of vaccination, as well as evolving                     disease exists in order to protect the                  U.S. Border Patrol stations by
                                               circumstances specific to the U.S.                      public health from an increase in risk of               significantly reducing the number and
                                               borders. As facts change, CDC may                       the introduction of COVID–19. The                       density of covered noncitizens held in
                                               further modify the Order. This Order                    October Order applied specifically to                   these congregate settings, thereby
                                               will remain in place until either the                   covered noncitizens who would                           reducing risks to U.S. citizens and
                                               expiration of the Secretary of HHS’                     otherwise be introduced into a                          residents, DHS/CBP personnel and
                                               declaration that COVID–19 constitutes a                 congregate setting in land or coastal                   noncitizens at the facilities, and the
                                               public health emergency, or the CDC                     POE or U.S. Border Patrol stations at or                healthcare systems in local communities
                                               Director determines that the danger of                  near the U.S. borders 9 with Canada and                 overall. Because of the congregate
                                               further introduction of COVID–19 into                   Mexico. On February 17, 2021, CDC                       nature of these facilities and the
                                               the United States has declined such that                published a notice announcing the                       sustained community transmission of
                                               continuation of the Order is no longer                  temporary exception of unaccompanied                    COVID–19, including the highly
                                               necessary to protect public health,                     noncitizen children (UC) 10 encountered                 transmissible B.1.617.2 (Delta) variant,
                                               whichever occurs first. The                             in the United States from the October                   in both the United States and migrants’
                                               circumstances necessitating the Order                                                                           countries of origin and transit, at this
                                               will be reassessed at least every 60 days.              causing, or have the potential to cause, a pandemic.    time, there continues to be a high risk
                                                                                                       See Exec. Order 13295, 68 FR 17255 (Apr. 4, 2003),      of COVID–19 outbreaks in these
                                               Outline of Reassessment and Order                       as amended by Exec. Order 13375, 70 FR 17299
                                                                                                       (Apr. 1, 2005) and Exec. Order 13674, 79 FR 45671
                                                                                                                                                               facilities following the introduction of
                                               I. Background                                           (July 31, 2014).                                        an infected person. Upon reassessment
                                                  A. Current Status of COVID–19 Public                    7 Order Suspending the Right to Introduce Certain    of the current situation with respect to
                                                     Health Emergency                                  Persons from Countries Where a Quarantinable            the pandemic and the situation at the
                                                  B. Public Health Factors Related to                  Communicable Disease Exists, 85 FR 65806 (Oct.          U.S. borders, CDC finds an Order under
                                                     COVID–19                                          16, 2020). The October Order replaced the Order
                                                                                                       Suspending Introduction of Certain Persons from         42 U.S.C. 265 for Single Adults (SA) 13
                                                  1. Manner of COVID–19 Transmission                                                                           and Family Units (FMU) 14 remains
                                                                                                       Countries Where a Communicable Disease Exists,
                                                  2. Emerging Variants of the SARS–CoV–2
                                                     Virus
                                                                                                       issued on March 20, 2020 (March Order), and             necessary at this time, as discussed in
                                                                                                       subsequently extended and amended. Notice of            detail below. CDC also recognizes the
                                                  3. Risks of COVID–19 Transmission                    Order Under Sections 362 and 365 of the Public
                                                     Specific To Congregate Settings                   Health Service Act Suspending Introduction of           availability of testing, vaccines, and
                                                  4. Availability of Testing, Vaccines, and            Certain Persons from Countries Where a                  other mitigation protocols can minimize
                                                     Other Mitigation Measures                         Communicable Disease Exists, 85 FR 17060 (Mar.          risk in this area. As the ability of DHS
                                                  5. Impact on U.S. Communities and                    26, 2020); Extension of Order Under Sections 362        facilities to employ mitigation measures
                                                     Healthcare Resources                              and 365 of the Public Health Service Act; Order
                                                                                                       Suspending Introduction of Certain Persons From         to address the COVID–19 public health
                                               II. Public Health Reassessment                                                                                  emergency increases, CDC anticipates
                                                                                                       Countries Where a Communicable Disease Exists,
                                                  A. Immigration Processing and Public                 85 FR 22424 (Apr. 22, 2020); Amendment and              additional lifting of restrictions.
                                                     Health Impacts                                    Extension of Order Under Sections 362 and 365 of
                                                  B. Public Health Assessment of Single                the Public Health Service Act; Order Suspending         A. Current Status of COVID–19 Public
                                                     Adults and Family Units                           Introduction of Certain Persons from Countries          Health Emergency
                                                  C. Comparison to Unaccompanied                       Where a Communicable Disease Exists, 85 FR 31503
                                                     Noncitizen Children                               (May 26, 2020).                                           Since late 2019, SARS–CoV–2, the
                                                  D. Summary of Findings                                  8 Suspension of the right to introduce means to
                                                                                                                                                               virus that causes COVID–19, has spread
                                               III. Legal Basis for the Order                          cause the temporary cessation of the effect of any      throughout the world, resulting in a
                                                                                                       law, rule, decree, or order pursuant to which a
                                               IV. Issuance and Implementation of the Order            person might otherwise have the right to be             pandemic. As of July 28, 2021, there
                                                  A. Covered Noncitizens                               introduced or seek introduction into the United         have been over 195 million confirmed
                                                  B. Exceptions                                        States. 42 CFR 71.40(b)(5).                             cases of COVID–19 globally, resulting in
                                                  C. APA, Review, and Termination                         9 When U.S. Customs and Border Protection
                                                                                                                                                               over 4.1 million deaths.15 The United
                                                                                                       (CBP) or the U.S. Department of Homeland Security
                                               I. Background                                           (DHS) partner agencies encounter noncitizens off          11 Notice of Temporary Exception from Expulsion
                                                  Coronavirus disease 2019 (COVID–19)                  the coast closely adjacent to the land borders, it
                                                                                                       transfers the noncitizens for processing in POE or      of Unaccompanied Noncitizen Children Pending
                                               is a quarantinable communicable                         U.S. Border Patrol stations closest to the encounter.   Forthcoming Public Health Determination, 86 FR
                                               disease 6 caused by the SARS–CoV–2                      Absent the October Order, such noncitizens would        9942 (Feb. 17, 2021).
                                                                                                                                                                 12 Supra note 2.
                                                                                                       be held in the same congregate settings and holding
                                                                                                                                                                 13 A single adult (SA) is any noncitizen adult 18
                                                 6 Quarantinable communicable diseases are any         facilities as any encounters along the land border,
                                               of the communicable diseases listed in Executive        resulting in similar public health concerns related     years or older who is not an individual in a ‘‘family
                                               Order, as provided under § 361 of the Public Health     to the introduction, transmission, and spread of        unit,’’ see infra note 11.
                                                                                                       COVID–19.                                                 14 An individual in a family unit (FMU) includes
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                                               Service Act (42 U.S.C. 264). 42 CFR 71.1. The list
                                               of quarantinable communicable diseases currently           10 As stated in the July Exception, CDC’s            any individual in a group of two or more
                                               includes cholera, diphtheria, infectious                understanding is that UC are a class of individuals     noncitizens consisting of a minor or minors
                                               tuberculosis, plague, smallpox, yellow fever, viral     similar to or the same as those individuals who         accompanied by their adult parent(s) or legal
                                               hemorrhagic fevers (Lassa, Marburg, Ebola,              would be considered ‘‘unaccompanied alien               guardian(s). Any statistics regarding FMU count the
                                               Crimean-Congo, South American, and others not yet       children’’ (see 6 U.S.C. 279) for purposes of HHS       number of individuals in a family unit rather than
                                               isolated or named), severe acute respiratory            Office of Refugee Resettlement custody, were DHS        counting the groups.
                                               syndromes (including Middle East respiratory            to make the necessary immigration determinations          15 Coronavirus disease (COVID–19) pandemic,

                                               syndrome and COVID–19), and influenza caused by         under Title 8 of the U.S. Code. 86 FR 38717, 38718      World Health Organization, https://
                                               novel or reemergent influenza viruses that are          at note 4.                                              covid19.who.int/ (last visited July 28, 2021).



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                                               States has reported over 34 million                      the U.S. government and CDC have                        recommends that all individuals,
                                               cases resulting in over 609,000 deaths                   implemented a number of COVID–19                        including those fully vaccinated,
                                               due to the disease 16 and is currently                   mitigation and response measures since                  continue to wear a well-fitted face mask
                                               averaging around 61,976 new cases of                     that time. Many of these mitigation                     in correctional and detention
                                               COVID–19 a day as of July 27, 2021 with                  measures have involved restrictions on                  facilities.25
                                               high community transmission.17                           international travel and migration.22
                                               Although several of the key indicators of                Other measures have focused on                          B. Public Health Factors Related to
                                               transmission and spread of COVID–19                      recommending and enforcing COVID–19                     COVID–19
                                               in the United States improved during                     mitigation efforts, including physical                     As directed by Executive Order,26
                                               the first half of 2021, variants of                      distancing and mask-wearing.23 Recent                   CDC conducted a comprehensive
                                               concern, particularly the more                           concerns regarding the spread of the
                                                                                                                                                                reassessment of the October Order to
                                               transmissible Delta variant, have driven                 Delta variant prompted CDC to release
                                                                                                                                                                determine whether the suspension of
                                               a stark increase in COVID–19 cases,                      updated guidance calling for vaccinated
                                                                                                                                                                the right to introduce certain persons
                                               hospitalizations, and deaths. COVID–19                   persons to wear a mask indoors in
                                                                                                                                                                into the United States remains necessary
                                               cases increased approximately 400%                       public when in an area of substantial or
                                                                                                                                                                in light of the current circumstances,
                                               between June 19 and July 28, 2021.18                     high transmission.24 Furthermore, CDC
                                                  Many countries have begun                                                                                     including the evolving understanding of
                                               widespread vaccine administration;                       emergency/news/healthactions/phe/Pages/2019-
                                                                                                                                                                the epidemiology of COVID–19 variants
                                               however, 78 countries continue to                        nCoV.aspx (last visited July 21, 2021). The public      and available mitigation measures
                                               experience high or substantial incidence                 health emergency determination has been                 including testing and vaccination.27 In
                                                                                                        subsequently renewed at 90-day intervals, most          conducting this reassessment, CDC
                                               rates (≥50 cases per 100,000 people in                   recently on July 28, 2021. See https://www.phe.gov/
                                               the last seven days) and 123 countries,                  emergency/news/healthactions/phe/Pages/COVID-           examined a number of public health
                                               including the United States, are                         19July2021.aspx (last visited July 28, 2021).           factors, and evaluated how these factors
                                               experiencing an increasing incidence of
                                                                                                           22 The President issued proclamations                impact POE and U.S. Border Patrol
                                                                                                        suspending entry into the United States of              stations and the personnel and
                                               reported new cases.19 It is imperative                   immigrants or nonimmigrants who were physically
                                               that individuals and communities stay                    present within a number of countries during the 14-
                                                                                                                                                                noncitizens in those facilities. CDC also
                                               vigilant and that vaccination and other                  day period preceding their entry or attempted entry     scrutinized whether the potential
                                               COVID–19 mitigation efforts are                          into the U.S. See Proclamation 9984 (Jan. 31, 2020);    impacts varied by category of
                                                                                                        Proclamation 9992 (Feb. 28, 2020); Proclamation         noncitizen: SA, FMU, and UC. In
                                               maintained. As the Delta variant                         10143 (Jan. 25, 2021); and Proclamation 10199 (Apr.
                                               continues to spread, both the United                     30, 2021). Since March 2020, Canada and Mexico          carrying out its reassessment, CDC
                                               States and Mexico are experiencing high                  have joined with the U.S. to restrict non-essential     evaluated the following public health
                                               or substantial incidence rates with 137.9                travel along land borders to prevent the                factors: (1) The manner of COVID–19
                                                                                                        introduction and spread of the virus that causes        transmission, including asymptomatic
                                               and 68.6 daily cases per 100,000                         COVID–19; these restrictions are in place until at
                                               persons over a seven-day average,                        least August 21, 2021. Notification of Temporary        and pre-symptomatic transmission; (2)
                                               respectively; in Canada, the incidence                   Travel Restrictions Applicable to Land Ports of         the emerging variants of the SARS–
                                               rate is 8.0. The United States saw a                     Entry and Ferries Service Between the U.S. and          CoV–2 virus; (3) the risks specific to the
                                                                                                        Canada, 86 FR 38556 (July 22, 2021); Notification       type of facility or congregate setting; (4)
                                               91.0% increase in new cases over the                     of Temporary Travel Restrictions Applicable to
                                               past week, Mexico experienced a 30.2%                    Land Ports of Entry and Ferries Service Between the     the availability of testing and vaccines
                                               increase in new cases. During the same                   U.S. and Mexico, 86 FR 38554 (July 22, 2021). CDC       and the applicability of other mitigation
                                                                                                        has also issued orders to mitigate risk of further      efforts; and (5) the impact on U.S.
                                               time period, the incidence rate in                       introducing and spreading SARS CoV–2 and its
                                               Canada increased by 14.8%.20                             variants into the United States. See Framework for
                                                                                                                                                                communities and healthcare resources.
                                                  COVID–19 was first declared a public                  Conditional Sailing and Initial Phase COVID–19          CDC views this public health
                                               health emergency in January 2020 21 and                  Testing Requirements for Protection of Crew, 85 FR      reassessment as setting forth a roadmap
                                                                                                        70153 (Nov. 4, 2020) (outlining the process for the     toward the safe resumption of normal
                                                                                                        phased resumption of cruise ship passenger
                                                  16 COVID Data Tracker, Centers for Disease
                                                                                                        operations); Requirement for Negative Pre-
                                                                                                                                                                processing of arriving noncitizens,
                                               Control and Prevention, https://covid.cdc.gov/           Departure COVID–19 Test Result or Documentation         taking into account COVID–19 concerns
                                               covid-data-tracker/#datatracker-home (last visited       of Recovery from COVID–19 for all Airline or Other      and immigration facilities’ ability to
                                               July 28, 2021).                                          Aircraft Passengers Arriving into the U.S. from Any
                                                  17 United States COVID–19 Cases, Deaths, and                                                                  implement mitigation measures.
                                                                                                        Foreign Country, 86 FR 7387 (Jan. 28, 2021); and
                                               Laboratory Testing (NAATs) by State, Territory, and      COVID–19 Travel Recommendations by
                                               Jurisdiction, Centers for Disease Control and                                                                    regardless of transmission level if they or someone
                                                                                                        Destination, Centers for Disease Control and
                                               Prevention, https://covid.cdc.gov/covid-data-                                                                    in their household is immunocompromised or at
                                                                                                        Prevention, https://www.cdc.gov/coronavirus/2019-
                                               tracker/#cases_community (last visited July 28,                                                                  increased risk for severe disease, or if someone in
                                                                                                        ncov/travelers/map-and-travel-notices.html#travel-
                                               2021).                                                                                                           their household is unvaccinated (including children
                                                                                                        1 (last updated July 26, 2021) (COVID–19-related
                                                  18 Christie A, Brooks JT, Hicks LA, et al. Guidance                                                           currently ineligible for vaccination)); see also infra
                                                                                                        travel recommendations, including 62 Level 4
                                               for Implementing COVID–19 Prevention Strategies                                                                  page 11, section 5 (discussion of ‘‘high’’ and
                                                                                                        Travel Health Notices for countries with very high
                                               in the Context of Varying Community Transmission         COVID–19 rates).                                        ‘‘substantial transmission’’).
                                                                                                                                                                   25 Interim Public Health Recommendations for
                                               Levels and Vaccination Coverage. MMWR Morb                  23 CDC’s Order requiring the wearing of face
                                               Mortal Wkly Rep. ePub: 27 July 2021. DOI: http://        masks by travelers while on a conveyance entering,      Fully Vaccinated People, Centers for Disease
                                               dx.doi.org/10.15585/mmwr.mm7030e2.                       traveling within, or departing the United States and    Control and Prevention, https://www.cdc.gov/
                                                  19 See Global Trends, Epidemic Curve trajectory
                                                                                                        in U.S. transportation hubs remains in place for all    coronavirus/2019-ncov/vaccines/fully-vaccinated-
                                               Classification, WHO, as reported at https://             travelers at indoor settings on public transportation   guidance.html (last updated May 28, 2021).
                                               covid.cdc.gov/covid-data-tracker/#global-trends                                                                     26 Exec. Order 14010, ‘‘Creating a Comprehensive
                                                                                                        conveyances and at transportation hubs, regardless
                                               (last visited July 28, 2021).                            of vaccination. Requirement for Persons to Wear         Regional Framework To Address the Causes of
                                                  20 Low/Moderate incidence describes <50 cases         Masks While on Conveyances and at Transportation        Migration, To Manage Migration Throughout North
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                                               per 100,000 people during the past 7 days.               Hubs, 86 FR 8025 (Feb. 3, 2021). See Requirement        and Central America, and To Provide Safe and
                                               Increasing or Decreasing incidence is based on the       for Face Masks on Public Transportation                 Orderly Processing of Asylum Seekers at the United
                                               percentage change in the number of cases reported        Conveyances and at Transportation Hubs, Centers         States Border,’’ 86 FR 8267 (Feb. 2, 2021).
                                               in the past 7 days compared to the 7 days prior to       for Disease Control and Prevention, https://               27 CDC’s reassessment of the public health

                                               that (Increasing: >0% change, Decreasing: <0%            www.cdc.gov/coronavirus/2019-ncov/travelers/face-       situation with respect to covered noncitizens and
                                               change).                                                 masks-public-transportation.html (last updated          border facilities relies upon information and data
                                                  21 Determination that a Public Health Emergency       June 10, 2021).                                         provided by DHS, CBP, and HHS’ Office of Refugee
                                               Exists, U.S. Department of Health and Human                 24 Supra note 15 (CDC also recommends fully          Resettlement, including information regarding those
                                               Services (Jan. 31, 2020), https://www.phe.gov/           vaccinated persons consider wearing a mask              entities’ policies and practices.



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                                               1. Manner of COVID–19 Transmission                      treatment occurs with greater frequency               transmissibility and more severe
                                                  SARS–CoV–2, the virus that causes                    in older adults and those with certain                disease, which may lead to higher
                                               COVID–19, spreads mainly from person-                   pre-existing conditions.31 Although                   incidence, hospitalization, and death
                                               to-person through respiratory fluids                    children can be infected with SARS–                   rates among exposed persons.37
                                               released during exhalation, such as                     CoV–2, get sick from COVID–19, and                    Furthermore, findings suggest variants
                                               when an infected person coughs,                         spread the virus to others, when                      may reduce levels of neutralization by
                                               sneezes, or talks. Exposure to these                    compared with adults, children and                    antibodies generated during previous
                                               respiratory fluids occurs in three                      adolescents who have COVID–19 are                     infection or vaccination, resulting in
                                               principal ways: (1) Inhalation of very                  more commonly asymptomatic or have                    reduced effectiveness of treatments or
                                               fine respiratory droplets and aerosol                   mild, non-specific symptoms. Children                 vaccines, or increased diagnostic
                                               particles, (2) deposition of respiratory                are less likely to develop severe illness             detection failures.38 The ultimate
                                               droplets and particles on exposed                       or die from COVID–19.32 They typically                concern is a variant that substantially
                                               mucous membranes in the mouth, nose,                    present with mild symptoms, if any, and               decreases the effectiveness of available
                                               or eye by direct splashes and sprays,                   have a good prognosis, recovering                     vaccines against severe or deadly
                                               and (3) touching mucous membranes                       within one to two weeks after disease                 disease.
                                               with hands that have been soiled either                 onset.33                                                 Currently, the Delta variant is the
                                               directly by virus-containing respiratory                                                                      predominant SARS–CoV–2 strain
                                                                                                       2. Emerging Variants of the SARS–CoV–                 circulating in the United States,
                                               fluids or indirectly by touching surfaces               2 Virus
                                               with virus on them.28 Spread is more                                                                          accounting for over 82% of cases as of
                                                                                                          Like all viruses, SARS–CoV–2                       July 17, 2021.39 Of critical significance
                                               likely when people are in close contact
                                                                                                       constantly changes through mutation as                for this Order, the Delta variant has
                                               with one another (within about 6 feet),
                                                                                                       it circulates, resulting in new virus                 demonstrated increased levels of
                                               especially in crowded or poorly
                                                                                                       variants over time.34 Unchecked                       transmissibility among unvaccinated
                                               ventilated indoor settings. Unvaccinated
                                                                                                       transmission of SARS–CoV–2 may                        persons and might increase the risk of
                                               persons with asymptomatic and pre-
                                                                                                       result in increased viral mutations and               vaccine breakthrough infections in the
                                               symptomatic infection are significant
                                                                                                       the emergence of new variants. New                    absence of other mitigation strategies.40
                                               contributors to community SARS–CoV–
                                                                                                       variants of SARS–CoV–2 have emerged                   For the unvaccinated, Delta remains a
                                               2 transmission and occurrence of
                                                                                                       globally,35 several of which have been                formidable threat and rates of infection
                                               COVID–19.29 Asymptomatic cases are
                                                                                                       identified as variants of concern,36                  of the Delta variant are growing more
                                               currently believed to represent roughly
                                                                                                       including the Alpha, Beta, Gamma, and                 rapidly in U.S. counties with lower
                                               30% of all COVID–19 infections and the
                                                                                                       Delta variants. These variants of concern             vaccination rates.41 Available evidence
                                               infectiousness of asymptomatic
                                                                                                       have evidence of an increase in                       suggests all three vaccines currently
                                               individuals is believed to be about 75%
                                               of the infectiousness of symptomatic                                                                          authorized for emergency use in the
                                               individuals. CDC’s current best estimate
                                                                                                          31 People at Increased Risk and Other People Who
                                                                                                                                                             United States provide significant
                                                                                                       Need to Take Extra Precautions, Centers for Disease   protection against variants circulating in
                                               is that 50% of infections are transmitted               Control and Prevention, https://www.cdc.gov/
                                               prior to symptom onset (pre-                            coronavirus/2019-ncov/need-extra-precautions/         the United States.42 However, a small
                                               symptomatic transmission).30 Although                   index.html (last updated Apr. 20, 2021).
                                                                                                          32 Science Brief: Transmission of SARS–CoV–2 in       37 Dougherty K, Mannell M, Naqvi O, Matson D,
                                               rare, as discussed below, breakthrough                  K–12 Schools and Early Care and Education             Stone J. SARS–CoV–2 B.1.617.2 (Delta) Variant
                                               infections may occur in vaccinated                      Programs—Updated, Centers for Disease Control         COVID–19 Outbreak Associated with a Gymnastics
                                               individuals. Due to the variety of source               and Prevention, https://www.cdc.gov/coronavirus/      Facility—Oklahoma, April–May 2021. MMWR
                                               of spread—transmission by                               2019-ncov/science/science-briefs/transmission_k_      Morb Mortal Wkly Rep 2021;70:1004–1007. DOI:
                                                                                                       12_schools.html (last updated July 9, 2021).          http://dx.doi.org/10.15585/mmwr.mm7028e2
                                               asymptomatic, pre-symptomatic,                             33 See Leeb RT, Price S, Sliwa S, et al. COVID–    (describing a B.1.617.2 (Delta) Variant COVID–19
                                               symptomatic, and vaccinated                             19 Trends Among School-Aged Children—United           outbreak associated with a gymnastics facility and
                                               individuals—testing is critical to                      States, March 1–September 19, 2020. MMWR Morb         finding that the Delta variant is highly transmissible
                                               identify those infected with COVID–19.                  Mortal Wkly Rep 2020;69:1410–1415. DOI: http://       in indoor sports settings and households, which
                                                                                                       dx.doi.org/10.15585/mmwr.mm6939e2; Leidman E,         might lead to increased incidence rates).
                                                  Among those who are not vaccinated,
                                                                                                       Duca LM, Omura JD, Proia K, Stephens JW, Sauber-         38 SARS–CoV–2 Variant Classifications and
                                               serious COVID–19 illness necessitating                  Schatz EK. COVID–19 Trends Among Persons Aged         Definitions, Centers for Disease Control and
                                                                                                       0–24 Years—United States, March 1–December 12,        Prevention, https://www.cdc.gov/coronavirus/2019-
                                                  28 Scientific Brief: SARS–CoV–2 Transmission,        2020. MMWR Morb Mortal Wkly Rep 2021;70:88–           ncov/variants/variant-info.html#Concern (last
                                               Centers for Disease Control and Prevention (May 7,      94. DOI: http://dx.doi.org/10.15585/                  updated June 29, 2021).
                                               2021), https://www.cdc.gov/coronavirus/2019-ncov/       mmwr.mm7003e1; Rankin DA, Talj R, Howard LM,             39 Variant Proportions, Centers for Disease

                                               science/science-briefs/sars-cov-2-transmission.html;    Halasa NB. Epidemiologic trends and                   Control and Prevention, https://covid.cdc.gov/
                                               Science Brief: SARS–CoV–2 and Surface (Fomite)          characteristics of SARS–CoV–2 infections among        covid-data-tracker/#variant-proportions (citing data
                                               Transmission for Indoor Community Environments,         children in the United States. Curr Opin Pediatr.     for the two-week interval ending July 17, 2021).
                                               Centers for Disease Control and Prevention (Apr. 5,     2021 Feb 1;33(1):114–121. doi: 10.1097/                  40 About Variants of the Virus that Causes

                                               2021), https://www.cdc.gov/coronavirus/2019-ncov/       MOP.0000000000000971. PMID: 33278112; PMCID:          COVID–19, Centers for Disease Control and
                                               more/science-and-research/surface-                      PMC8011299; and Castagnoli R, Votto M, Licari A,      Prevention, https://www.cdc.gov/coronavirus/2019-
                                               transmission.html.                                      et al. Severe Acute Respiratory Syndrome              ncov/variants/variant.html (last updated June 28,
                                                  29 Moghadas SM, Fitzpatrick MC, Sah P, et al. The    Coronavirus 2 (SARS–CoV–2) Infection in Children      2021).
                                               implications of silent transmission for the control     and Adolescents: A Systematic Review. JAMA               41 COVID Data Tracker Weekly Review,

                                               of COVID–19 outbreaks. Proc Natl Acad Sci U S A.        Pediatr. 2020;174(9):882–889. doi:10.1001/            Interpretive Summary for July 23, 2021, Centers for
                                               2020;117(30):17513–17515.10.1073/                       jamapediatrics.2020.1467.                             Disease Control and Prevention, https://
                                                                                                          34 About Variants of the Virus that Causes
                                               pnas.2008373117, available at https://                                                                        www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               www.ncbi.nlm.nih.gov/pubmed/32632012;                   COVID–19, Centers for Disease Control and             covidview/index.html (attributing rising numbers of
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                                               Johansson MA, Quandelacy TM, Kada S, et al.             Prevention, https://www.cdc.gov/coronavirus/2019-     COVID–19 cases in nearly 90% of U.S. jurisdictions
                                               SARS–CoV–2 Transmission From People Without             ncov/transmission/variant.html (last updated Apr.     to the rapid spread of the Delta variant).
                                               COVID–19 Symptoms. Johansson MA, et al. JAMA            2, 2021).                                                42 Science Brief: COVID–19 Vaccines and
                                               Netw Open. 2021 January4;4(1):e2035057. doi:               35 Abdool Karim SS, de Oliveira T. New SARS–
                                                                                                                                                             Vaccination, Centers for Disease Control and
                                               10.1001/jamanetworkopen.2020.35057.                     CoV–2 Variants—Clinical, Public Health, and           Prevention, https://www.cdc.gov/coronavirus/2019-
                                                  30 COVID–19 Pandemic Planning Scenarios,             Vaccine Implications [published online ahead of       ncov/science/science-briefs/fully-vaccinated-
                                               Centers for Disease Control and Prevention, https://    print, 2021 Mar 24]. N Engl J Med. 2021;10.1056/      people.html (last updated May 27, 2021). Other
                                               www.cdc.gov/coronavirus/2019-ncov/hcp/planning-         NEJMc2100362. doi:10.1056/NEJMc2100362.               vaccines, particularly the one manufactured by
                                               scenarios.html (last visited July 28, 2021).               36 Id.                                             AstraZeneca, show reduced efficacy against



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                                               proportion of people who are fully                       and community characteristics (e.g.,                      this, CDC strongly recommends
                                               vaccinated may become infected with                      ability to maintain physical distancing,                  vaccination against COVID–19 for
                                               the Delta variant (known as                              compliance with universal mask-use                        everyone who is eligible, including
                                               breakthrough infection); emerging                        policies, ability to properly ventilate,                  people who are incarcerated or detained
                                               evidence suggests that fully vaccinated                  proportion of staff and occupants                         and staff at correctional and detention
                                               persons who do become infected with                      vaccinated, numbers of those who are at                   facilities.51 CDC is discussing additional
                                               the Delta variant are at risk for                        increased risk for severe illness from                    guidance with DHS, highlighting the
                                               transmitting it to others.43                             COVID–19, the availability of resources                   key metrics to consider before
                                                  CDC continues to monitor the                          for broad-based vaccination, testing, and                 modifying COVID–19 prevention and
                                               situation and may adapt                                  outbreak response, and level of                           mitigation measures in facilities that
                                               recommendations based on the                             community transmission).47                                hold or detain migrants.52
                                               epidemiology of variants of concern.                        Congregate settings, particularly
                                               Given the transmissibility of variant                    detention facilities with limited ability                 4. Availability of Testing, Vaccines, and
                                               strains and the continued emergence of                   to provide adequate physical distancing                   Other Mitigation Measures
                                               new variants, ongoing monitoring of                      and cohorting, have a heightened risk of                     The potential for asymptomatic and
                                               vaccine effectiveness is needed to                       COVID–19 outbreaks.48 CDC has long                        pre-symptomatic transmission makes
                                               identify mutations that could render                     recognized the risks specific to such                     testing an essential part of COVID–19
                                               vaccines most commonly used in the                       settings, including homeless shelters,                    mitigation protocols. With the
                                               United States less effective against more                detention centers, schools, and                           additional testing capacity available
                                               transmissible variants.44                                workplaces and has provided a number                      through antigen tests, rapid testing can
                                                                                                        of guidance documents to address the                      be implemented to identify infected
                                               3. Risks of COVID–19 Transmission
                                                                                                        concerns in such spaces. Specifically,                    persons so they can be isolated until
                                               Specific to Congregate Settings
                                                                                                        CDC developed interim guidance for                        they no longer pose a risk of spreading
                                                  Given the manner of transmission,                     law enforcement agencies that have                        infections and their close contacts can
                                               including asymptomatic or pre-                           custodial authority for detained                          be identified and quarantined.53 Testing
                                               symptomatic transmission, the risk of                    populations, including civil and pre-                     is especially important in congregate
                                               spreading COVID–19 is particularly                       trial detention settings. Among the                       settings where even a single
                                               pronounced among those who are                           recommendations are physical                              asymptomatic case can trigger an
                                               unvaccinated, partially vaccinated, or                   distancing strategies, isolation of                       outbreak that may quickly exceed a
                                               vaccinated with less effective                           individuals with confirmed or                             facility’s capacity to isolate and
                                               vaccines.45 This risk is acutely present                 suspected COVID–19, quarantine of                         quarantine residents. Furthermore, if
                                               in congregate settings, where a number                   close contacts, cohorting of individuals                  personnel are infected or exposed, the
                                               of people reside, meet, or gather in close               when space is limited, testing,                           number of available staff members may
                                               proximity for either a limited or                        healthcare evaluations for individuals                    be reduced, further stressing facility
                                               extended period of time.46 Facilities                    with suspected COVID–19, clinical care                    operations. Testing facility residents
                                               must often carefully weigh the risks of                  as needed for individuals with                            and personnel can help facilitate
                                               increased transmission not only in the                   confirmed or suspected COVID–19, and                      prompt mitigation actions.
                                               facilities, but also in the local                        addressing specific considerations for                       COVID–19 vaccines are now widely
                                               community, due to secondary                              people who are at increased risk for                      available in the United States, and
                                               transmission. These congregate facilities                severe illness.49                                         vaccination is recommended for all
                                               must also consider individual facility                      Vaccine coverage in congregate                         people 12 years of age and up. Three
                                                                                                        settings varies and infection risk is                     COVID–19 vaccines are currently
                                               infection with certain variants but may still protect    greater where there is sustained
                                               against severe disease; at the time of the issuance                                                                authorized by the U.S. Food and Drug
                                               of this Order, the FDA has not authorized the            community transmission.50 In light of                     Administration (FDA) for emergency
                                               AstraZeneca COVID–19 vaccine for use in the                                                                        use: Two mRNA vaccines (produced by
                                               United States.                                              47 See Recommendations for Quarantine Duration
                                                                                                                                                                  Pfizer-BioNTech and Moderna) and one
                                                  43 Supra note 15.                                     in Correctional Facilities, Centers for Disease
                                                  44 See About Variants of the Virus that Causes        Control and Prevention, https://www.cdc.gov/              viral vector vaccine (produced by
                                               COVID–19, supra note 37.                                 coronavirus/2019-ncov/community/quarantine-
                                                  45 Vaccines with effectiveness of less than 50%       duration-correctional-facilities.html (last visited       DellaGrotta AL, Molina C, et al. Limited Secondary
                                               against wildtype strains of COVID–19 are                 July 28, 2021).                                           Transmission of SARS–CoV–2 in Child Care
                                               considered less effective.                                  48 Since March 31, 2020, the U.S. Federal Bureau       Programs—Rhode Island, June 1–July 31, 2020.
                                                  46 Notably, COVID–19 has disproportionately           of Prisons and state departments of corrections have      MMWR Morb Mortal Wkly Rep 2020;69:1170–1172.
                                               affected persons in congregate settings and high-        together recorded 416,854 COVID–19 cases among            DOI: http://dx.doi.org/10.15585/mmwr.mm6934e2.
                                               density workplaces. Studies conducted prior to the       residents and 108,945 cases among staff in                   51 COVID–19 Vaccine FAQs in Correctional and

                                               availability of vaccines showed that a single            correctional and detention facilities, resulting in       Detention Centers, Centers for Disease Control and
                                               introduction of SARS–CoV–2 into a facility can           2,911 deaths. Confirmed COVID–19 Cases and                Prevention, https://www.cdc.gov/coronavirus/2019-
                                               result in a widespread outbreak. Lehnertz NB, Wang       Deaths in U.S. Correctional and Detention Facilities      ncov/community/correction-detention/vaccine-
                                               X, Garfin J, Taylor J, Zipprich J, VonBank B, et al.     by State, Centers for Disease Control and                 faqs.html (last updated June 1, 2021).
                                               Transmission Dynamics of Severe Acute                    Prevention, https://covid.cdc.gov/covid-data-                52 See CDC memo to DHS ‘‘Considerations for

                                               Respiratory Syndrome Coronavirus 2 in High-              tracker/#correctional-facilities (last visited July 28,   modifying COVID–19 prevention and mitigation
                                               Density Settings, Minnesota, USA, March–June             2021).                                                    measures in Department of Homeland Security
                                                                                                           49 See Guidance for Correctional & Detention           migrant holding facilities in response to declining
                                               2020. Emerg Infect Dis. 2021;27(8):2052–2063.
                                               https://doi.org/10.3201/eid2708.204838. Whole            Facilities, Centers for Disease Control and               transmission,’’ Centers for Disease Control and
                                                                                                        Prevention, https://www.cdc.gov/coronavirus/2019-         Prevention (last updated June 11, 2021).
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                                               genome sequencing of samples taken following an
                                               outbreak at a correctional facility demonstrated that    ncov/community/correction-detention/guidance-                53 See COVID–19 Testing and Diagnostics

                                               92.2% of the samples taken from patients were            correctional-detention.html (last updated June 9,         Working Group (TDWG). U.S. Department of Health
                                               genetically related, indicating that a single case had   2021).                                                    and Human Services, https://www.hhs.gov/
                                               likely led to the infection of 48 individuals.              50 Falk A, Benda A, Falk P, Steffen S, Wallace Z,      coronavirus/testing/testing-diagnostics-working-
                                               Similarly, phylogenetic analysis established that        H<eg TB. COVID–19 Cases and Transmission in 17            group/index.html (last visited July 28, 2021)
                                               29.6% of cases from an outbreak at a second              K–12 Schools—Wood County, Wisconsin, August               (defining the role of the COVID–19 TDWG, which
                                               correctional facility were closely related and           31–November 29, 2020. MMWR Morb Mortal Wkly               develops testing-related guidance and provides
                                               genetically identical, indicating that the index case    Rep 2021;70:136–140. DOI: http://dx.doi.org/              targeted investments to expand the available testing
                                               had led to the infection of approximately 60 others.     10.15585/mmwr.mm7004e3. See also Link-Gelles R,           supply and maximize testing capacity).



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                                               Johnson & Johnson/Janssen), each of                     practical constraints on implementation               metrics: New COVID–19 cases per
                                               which has been determined to be safe                    of mitigation measures in such facilities.            100,000 persons in the last 7 days and
                                               and effective against COVID–19. As of                   Outbreaks in these settings increase the              percentage of positive SARS–CoV–2
                                               July 28, 2021, over 163 million people                  serious danger of further introduction,               diagnostic nucleic acid amplification
                                               in the United States (57.6% of the                      transmission, and spread of COVID–19                  tests in the last 7 days. For each of these
                                               population 12 years or older) have been                 and variants into the country.                        metrics, CDC classifies transmission
                                               fully vaccinated and over 189 million                      CDC is aware of a rising number of                 values as low, moderate, substantial, or
                                               people in the United States (66.8% of                   breakthrough SARS–CoV–2 infections 58                 high. At the time of this Order’s
                                               the population 12 years or older) have                  in vaccinated individuals; even without               issuance, over 70% of the U.S. counties
                                               received at least one dose.54 After                     variants of concern, more vaccine                     along the U.S.-Mexico border were
                                               substantial vaccine uptake in the first                 breakthroughs are to be expected due to               classified as experiencing high or
                                               months of 2021, however, vaccination                    the rising number of vaccinated                       substantial levels of community
                                               uptake has plateaued, particularly in                   individuals. While the vaccines                       transmission.61 In areas of substantial or
                                               those under the age of 65 years.55 The                  currently authorized by the FDA are                   high transmission, CDC recommends
                                               combination of reduced vaccine uptake                   successful in mitigating severe illness               community leaders encourage
                                               and the extreme transmissibility of the                 from the highly transmissible Delta                   vaccination and universal masking in
                                               Delta variant has resulted in rising                    variant, infection and even mild to                   indoor public spaces in addition to
                                               numbers of COVID–19 cases, primarily                    moderate illness has been documented                  other layered prevention strategies to
                                               and disproportionately affecting the                    in a small percentage of vaccinated                   prevent further spread.
                                               unvaccinated population.                                persons.59 The emergence of these more                   Between March and June 2021, rates
                                                  The availability of COVID–19                         transmissible variants increases the                  of hospitalization due to COVID–19
                                               vaccines is rising globally but still                   urgency to expand vaccination coverage                decreased dramatically, easing long
                                               dwarfed by the rates of vaccination in                  for everyone and especially those in                  endured pressures on the U.S.
                                               the United States and a handful of other                densely populated congregate settings.60              healthcare system. However, in July
                                               countries.56 Countries of origin for the                Public health agencies and other                      2021, with the rise of the Delta variant,
                                               majority of incoming covered                            organizations must collaboratively                    the seven-day average for new hospital
                                               noncitizens have markedly lower                         monitor the status of the pandemic in                 admissions in the United States
                                               vaccination rates.57 Given this, the                    their communities. As widespread                      increased 35.8% over the prior seven-
                                               increased movement of typically                         vaccination efforts continue, ongoing                 day period.62 Rates of hospitalization
                                               unvaccinated covered noncitizens into                   use of the full panoply of mitigation                 are rising most sharply in areas with
                                               the United States presents a heightened                 measures is nevertheless especially                   low vaccination coverage.63 CDC
                                               risk of morbidity and mortality to this                 important in congregate settings and                  recommends continuous monitoring of
                                               population due to the congregate                        remains key to slowing introduction,                  the availability of staffed inpatient and
                                               holding facilities at the border and the                transmission, and spread of COVID–19.                 intensive care unit beds, as data on
                                                                                                                                                             usage of clinical care resources to
                                                                                                       5. Impact on U.S. Communities and
                                                 54 COVID–19     Vaccinations in the United States,                                                          manage patients with COVID–19 reflect
                                                                                                       Healthcare Resources
                                               Centers for Disease Control and Prevention, https://                                                          underlying community disease
                                               covid.cdc.gov/covid-data-tracker/#vaccinations             COVID–19 cases are on the rise in                  incidence. This information can signal
                                               (last updated July 28, 2021).                           nearly 90% of U.S. jurisdictions, and                 when urgent implementation of layered
                                                  55 Diesel J, Sterrett N, Dasgupta S, et al. COVID–
                                                                                                       multiple outbreaks are occurring in                   prevention strategies might be necessary
                                               19 Vaccination Coverage Among Adults—United
                                               States, December 14, 2020–May 22, 2021. MMWR
                                                                                                       parts of the country that have low                    to prevent overloading local and
                                               Morb Mortal Wkly Rep 2021;70: 922–927. DOI:             vaccination coverage. A person’s risk for             regional health care systems. Strains on
                                               http://dx.doi.org/10.15585/mmwr.mm7025e1. The           SARS–CoV–2 infection is directly
                                               study found that the lowest vaccination coverage        related to the risk for exposure to                      61 Of the 22 U.S. counties along the U.S.-Mexico
                                               and the intent to be vaccinated among adults aged       infectious persons, which is largely                  border, 13 counties are experiencing high levels of
                                               18–24 years, non-Hispanic Black adults, and                                                                   community transmission (San Diego County, CA;
                                               individuals with less education, no insurance, and      determined by the extent of SARS–CoV–
                                                                                                                                                             Hidalgo County, NM; Presidio County, TX; Brewster
                                               lower household incomes. Concerns about vaccine         2 circulation in the surrounding                      County, TX; Terrell County, TX; Val Verde County,
                                               safety and effectiveness were commonly cited            community. Emerging evidence                          TX; Kinney County, TX; Maverick County, TX;
                                               barriers to vaccination. See also supra note 15         regarding the Delta variant finds that it             Webb County, TX; Zapata County, TX; Starr
                                               (finding that vaccine uptake has slowed nationally                                                            County, TX; Hidalgo County, TX; and Cameron
                                               with wide variation in coverage by state (range =       is more than two times as transmissible
                                                                                                                                                             County, TX) and four counties are experiencing
                                               33.9%–67.2%) and by county (range = 8.8%–               as the original strains of SARS–CoV–2                 substantial levels of community transmission
                                               89.0%)).                                                circulating at the start of the pandemic.             (Imperial County, CA; Pima County, AZ; Santa Cruz
                                                  56 See ‘‘PAHO Director calls for fair and broad
                                                                                                       In light of this, CDC recommends                      County, AZ; and Luna County, NM;). Five counties
                                               access to COVID–19 vaccines for Latin America and       assessing the level of community                      are experiencing moderate levels of community
                                               the Caribbean,’’ Pan American Health Organization,                                                            transmission (Yuma County, AZ; Cochise County,
                                               https://www.paho.org/en/news/7-7-2021-paho-             transmission using, at a minimum, two                 AZ; Dona Ana County, NM; El Paso County, TX;
                                               director-calls-fair-and-broad-access-covid-19-                                                                and Hudspeth County, TX). No counties along the
                                               vaccines-latin-america-and (July 7, 2021) (noting         58 A vaccine breakthrough infection is defined as   border are experiencing low levels of community
                                               the discrepancies in vaccine availability coverage      the detection of SARS–CoV–2 RNA or antigen in a       transmission. COVID–19 Integrated County View,
                                               among North, Central, and South American                respiratory specimen collected from a person ≥14      Centers for Disease Control and Prevention, https://
                                               countries).                                             days after receipt of all recommended doses of an     covid.cdc.gov/covid-data-tracker/#county-view (last
                                                  57 Thus far in 2021, Ecuador, El Salvador,           FDA-authorized COVID–19 vaccine. COVID–19             updated July 28, 2021).
                                               Guatemala, Honduras, and Mexico constitute the          Vaccine Breakthrough Infections Reported to CDC—         62 COVID Data Tracker Weekly Review,

                                                                                                       United States, January 1–April 30, 2021. MMWR
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                                               top five countries of origin for covered noncitizens.                                                         Interpretive Summary for July 16, 2021, Centers for
                                               Rates of vaccination for each country are as follows:   Morb Mortal Wkly Rep 2021;70:792–793. DOI:            Disease Control and Prevention, https://
                                               Ecuador: 11% fully vaccinated, 30% only partly          http://dx.doi.org/10.15585/mmwr.mm7021e3.             www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               vaccinated; El Salvador: 22% fully vaccinated, 17%        59 COVID–19 Vaccine Breakthrough Case               covidview/past-reports/07162021.html (last visited
                                               only partly vaccinated; Guatemala: 1.6% fully           Investigation and Reporting, Centers for Disease      July 28, 2021).
                                               vaccinated, 5.3% only partly vaccinated; Honduras:      Control and Prevention, https://www.cdc.gov/             63 COVID Data Tracker Weekly Review,

                                               1.8% fully vaccinated, 12% only partly vaccinated;      vaccines/covid-19/health-departments/                 Interpretive Summary for July 9, 2021, Centers for
                                               Mexico: 18% fully vaccinated, 14% only partly           breakthrough-cases.html (last updated July 15,        Disease Control and Prevention, https://
                                               vaccinated, https://ourworldindata.org/covid-           2021).                                                www.cdc.gov/coronavirus/2019-ncov/covid-data/
                                               vaccinations (last visited July 24, 2021).                60 Supra at note 55.                                covidview/past-reports/07092021.html.



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                                               critical care capacity can increase                      individuals to a CBP facility for intake                 hierarchy of controls.75 CBP has
                                               COVID–19 mortality while decreasing                      processing.69                                            invested in engineering upgrades, such
                                               the availability and use of health care                     CBP facilities are designed to provide                as installing plexiglass dividers in
                                               resources for non-COVID–19 related                       this short-term intake processing and                    facilities where physical distancing is
                                               medical care.64 Increased hospital                       are thus space-constrained.70 While                      not possible and enhancing ventilation
                                               admissions are forecasted in the coming                  undergoing intake processing under                       systems. All CBP facilities adhere to
                                               weeks as the Delta variant continues to                  Title 8 at CBP facilities, noncitizens are               CDC guidance for cleaning and
                                               predominate.65                                           regularly held in close proximity to one                 disinfection. Surgical masks are
                                                  The rapid spread of the highly                        another anywhere from several hours to                   provided to all persons in custody and
                                               transmissible Delta variant is leading to                several days. Depending on the outcome                   are changed at least daily and if or when
                                               worrisome trends in healthcare and                       of intake processing, a noncitizen is                    they become wet or soiled. Personal
                                               community resources. Signs of stress are                 generally referred to the DHS’                           protective equipment (PPE) and
                                               already present in the southern regions                                                                           guidance are regularly provided to CBP
                                                                                                        Immigration and Customs Enforcement
                                               of the United States.66 Ultimately, the                                                                           personnel. Recognizing the value of
                                                                                                        (ICE), where they are often subject to
                                               flow of migration directly impacts not                                                                            vaccination, CBP is encouraging
                                                                                                        longer-term detention.71 72
                                               only border communities and regions,                                                                              vaccination among its workforce. All
                                               but also destination communities and                        Compared to CBP facilities, ICE
                                                                                                                                                                 noncitizens brought into CBP custody
                                               the healthcare resources of both. In light               facilities have space allocations similar
                                                                                                                                                                 are subject to health intake interviews,
                                               of this, the totality of the U.S.                        to traditional long-term correctional
                                                                                                                                                                 including COVID–19 screening
                                               community transmission, health system                    facilities. Still, during migratory surges,
                                                                                                                                                                 questions and temperature checks. If a
                                               capacity, and public health capacity, as                 capacity constraints hinder CBP and ICE
                                                                                                                                                                 noncitizen in custody displays
                                               well as local capacity to implement                      operations and facilities alike. If
                                                                                                                                                                 symptoms of COVID–19 or has a known
                                               mitigation protocols, are important                      downstream ICE operations and
                                                                                                                                                                 exposure, CBP facilitates referral to the
                                               considerations when reassessing the                      facilities reach capacity limits, ICE may
                                                                                                                                                                 local healthcare system for testing.
                                               need for this Order.67                                   be unable to take custody of additional
                                                                                                                                                                 Finally, in the event CBP decides to
                                                                                                        noncitizens in a timely manner. When
                                               II. Public Health Reassessment                                                                                    release a noncitizen prior to removal
                                                                                                        this movement of noncitizens from CBP
                                                                                                                                                                 proceedings, the agency has coordinated
                                               A. Immigration Processing and Public                     to ICE custody is impeded or delayed,
                                                                                                                                                                 with local governments and non-
                                               Health Impacts                                           noncitizens may remain in CBP’s
                                                                                                                                                                 governmental organizations to arrange
                                                                                                        densely populated, short-term holding
                                                 Noncitizens arriving in the United                                                                              COVID–19 testing at release.76
                                                                                                        facilities for much longer periods. Of
                                               States who lack proper travel                                                                                        In addition to these mitigation
                                                                                                        note, the United States is currently
                                               documents, whose entry is otherwise                                                                               measures, enhanced physical distancing
                                                                                                        experiencing such a migratory surge of
                                               contrary to law, or who are                                                                                       and cohorting remain key to preventing
                                                                                                        noncitizens attempting to enter the
                                               apprehended at or near the border                                                                                 transmission and spread of COVID–19,
                                                                                                        country at and between POE at the
                                               seeking to unlawfully enter the United                                                                            particularly in congregate settings. To
                                                                                                        southern border.73 DHS has already
                                               States between POE are normally                                                                                   address this, as the pandemic emerged,
                                                                                                        recorded more encounters this fiscal
                                               subject to initial immigration processing                                                                         CBP greatly reduced capacity in their
                                                                                                        year to date than the approximate
                                               by CBP in POE facilities and U.S. Border                                                                          holding facilities. While U.S. Border
                                                                                                        977,000 encounters in the whole of FY
                                               Patrol stations. Absent CDC’s issuance                                                                            Patrol facilities along the southern
                                                                                                        2019.74
                                               of an order under 42 U.S.C. 265                                                                                   border currently have a non-pandemic
                                               directing otherwise, immigration                            CBP has implemented a variety of
                                                                                                        mitigation efforts to prevent the spread                 total holding capacity of 14,553
                                               processing takes place pursuant to Title                                                                          individuals, implementation of
                                               8 of the U.S. Code. Although some                        of COVID–19 in POE and U.S. Border
                                                                                                        Patrol facilities based on the infection                 mitigation measures led to a 50–75%
                                               number of inadmissible noncitizens                                                                                reduction in holding capacity
                                               present at POE, the vast majority are                    prevention strategy referred to as the
                                                                                                                                                                 depending on the design of a given
                                               encountered by CBP between POE.68                                                                                 facility, resulting in COVID-constrained
                                                                                                          69 CBP facilities include POE, U.S. Border Patrol
                                               Upon such encounters, Border Patrol                                                                               holding capacity of 4,706.77 However,
                                                                                                        stations, and facilities managed by the Office of
                                               agents conduct an initial field                          Field Operations.                                        the current surge has caused CBP to
                                               assessment and transport the                               70 CBP facilities were designed for the immediate      exceed COVID-constrained capacity and
                                                                                                        processing of persons and are statutorily designated     routinely exceed its non-COVID
                                                 64 Supra   note 15.                                    as short-term (less than 72 hours) holding facilities.
                                                 65 COVID–19                                            6 U.S.C. 211(m).
                                                                                                                                                                 capacity.78 From July 3 to July 24, 2021,
                                                                 Forecasts: Hospitalizations, Centers
                                               for Disease Control and Prevention, https://               71 FMU transferred to ICE custody are generally

                                               www.cdc.gov/coronavirus/2019-ncov/science/               held at a Family Staging Center (FSC). Following            75 Hierarchy of Controls, Centers for Disease

                                               forecasting/hospitalizations-forecasts.html (last        intake processing, UC are referred to the Office of      Control and Prevention, available at https://
                                               updated July 21, 2021).                                  Refugee Resettlement (ORR) within HHS’                   www.cdc.gov/niosh/topics/hierarchy/default.html
                                                  66 See COVID Data Tracker: New Hospital               Administration for Children and Families (ACF) for       (last visited July 6, 2021). The hierarchy of controls
                                               Admissions, https://covid.cdc.gov/covid-data-            care.                                                    is used as a means of determining how to
                                               tracker/#new-hospital-admissions (last updated July        72 While CBP policies regarding transfer and           implement feasible and effective control solutions.
                                               22, 2021) (showing HHS Regions 4, 6, and 9,              release decisions are the same across the Southwest      The hierarchy is outlined as: (1) Elimination
                                               encompassing all southern states, experiencing           Border, implementation varies based on local CBP         (physically remove the hazard); (2) Substitution
                                               increased rates of new admissions of COVID–19-           capacity, and ICE capacity.                              (replace the hazard); (3) Engineering Controls
                                               confirmed patients).                                       73 According to data from DHS, encounters at the       (isolate people from the hazard); (4) Administrative
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                                                  67 See Implementation of Mitigation Strategies for    southern border have been rising since April 2020        Controls (change the way people work); and (5) PPE
                                               Communities with Local COVID–19 Transmission,            due to several factors, including ongoing violence,      (protect people with Personal Protective
                                               Centers for Disease Control and Prevention, https://     insecurity, and famine in the Northern Triangle          Equipment).
                                                                                                                                                                    76 This is also true of ICE facilities.
                                               www.cdc.gov/coronavirus/2019-ncov/community/             countries of Central America (El Salvador,
                                               community-mitigation.html (last visited May 6,           Honduras, Guatemala).                                       77 Similarly, the operational holding capacity for

                                               2021).                                                     74 Southwest Land Border Encounters, U.S.              SA in ICE facilities was reduced by 30% from a
                                                  68 Fiscal year to date, 96% (1,076,242 of             Customs and Border Protection, available at https://     regular total capacity of 56,888 beds to 39,821 beds.
                                               1,119,204) of encounters of noncitizens occurred         www.cbp.gov/newsroom/stats/southwest-land-                  78 Non-COVID–19 holding capacity was exceeded

                                               between POE.                                             border-encounters (last visited July 28, 2021).          as recently as July 25, 2021.



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                                               CBP encountered an average of 3,573 SA                  generally about 2–3 days before being                      Even with the March and October
                                               and 2,479 FMU daily, over a 21-day                      released. FSC capacity is further limited                Orders in place, a significant percentage
                                               period, even with the CDC Order in                      by COVID–19 mitigation protocols.81                      of FMU were unable to be expelled
                                               place. This extreme population density                     Releasing FMU to communities                          pursuant to the order, given a range of
                                               and the resulting increased time spent                  necessitates robust testing, vaccination                 factors, including, most notably,
                                               in custody by noncitizens presents a                    where possible, and careful attention to                 restrictions imposed by foreign
                                               serious risk of increased COVID–19                      consequence management (e.g., facilities                 governments.83 For example, the
                                               transmission in CBP facilities.                         for isolation and quarantine). DHS has                   Mexican government has placed certain
                                                  CBP faces unique challenges in                       partnered with state and local agencies                  nationality- and demographic-specific
                                               implementing certain COVID–19                           and non-governmental organizations to                    restrictions on the individuals it will
                                               mitigation measures. All individuals                    facilitate COVID–19 testing of FMU                       accept for return via the Title 42
                                               encountered by U.S. Border Patrol must                  upon release from CBP custody.                           expulsion process. With limited
                                               be processed in CBP facilities. Not only                Pursuant to these arrangements, CBP                      exceptions, the Mexican government
                                               does this involve close and often                       generally transports FMU to release                      will only accept the return of Mexican
                                               continuing contact between CBP                          locations where partner agencies and                     and Northern Triangle nationals.
                                               personnel and noncitizens, but CBP is                   organizations are on-site to provide                     Moreover, along sections of the border,
                                               further constrained by requirements                     testing and facilitate consequence                       Mexican officials refuse to accept the
                                               separate noncitizens within its holding                 management. Although the                                 return of any non-Mexican family with
                                               facilities according to specific                        implementing partners and their                          children under the age of seven, greatly
                                               permutations.79 These cohorting                         capacities (including for consequence                    reducing DHS’ ability to expel FMU. In
                                               requirements significantly complicate                   management such as housing) vary, the                    addition, many countries impose travel
                                               CBP’s ability to address COVID–19-                      objectives are constant. These resources,                requirements, including COVID–19
                                               related risks, as CBP facility capacity to              however, are limited. They are already                   testing, consular interviews, and
                                               accommodate COVID–19 mitigation                         stretched thin, and certainly not                        identity verification that can delay
                                               protocols may not always align with the                 available for all FMU who would be                       repatriation. These added requirements
                                               makeup of the incoming population of                    processed under Title 8 in the absence                   often make prompt expulsion a practical
                                               noncitizens and the categorical                         of an order issued under 42 U.S.C. 265.                  impossibility. Conversely, DHS
                                               separations required of DHS.                            DHS has committed to supporting and,                     continues to be able to process the
                                                                                                       where possible, expanding these efforts,                 majority of SA under Title 42.84 In those
                                               Immigration Processing Under Title 8 of
                                                                                                       including exploring the incorporation of                 cases where Title 42 processing is not
                                               the U.S. Code
                                                                                                       vaccination into this model. CDC                         possible, SA and FMU are instead
                                                  The vast majority of noncitizens                     strongly supports DHS efforts that                       processed pursuant to Title 8.
                                               attempting to enter the United States                   include broad-based testing and                          Processing noncitizens and issuing a
                                               without proper travel documents are                     vaccination.                                             Notice to Appear under Title 8
                                               SA; SA account for 68% of overall CBP                                                                            processes takes approximately an hour
                                               encounters this fiscal year as of July 26,              Immigration Processing With an Order
                                                                                                       Under 42 U.S.C. 265                                      and a half to two hours per person.
                                               2021. Under normal Title 8 immigration                                                                           Conversely, processing an individual for
                                               processes, SA are transferred to ICE                      Following the issuance of the March                    expulsion under the CDC order takes
                                               custody pending removal proceedings.                    and October Orders, covered                              roughly 15 minutes and generally
                                               As noted above, absent expulsions                       noncitizens apprehended at or near U.S.                  happens outdoors.
                                               directed by an order under 42 U.S.C.                    borders, regardless of their country of                    The March and October Orders
                                               265, SA presenting at POE or attempting                 origin, generally were expelled to                       permitted noncitizens to be promptly
                                               entry between POE would be processed                    Mexico or Canada, whichever they                         returned to their country of origin,
                                               and held in CBP facilities while                        entered from, via the nearest POE, or to                 rather than being transferred to ICE
                                               awaiting transfer to ICE. Generally, CBP                their country of origin. Where possible,                 custody or released into the United
                                               only releases SA into U.S. communities                  SA and FMU eligible for expulsion                        States, resulting in noncitizens spending
                                               as a last resort, due to severe                         based on the March and October Orders                    shorter amounts of time in custody at
                                               overcrowding and when all possible                      have been processed pursuant to the                      CBP facilities. However, as the number
                                               detention options have been explored.                   Title 42 authority, unless a case-by-case                of noncitizens attempting to enter the
                                                  A smaller percentage, 23%, of                        exception was made by DHS.82                             United States has surged and as
                                               noncitizens encountered by CBP are                                                                               individuals cannot be expelled pursuant
                                               members of an FMU.80 As with SA, CBP                       81 The total capacity for these FSCs is 3,230.
                                                                                                                                                                to Title 42 given the restrictions in
                                               has limited capacity to hold FMU.                       However, due to COVID–19 mitigation protocols
                                                                                                                                                                place, the time in custody at CBP
                                               Under Title 8, due to court-ordered                     and family composition limitations, current
                                                                                                       operational capacity for the FSCs is approximately       facilities has increased for SA and FMU,
                                               restrictions that largely prohibit the                  2,400. In July 2021, due to an influx of single adults   even with the October Order in place.
                                               long-term detention of families, FMU                    at the SWB, ICE ceased intake of family units at one     As of July 29, 2021, the current average
                                               are generally released from DHS custody                 of the FSCs and began to transition the facility to
                                                                                                                                                                time in custody at CBP facilities for SA
                                               pending removal proceedings. Prior to                   hold single adults. With this transition, the
                                                                                                       remaining COVID-limited FSC capacity for family
                                               release, some FMU are transferred from                  units is approximately 1,800. Additionally, ICE has      by the prior Order and thus cannot be expelled
                                               CBP custody to Family Staging Centers                   procured 1,200 additional beds at Emergency              pursuant to Title 42. See 85 FR at 65807.
                                               (FSC) operated by ICE. Only a limited                   Family Staging Centers (EFSCs); this bed space is           83 Only 33% of FMU encountered fiscal year to

                                                                                                       not limited by family composition or COVID–19.           date have been expelled under Title 42 and this
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                                               number of FMU may be held in an FSC,
                                                                                                          82 Some countries have put in place limitations       percentage has fallen over time. In June 2021, only
                                               and time in custody for an FMU is                       that make expulsion pursuant to Title 42                 14% of FMU were expelled under Title 42, an
                                                                                                       inapplicable. The October Order excepted covered         average of approximately 300 per day.
                                                 79 For example, criminal cases must be held
                                                                                                       noncitizens ‘‘who must test negative for COVID–19           84 Fiscal year to date, 89% of SA have been
                                               separately from administrative cases, SA must be        before they are expelled to their home country’’ and     expelled under Title 42. This percentage has fallen
                                               separated by gender identity, FMU and UC must be        several countries refuse to accept the return of SA      slightly as the constraints on expelling individuals
                                               separated from SA, and all vulnerable individuals       and FMU and other individuals unless DHS first           have increased. In June 2021, 82% of SA were
                                               must be protected from harm.                            secures a negative test result for each individual to    expelled under Title 42, an average of over 3,000
                                                 80 Thus far this fiscal year, as of July 26, 2021.    be returned. These noncitizens are thus not covered      per day.



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                                               not subject to expulsion under the                        immune, under-vaccinated, and non-                      public lags. Ensuring the continued
                                               October Order is 50 hours. FMU                            vaccinated persons). Mitigation                         availability of healthcare resources is a
                                               currently spend an average of 62 hours                    measures, especially testing and                        critical component of the federal
                                               in CBP custody prior to release or                        vaccination, must be considered for the                 government’s overall public health
                                               transfer to ICE. If the CDC Order were                    noncitizens being held, as well as for                  response to COVID–19.
                                               not in place, both SA and FMU time in                     facility personnel. On-site COVID–19                       Given the nature of COVID–19, there
                                               custody would likely increase                             testing for noncitizens at CBP holding                  is no zero-risk scenario, particularly in
                                               significantly.                                            facilities is very limited and the                      congregate settings and with variants as
                                                                                                         majority of testing takes place off-site.               transmissible as that of Delta in high
                                               B. Public Health Assessment of Single                                                                             circulation in the country. The ongoing
                                                                                                         For example, if a noncitizen is
                                               Adults and Family Units                                                                                           pandemic presents complex and
                                                                                                         transported to a community healthcare
                                                  Implementation of CDC’s March and                      facility for medical care, testing is                   dynamic challenges relating to public
                                               October Orders significantly reduced                      provided based on local protocols. Once                 health that limit DHS’ ability to process
                                               the length of time covered noncitizen                     transferred to ICE custody, testing for                 noncitizens safely under normal Title 8
                                               SA and FMU are held in congregate                         SA and FMU is more widely available.                    procedures. Processing a noncitizen
                                               settings at POE and U.S. Border Patrol                       Although COVID–19-related                            under Title 8 can take up to eight times
                                               stations, as well as in the ICE facilities                healthcare resources have substantially                 as long as processing a noncitizen under
                                               that subsequently hold noncitizens.85                     improved since the October Order was                    Title 42. Importantly, longer processing
                                               By reducing congestion in these                           issued, emerging variants and the                       times result in longer exposure times to
                                               facilities, the Orders have helped lessen                 potential for a future vaccine-resistant                a heightened risk of COVID–19
                                               the introduction, transmission, and                       variant mean the possible impacts on                    transmission for both noncitizens and
                                               spread of COVID–19 among border                           U.S. communities and local healthcare                   CBP personnel. Amid the ongoing
                                               facilities and into the United States                     resources in the event of a COVID–19                    migrant surge, both the COVID–19-
                                               while also decreasing the risk of                         outbreak at CBP facilities cannot be                    reduced capacity and higher non-COVID
                                               exposure to COVID–19 for DHS                              ignored. The introduction, transmission,                holding capacity limits have been
                                               personnel and others in the facilities.                   and spread of SARS–CoV–2—including                      exceeded in CBP facilities. Complete
                                               Implementation of the Orders has                          its variants—among covered noncitizens                  termination of any order under 42
                                               mitigated the potential erosion of DHS                    during processing and holding at                        U.S.C. 265 would increase the number
                                               operational capacity due to COVID–19                      congregate CBP settings remain a                        of noncitizens requiring processing
                                               outbreaks. The reduction in the number                    significant concern to the noncitizens,                 under Title 8, resulting in severe
                                               of SA and FMU held in these congregate                    CBP personnel, as well as the                           overcrowding and a high risk of COVID–
                                               settings continues to be a necessary                      community at large in light of                          19 transmission among those held in the
                                               mitigation measure as DHS moves                           transmission to unvaccinated                            facilities and the CBP workforce,
                                               towards the resumption of normal                          individuals and the potential for                       ultimately burdening the local
                                               border operations.                                        breakthrough cases. Of particular note,                 healthcare system.89
                                                  The availability of testing,                           POE and U.S. Border Patrol stations are                    All of this is of particular concern as
                                               vaccination, and other mitigation                         ill-equipped to manage an outbreak and                  the Delta variant continues to drive an
                                               measures 86 at migrant holding facilities                 these facilities are heavily reliant on                 increase in COVID–19 cases. While
                                               must also be considered. While                            local healthcare systems for the                        scientists learn more about Delta and
                                               downstream ICE facilities may have                        provision of more extensive medical                     other emerging variants, rigorous and
                                               greater ability to provide these                          services to noncitizens.87 Transfers to                 increased compliance with public
                                               measures, CBP cannot appropriately                        local healthcare systems for care could                 health mitigation strategies is essential
                                               execute consequence management                            strain local or regional healthcare                     to protect public health.90 Reducing the
                                               measures to minimize spread or                            resources. Reliance on healthcare                       further introduction, transmission, and
                                               transmission of COVID–19 within its                       resources in border and destination                     spread of these variants and future
                                               facilities. Space constraints, for                        communities may increase the pressure                   variants of concern into the United
                                               example, preclude implementation of                       on the U.S. healthcare system and                       States is key to defeating COVID–19.
                                               cohorting and consequence management
                                                                                                         supply chain during the current public                  CDC has concluded that SA and FMU
                                               such as quarantine and isolation.
                                                                                                         health emergency.88 Of note,                            should continue to be subject to the
                                               Covered noncitizens housed in
                                                                                                         hospitalization rates are once again                    Order at this time pending further
                                               congregate settings who may be infected
                                                                                                         soaring nationally as the Delta variant                 improvements in the public health
                                               with COVID–19 may ultimately increase
                                                                                                         spreads and the vaccination rate of the                 situation.
                                               community transmission rates in the
                                               United States, especially among                             87 See CBP Directive No. 2210–004, U.S. Customs
                                                                                                                                                                 C. Comparison to Unaccompanied
                                               susceptible populations (i.e., non-                       and Border Protection, https://www.cbp.gov/sites/       Noncitizen Children
                                                                                                         default/files/assets/documents/2019-Dec/CBP_              As discussed in the July Exception,
                                                  85 For example, when processing noncitizens            Final_Medical_Directive_123019.pdf (Dec. 30,
                                               under Title 8, prior to referral to ICE or release into   2019). Many of the U.S. Border Patrol stations and      UC are differently situated than SA and
                                               the community, CBP generally issues the noncitizen        POE facilities are located in remote areas and do not
                                               a ‘‘Notice to Appear’’ (also called an I–862), which      have ready access to local healthcare systems              89 Throughout the course of the COVID–19

                                               is a charging document that initiates removal             (which typically serve small, rural populations and     pandemic, CDC has observed numerous outbreaks
                                               proceedings against the noncitizen and may include        have limited resources). 85 FR 56424, 56433. See        in similar congregate settings. See FAQs for
                                               a court date or direct the noncitizen to report to an     also Abubakar I, Aldridge RW, Devakumar D, et al.       Correctional and Detention Facilities, Centers for
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                                               ICE office to receive a court date.                       The UCL-Lancet Commission on Migration and              Disease Control and Prevention, https://
                                                  86 See Interim Guidance on Management of               Health: the health of a world on the move. Lancet.      www.cdc.gov/coronavirus/2019-ncov/community/
                                               Coronavirus Disease 2019 (COVID–19) in                    2018;392(10164):2606–2654. doi:10.1016/S0140–           correction-detention/faq.html (last visited Apr. 15,
                                               Correctional and Detention Facilities, Centers for        6736(18)32114–7.                                        2021).
                                               Disease Control and Prevention, https://                    88 See COVID–19 State Profile Report—Combined            90 About Variants of the Virus that Causes

                                               www.cdc.gov/coronavirus/2019-ncov/community/              Set, HealthData.gov, https://healthdata.gov/            COVID–19, Centers for Disease Control and
                                               correction-detention/guidance-correctional-               Community/COVID-19-State-Profile-Report-                Prevention, https://www.cdc.gov/coronavirus/2019-
                                               detention.html#correctional-facilities (last visited      Combined-Set/5mth-2h7d (last updated July 28,           ncov/transmission/variant.html (last updated Apr.
                                               July 28, 2021).                                           2021).                                                  2, 2021).



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                                               FMU. The Government has greater                         modifying the availability of exceptions                 such an exception is consistent with its
                                               ability to care for UC while                            for individual SA and FMU in an order                    legal authorities and in the public
                                               implementing appropriate COVID–19                       under 42 U.S.C. 265, and reissuing an                    health interest.
                                               mitigation measures. ORR has                            order under 42 U.S.C. 265 for some or
                                                                                                                                                                II. Legal Basis for This Order Under
                                               established a robust network of care                    all UC); but for the reasons discussed
                                                                                                                                                                Sections 362 and 365 of the Public
                                               facilities that provide testing and                     herein, CDC finds that the continued
                                                                                                                                                                Health Service Act and 42 CFR 71.40
                                               medical care and institute COVID–19                     suspension of the right to introduce SA
                                               mitigation protocols, including                         and FMU under the terms set forth                           CDC is issuing this Order pursuant to
                                               vaccination for personnel and eligible                  herein, combined with the exception for                  sections 362 and 365 of the Public
                                               UC. In light of these considerations,                   UC, is appropriate at this time. This                    Health Service Act (42 U.S.C. 265, 268)
                                               there is very low likelihood that                       temporary suspension pending further                     and the implementing regulation at 42
                                               processing UC in accordance with                        improvements in the public health                        CFR 71.40. In accordance with these
                                               existing Title 8 procedures will result in              situation and greater ability to                         authorities, the CDC Director is
                                               undue strain on the U.S. healthcare                     implement COVID–19 mitigation                            permitted to prohibit, in whole or in
                                               system or healthcare resources.                         measures in migrant holding facilities                   part, the introduction into the United
                                               Moreover, UC released to a vetted                       will slow the influx of noncitizens into                 States of persons from designated
                                               sponsor or placed in a temporary or                     environments at higher risk for COVID–                   foreign countries (or one or more
                                               licensed ORR shelter do not pose a                      19 transmission and spread.                              political subdivisions or regions thereof)
                                               significant level of risk for COVID–19                     DHS has indicated a commitment to                     or places, only for such period of time
                                               spread into the community. UC are                       restoring border operations in a manner                  that the Director deems necessary to
                                               released only after having undergone                    that complies with applicable COVID–                     avert the serious danger of the
                                               testing, quarantine and/or isolation, and               19 mitigation protocols while also                       introduction of a quarantinable
                                               vaccination when possible, and their                    accounting for other public health and                   communicable disease, by issuing an
                                               sponsors are provided with appropriate                  humanitarian concerns. In light of                       Order in which the Director determines
                                               medical and public health direction.                    available mitigation measures, and with                  that:
                                               CDC thus finds that, at this time,91 there              DHS’ pledge to expand capacity in a                         (1) By reason of the existence of any
                                               is appropriate infrastructure in place to               COVID-safe manner similar to                             quarantinable communicable disease in
                                               protect the children, caregivers, and                   expansions undertaken by HHS and                         a foreign country (or one or more
                                               local and destination communities from                  ORR to address UC influx, CDC believes                   political subdivisions or regions thereof)
                                               elevated risk of COVID–19 transmission.                 that the gradual resumption of normal                    or place there is serious danger of the
                                               CDC believes the COVID–19-related                       border operations under Title 8 is                       introduction of such quarantinable
                                               public health concerns associated with                  feasible. With careful planning, this may                communicable disease into the United
                                               UC introduction can be adequately                       be initiated in a stepwise manner that                   States; and
                                               addressed without UC being subject to                   complies with COVID–19 mitigation                           (2) This danger is so increased by the
                                               this Order. As outlined in the July                     protocols. HHS and CDC intend to                         introduction of persons from such
                                               Exception and incorporated herein, CDC                  support DHS in this effort and continues                 country (or one or more political
                                               is fully excepting UC from this Order.                  to work with DHS to provide technical                    subdivisions or regions thereof) or place
                                               The number of UC entering the United                    guidance on COVID–19 mitigation                          that a suspension of the right to
                                               States is smaller than both the number                  strategies for their unique facilities and               introduce such persons into the United
                                               of SA 92 and of FMU. Whereas UC can                     populations.93 CDC understands that                      States is required in the interest of
                                               be excepted from the Order without                      DHS intends to continue exercising                       public health.94
                                               posing a significant public health risk,                case-by-case exceptions for individual                      CDC has authority under Section 362
                                               the same is not true of SA and FMU, as                  SA and FMU based on a totality of the                    and the implementing regulation to
                                               described above.                                        circumstances as CDC transitions away                    issue this Order to mitigate the further
                                                                                                       from this Order. CDC is also providing                   spread of COVID–19 disease, especially
                                               D. Summary of Findings                                  an additional exception to permit DHS                    as the need to prevent proliferation of
                                                 Upon review of the various public                     to except noncitizens participating in a                 COVID–19 disease related to SARS–
                                               health factors outlined above and in                    DHS-approved program that                                CoV–2 virus variants is heightened
                                               consideration of the circumstances at                   incorporates pre-processing COVID–19                     while vaccination efforts continue.
                                               DHS facilities, it is CDC’s assessment                  testing in Mexico of the noncitizens,                    Section 362 and the implementing
                                               that suspending the right to introduce                  prior to their safe and orderly entry to                 regulation provide the Director with a
                                               covered noncitizen SA and FMU who                       the U.S. via ports of entry. Based on the                public health tool to suspend
                                               would otherwise be held at POE and                      incorporation of relevant COVID–19                       introduction of persons not only to
                                               U.S. Border Patrol stations remains                     mitigation measures in such programs,                    prevent the introduction of a
                                               necessary as the United States continues                in consultation with CDC, CDC believes                   quarantinable communicable disease,
                                               to combat the COVID–19 public health                                                                             but also to aid in continued efforts to
                                               emergency. In making this                                  93 CDC has advised DHS on best practices with
                                                                                                                                                                mitigate spread of that disease.95
                                               determination, CDC has considered                       regard to testing noncitizens at the point they are         The term ‘‘introduction into the
                                                                                                       released to U.S. communities to await further
                                               various possible alternatives (including                immigration proceedings. In addition to enforcing
                                                                                                                                                                United States’’ is defined in 42 CFR
                                               but not limited to terminating the                      physical distancing (as practicable), mask-wearing,      71.40 as ‘‘the movement of a person
                                               application of an order under 42 U.S.C.                 and testing for both noncitizens and personnel alike     from a foreign country (or one or more
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                                               265 for some or all SA and FMU,                         in POE and U.S. Border Patrol stations, CDC advises      political subdivisions or regions thereof)
                                                                                                       vaccination of DHS/CBP personnel to further
                                                                                                       reduce the risk of COVID–19 introduction,                or place, or series of foreign countries or
                                                 91 This situation could change based on an
                                                                                                       transmission, and spread in facilities and               places, into the United States so as to
                                               increased influx of UC, changes in COVID–19             communities and protect the federal workforce.           bring the person into contact with
                                               infection dynamics among UC, or unforeseen              Widespread vaccination of federal employees and
                                               reductions in housing capacity.                                                                                  persons or property in the United States,
                                                                                                       other personnel in congregate settings at POE and
                                                 92 Note, the total number of SA encounters may        U.S. Border Patrol stations is another layer of the
                                                                                                                                                                 94 42   U.S.C. 265; 42 CFR 71.40.
                                               include repeat encounters with SA who attempt           strategy that will lead to the normalization of border
                                               entry again following expulsion.                        operations.                                               95 85   FR 56424 at 56425–26.



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                                               in a manner that the Director determines                      movement into the United States, or                         As stated in 42 CFR 71.40, this Order
                                               to present a risk of transmission of a                        physically expelling from the United                     does not apply to U.S. citizens, U.S.
                                               quarantinable communicable disease to                         States some or all of the persons.’’ See                 nationals, lawful permanent residents,
                                               persons, or a risk of contamination of                        also 42 U.S.C. 265 (authorizing the                      members of the armed forces of the
                                               property with a quarantinable                                 prohibition when the danger posed by                     United States and associated personnel
                                               communicable disease, even if the                             the communicable disease ‘‘is so                         if the Secretary of Defense provides
                                               quarantinable communicable disease                            increased by the introduction of persons                 assurance to the Director that the
                                               has already been introduced,                                  from such country . . . or place that a                  Secretary of Defense has taken or will
                                               transmitted, or is spreading within the                       suspension of the right to introduce                     take measures such as quarantine or
                                               United States.’’ 42 CFR 71.40(b)(1).                          such persons into the United States is                   isolation, or other measures maintaining
                                               Similarly, the term ‘‘serious danger of                       required in the interest of public                       control over such individuals, to
                                               the introduction of such quarantinable                        health’’). Pursuant to that provision, this              prevent the risk of transmission of the
                                               communicable disease into the United                          Order permits expulsion of persons                       quarantinable communicable disease
                                               States’’ is defined as, ‘‘the probable                        covered by it, as did the prior Orders                   into the United States, and U.S.
                                               introduction of one or more persons                           issued under this authority.97 CDC                       government employees or contractors on
                                               capable of transmitting the                                   recognizes that expulsion is an                          orders abroad, or their accompanying
                                               quarantinable communicable disease                            extraordinary action but, as explained in                family members who are on their orders
                                               into the United States, even if persons                       the Final Rule, the power to expel is                    or are members of their household, if
                                               or property in the United States are                          critical where neither HHS/CDC, nor                      the Director receives assurances from
                                               already infected or contaminated with                         other Federal agencies, nor state or local               the relevant head of agency and
                                               the quarantinable communicable                                governments have the facilities and                      determines that the head of the agency
                                               disease.’’ 42 CFR 71.40(b)(3).                                personnel necessary to quarantine,                       or department has taken or will take
                                                  In promulgating § 71.40, CDC and                                                                                    measures such as quarantine or
                                                                                                             isolate, or conditionally release the
                                               HHS noted that ‘‘‘introduction’ does not                                                                               isolation, to prevent the risk of
                                                                                                             number of persons who would
                                               necessarily conclude the instant that a                                                                                transmission of a quarantinable
                                                                                                             otherwise increase the serious danger of
                                               person first steps onto U.S. soil. The                                                                                 communicable disease into the United
                                                                                                             the introduction of a quarantinable
                                               introduction of a person into the United                                                                               States.102
                                                                                                             communicable disease into the United
                                               States can occur not only when a person
                                                                                                             States.98 In those situations, the rapid                    In addition, this Order does not apply
                                               first steps onto U.S. soil, but also when
                                                                                                             expulsion of persons from the United                     to those classes of persons excepted by
                                               a person on U.S. soil moves further into
                                                                                                             States may be the most effective public                  the CDC Director. Including exceptions
                                               the United States, and begins to come
                                                                                                             health measure that HHS/CDC can                          in the Order is consistent with Section
                                               into contact with persons or property in
                                                                                                             implement within the finite resources of                 362 and 42 CFR 71.40, which permit the
                                               ways that increase the risk of
                                                                                                             HHS/CDC and its Federal, State, and                      prohibition of introduction into the
                                               transmitting the quarantinable
                                                                                                             local partners.99                                        United States to be ‘‘in whole or in
                                               communicable disease.’’ 96 This
                                                                                                                As stated in the Final Rule for 42 CFR                part.’’ As explained in the Final Rule for
                                               language recognizes that many
                                               quarantinable communicable diseases,                          71.40, CDC ‘‘may, in its discretion,                     section 71.40, this language is intended
                                               including COVID–19, may be spread by                          consider a wide array of facts and                       to allow the Director to narrowly tailor
                                               infected individuals who are                                  circumstances when determining what                      the use of the authority to what is
                                               asymptomatic and therefore unaware                            is required in the interest of public                    required in the interest of public
                                               that they are capable of transmitting the                     health in a particular situation . . .                   health.103 Pursuant to this capability,
                                               disease. Even when a communicable                             includ[ing]: the overall number of cases                 CDC is therefore excepting specific
                                               disease is already circulating within the                     of disease; any large increase in the                    categories of persons from the Order, as
                                               United States, prevention and                                 number of cases over a short period of                   described herein.
                                               mitigation of continued transmission of                       time; the geographic distribution of                        As required by Section 362, this Order
                                               the virus is nevertheless a key public                        cases; any sustained (generational)                      will be in effect only for as long as it is
                                               health measure. In this case, although                        transmission; the method of disease                      needed to avert the serious danger of the
                                               COVID–19 has already been introduced                          transmission; morbidity and mortality                    introduction, transmission, and spread
                                               and is spreading within the United                            associated with the disease; the                         of COVID–19 into the United States and
                                               States, this Order serves as an important                     effectiveness of contact tracing; the                    will be terminated when the
                                               disease-mitigation tool to protect public                     adequacy of state and local healthcare                   continuation of the Order is no longer
                                               health. This is particularly true as new                      systems; and the effectiveness of state                  necessary to protect the public health.
                                               variants of the virus continue to emerge.                     and local public health systems and                      Finally, as directed by 42 CFR 71.40(c),
                                               By continuing to suspend the                                  control measures.’’ 100 Other factors                    the Order sets out the following:
                                               introduction of persons from foreign                          noted in the Final Rule are the potential                   (1) The foreign countries (or one or
                                               countries into the United States, this                        for disease spread among persons held                    more political subdivisions or regions
                                               Order will help minimize the spread of                        in congregate settings, specifically                     thereof) or places from which the
                                               variants and their ability to accelerate                      during processing and holding at CBP                     introduction of persons is being
                                               disease transmission.                                         facilities, and the potential for disease                prohibited;
                                                  Section 71.40(b)(2) defines                                spread to the community at large.101                        (2) The period of time or
                                               ‘‘[p]rohibit, in whole or in part, the                                                                                 circumstances under which the
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                                               introduction into the United States of                          97 See  id. at 56425, 56433.                           introduction of any persons or class of
                                               persons’’ in Section 362 as ‘‘to prevent                        98 Id. at 56425, 56445–46.                             persons into the United States is being
                                               the introduction of persons into the                            99 Id. at 56425.
                                                                                                                                                                      prohibited;
                                                                                                               100 Id. at 56444.
                                               United States by suspending any right to
                                                                                                               101 Id. at 56434. Strain on healthcare systems was
                                               introduce into the United States,                                                                                      reduction of this strain as a result of CDC’s
                                                                                                             also cited as a factor in the Final Rule, specifically
                                               physically stopping or restricting                            the additional strain that noncitizen migrant            previously issued orders. Id. at 56431.
                                                                                                                                                                        102 42 CFR 71.40(e) and (f).
                                                                                                             healthcare needs may place on already
                                                 96 Id.   at 56425.                                          overburdened systems; the Final Rule described the         103 85 FR 56424, 56444.




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                                                  (3) The conditions under which that                  variant—presented following the                       insufficient options for effective
                                               prohibition on introduction will be                     introduction of an infected person, as                mitigation, CDC finds the public health
                                               effective, in whole or in part, including               well as the benefits of reducing such                 justification for this Order is sustained
                                               any relevant exceptions that the Director               risks. I have also considered                         at this time.
                                               determines are appropriate;                             epidemiological information, including                   DHS has indicated that it is
                                                  (4) The means by which the                           the viral transmissibility and                        committed to restoring border
                                               prohibition will be implemented; and                    asymptomatic transmission of COVID–
                                                  (5) The serious danger posed by the                                                                        operations and facilitating arrivals to the
                                                                                                       19, the epidemiology and spread of                    United States in a manner that comports
                                               introduction of the quarantinable                       SARS–CoV–2 variants, the morbidity
                                               communicable disease in the foreign                                                                           with CDC’s recommended COVID–19
                                                                                                       and mortality associated with the                     mitigation protocols. Given the recent
                                               country or countries (or one or more                    disease for individuals in certain risk
                                               political subdivisions or regions thereof)                                                                    migrant surge, DHS believes that an
                                                                                                       categories, as well as public health                  incremental approach is the best way to
                                               or places from which the introduction of                concerns with crowding at border
                                               persons is being prohibited.                                                                                  recommence normal border operations
                                                                                                       facilities and resultant risk of                      while ensuring health and safety
                                               III. Issuance and Implementation of                     transmission of additional quarantinable              concerns are addressed. To this end,
                                               Order                                                   communicable diseases. I am issuing
                                                                                                                                                             DHS will work to establish safe,
                                                                                                       this Order to preserve the health and
                                                  Based on the foregoing public health                                                                       efficient, and orderly processes that are
                                                                                                       safety of U.S. citizens, U.S. nationals,
                                               reassessment, I hereby issue this Order                                                                       consistent with appropriate health and
                                                                                                       and lawful permanent residents, and
                                               pursuant to Sections 362 and 365 of the                                                                       safety protocols and the epidemiology of
                                                                                                       personnel and noncitizens in POE and
                                               Public Health Service (PHS) Act, 42                                                                           the COVID–19 pandemic, in
                                                                                                       U.S. Border Patrol stations by reducing
                                               U.S.C. 265, 268, and their implementing                                                                       consultation with CDC.
                                                                                                       the introduction, transmission, and
                                               regulations under 42 CFR part 71,104                                                                             CDC’s expectation is that although
                                                                                                       spread of the virus that causes COVID–
                                               which authorize the CDC Director to                                                                           this Order will continue with respect to
                                                                                                       19, including new and existing variants,
                                               suspend the right to introduce persons                                                                        SA and FMU, DHS will use case-by-case
                                                                                                       in congregate settings where covered
                                               into the United States when the Director                                                                      exceptions based on the totality of the
                                                                                                       noncitizens would otherwise be held
                                               determines that the existence of a                                                                            circumstances where appropriate to
                                                                                                       while undergoing immigration
                                               quarantinable communicable disease in                                                                         except individual SA and FMU in a
                                                                                                       processing, including at POE and U.S.
                                               a foreign country or place creates a                                                                          manner that gradually recommences
                                                                                                       Border Patrol stations at or near the U.S.
                                               serious danger of the introduction of                                                                         normal migration operations as COVID–
                                                                                                       land and adjacent coastal borders.
                                               such disease into the United States and                                                                       19 health and safety protocols and
                                               the danger is so increased by the                          Based on an assessment of the current
                                                                                                       COVID–19 epidemiologic landscape and                  capacity allows. DHS will consult with
                                               introduction of persons from the foreign                                                                      CDC to ensure that the standards for
                                               country or place that a temporary                       the U.S. government’s ongoing efforts to
                                                                                                       accommodate UC, CDC does not find                     such exceptions are consistent with
                                               suspension of the right of such                                                                               current CDC guidance and public health
                                               introduction is necessary to protect                    public health justification for this Order
                                                                                                       to apply with respect to UC, as outlined              recommendations. Based on this
                                               public health. This Order hereby                                                                              incorporation of relevant COVID–19
                                               replaces and supersedes the Order                       in the July Exception. Although CDC
                                                                                                       finds that, at this time, this Order                  mitigation measures, CDC believes it is
                                               Suspending the Right to Introduce                                                                             consistent with the legal authorities and
                                               Certain Persons from Countries Where a                  should be applicable to FMU, CDC notes
                                                                                                       that there are fewer FMU than SA                      in the public health interest to continue
                                               Quarantinable Communicable Disease
                                                                                                       unlawfully entering the United States                 the use of case-by-case exceptions as a
                                               Exists, issued on October 13, 2020
                                                                                                       and many FMU are already being                        step towards the resumption of normal
                                               (October Order) 105 and affirms and
                                                                                                       processed pursuant to Title 8 versus                  border operations under Title 8.
                                               incorporates the exception for UC
                                                                                                       Title 42 given a variety of practical and             Additionally, DHS is working in
                                               published in the July Exception, such
                                                                                                       other limitations on immediately                      coordination with nongovernmental
                                               that UC are excepted from this Order.106
                                                  This Order addresses the current                     expelling FMU. DHS has indicated that                 organizations, state and local health
                                               status of the COVID–19 public health                    it plans to continue to partner with state            departments, and other relevant
                                               emergency and ongoing public health                     and local agencies and                                facilitating organizations and entities as
                                               concerns, including virus transmission                  nongovernmental organizations to                      appropriate to develop DHS-approved
                                               dynamics, viral variants, mitigation                    provide testing, consequence                          processes that include pre-entry
                                               efforts, the public health risks inherent               management, and eventually                            COVID–19 testing. Additional public
                                               to high migration volumes, low                          vaccination to FMU who are determined                 health mitigation measures, such as
                                               vaccination rates among migrants, and                   to be eligible for Title 8 processing. CDC            maintaining physical distancing and use
                                               crowding of immigration facilities. In                  considers these efforts to be a critical              of masks, testing, and isolation and
                                               making this determination, I have                       risk reduction measure and encourages                 quarantine as appropriate, are included
                                               considered myriad facts, including the                  DHS to evaluate the potential expansion               in such processes. DHS has documented
                                               congregate nature of border facilities                  of such COVID–19 mitigation programs                  these processes and shared them with
                                               and the high risk for COVID–19                          for FMU such that they may be excepted                CDC. CDC has consulted with DHS to
                                               outbreaks—especially now with the                       from this Order in the future. Although               ensure that the processes appropriately
                                               predominant, more transmissible Delta                   vaccination programs are not available                address public health concerns and
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                                                                                                       at this time, CDC encourages DHS to                   align with relevant CDC COVID–19
                                                 104 Control of Communicable Diseases; Foreign         develop such programs as quickly as                   mitigation protocols. Based on these
                                               Quarantine: Suspension of the Right to Introduce        practicable. While the migration of SA                plans and processes, CDC believes it is
                                               and Prohibition of Introduction of Persons into         and FMU into the United States during                 consistent with legal authorities and in
                                               United States from Designated Foreign Countries or
                                               Places for Public Health Purposes, 85 FR 56424
                                                                                                       the COVID–19 public health emergency                  the public health interest to permit an
                                               (Sept. 11, 2020); 42 CFR 71.40.                         continues and given the inherent risks                exception for noncitizens in such DHS-
                                                 105 Supra note 4.                                     that accompany holding these groups in                approved processes to allow for safe and
                                                 106 Supra note 3.                                     crowded congregate settings with                      orderly entry into the United States.


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                                               A. Covered Noncitizens                                  guidance and public health                            public health and continuation of this
                                                  This Order applies to persons                        recommendations.                                      Order is no longer necessary to protect
                                                                                                                                                             public health, whichever occurs first. At
                                               traveling from Canada or Mexico                         C. APA, Review, and Termination
                                                                                                                                                             least every 60 days, the CDC shall
                                               (regardless of their country of origin)                    This Order shall be immediately                    review the latest information regarding
                                               who would otherwise be introduced                       effective. I consulted with DHS and                   the status of the COVID–19 public
                                               into a congregate setting in a POE or                   other federal departments as needed                   health emergency and associated public
                                               U.S. Border Patrol station at or near the               before I issued this Order and requested              health risks, including migration
                                               U.S. land and adjacent coastal borders                  that DHS continue to aid in the                       patterns, sanitation concerns, and any
                                               subject to certain exceptions detailed                  enforcement of this Order because CDC                 improvement or deterioration of
                                               below; this includes noncitizens who do                 does not have the capability, resources,              conditions at the U.S. border, to
                                               not have proper travel documents,                       or personnel needed to do so.110 As part              determine whether the Order remains
                                               noncitizens whose entry is otherwise                    of the consultation, DHS developed                    necessary to protect public health. Upon
                                               contrary to law, and noncitizens who                    operational plans for implementing this               determining that the further
                                               are apprehended at or near the border                   Order. CDC has reviewed these plans                   introduction of COVID–19 into the
                                               seeking to unlawfully enter the United                  and finds them to be consistent with the              United States is no longer a serious
                                               States between POE. For purposes of                     language of this Order directing that                 danger to the public health necessitating
                                               this Order, I refer to persons covered by               covered noncitizens spend as little time              the continuation of this Order, I will
                                               the Order as ‘‘covered noncitizens.’’                   in congregate settings as practicable                 publish a notice in the Federal Register
                                               B. Exceptions                                           under the circumstances. In my view,                  terminating this Order. I retain the
                                                                                                       DHS’s assistance with implementing the                authority to modify or terminate the
                                                 This Order does not apply to the                      Order is necessary, as CDC’s other
                                               following:                                                                                                    Order, or its implementation, at any
                                                                                                       public health tools are not viable                    time as needed to protect public health.
                                                 • U.S. citizens, U.S. nationals, and                  mechanisms given CDC resource and
                                               lawful permanent residents; 107                         personnel constraints, the large numbers              Authority
                                                 • Members of the armed forces of the                  of covered noncitizens involved, and                    The authority for this Order is
                                               United States and associated personnel,                 the likelihood that covered noncitizens               Sections 362 and 365 of the Public
                                               U.S. government employees or                            do not have homes in the United                       Health Service Act (42 U.S.C. 265, 268)
                                               contractors on orders abroad, or their                  States.111                                            and 42 CFR 71.40.
                                               accompanying family members who are                        This Order is not a rule subject to
                                               on their orders or are members of their                                                                         Dated: August 3, 2021.
                                                                                                       notice and comment under the
                                               household, subject to required                                                                                Sherri Berger,
                                                                                                       Administrative Procedure Act (APA).
                                               assurances; 108                                         Even if it were, notice and comment and               Chief of Staff, Centers for Disease Control
                                                 • Noncitizens who hold valid travel                                                                         and Prevention.
                                                                                                       a delay in effective date are not required
                                               documents and arrive at a POE;                                                                                [FR Doc. 2021–16856 Filed 8–3–21; 4:15 pm]
                                                                                                       because there is good cause to dispense
                                                 • Noncitizens in the visa waiver                      with prior public notice and the                      BILLING CODE 4163–18–P
                                               program who are not otherwise subject                   opportunity to comment on this Order
                                               to travel restrictions and arrive at a POE;             and a delayed effective date. Given the
                                                 • Unaccompanied Noncitizen                                                                                  DEPARTMENT OF HEALTH AND
                                                                                                       public health emergency caused by
                                               Children; 109                                                                                                 HUMAN SERVICES
                                                                                                       COVID–19, it would be impracticable
                                                 • Noncitizens who would otherwise                     and contrary to public health practices               Centers for Medicare & Medicaid
                                               be subject to this Order, who are                       and the public interest to delay the                  Services
                                               permitted to enter the U.S. as part of a                issuing and effective date of this Order
                                               DHS-approved process, where the                         with respect to all covered noncitizens.              [Document Identifier: CMS–10148 and CMS–
                                               process approved by DHS has been                        In addition, this Order concerns ongoing              10784]
                                               documented and shared with CDC, and                     discussions with Canada and Mexico on                 Agency Information Collection
                                               includes appropriate COVID–19                           how best to control COVID–19                          Activities: Proposed Collection;
                                               mitigation protocols, per CDC guidance;                 transmission over our shared borders                  Comment Request
                                               and                                                     and therefore directly ‘‘involve[s] . . . a
                                                 • Persons whom customs officers                       . . . foreign affairs function of the                 AGENCY:  Centers for Medicare &
                                               determine, with approval from a                         United States;’’ 112 thus, notice and                 Medicaid Services, Health and Human
                                               supervisor, should be excepted from                     comment and a delay in effective date                 Services (HHS).
                                               this Order based on the totality of the                 are not required.                                     ACTION: Notice.
                                               circumstances, including consideration                     This Order shall remain effective until
                                               of significant law enforcement, officer                 either the expiration of the Secretary of             SUMMARY:   The Centers for Medicare &
                                               and public safety, humanitarian, and                    HHS’ declaration that COVID–19                        Medicaid Services (CMS) is announcing
                                               public health interests. DHS will                       constitutes a public health emergency,                an opportunity for the public to
                                               consult with CDC regarding the                          or I determine that the danger of further             comment on CMS’ intention to collect
                                               standards for such exceptions to help                   introduction, transmission, or spread of              information from the public. Under the
                                               ensure consistency with current CDC                     COVID–19 into the United States has                   Paperwork Reduction Act of 1995 (the
                                                                                                       ceased to be a serious danger to the                  PRA), federal agencies are required to
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                                                 107 42  CFR 71.40(f).
                                                                                                                                                             publish notice in the Federal Register
                                                 108 42  CFR 71.40(e)(1) and (3).                        110 42  U.S.C. 268; 42 CFR 71.40(d).                concerning each proposed collection of
                                                  109 As excepted pursuant to the Public Health          111 CDC   relies on the Department of Defense,      information (including each proposed
                                               Determination Regarding an Exception for                other federal agencies, and state and local           extension or reinstatement of an existing
                                               Unaccompanied Noncitizen Children from Order            governments to provide both logistical support and    collection of information) and to allow
                                               Suspending the Right to Introduce Certain Persons       facilities for federal quarantines. CDC lacks the
                                               from Countries Where a Quarantinable                    resources, manpower, and facilities to quarantine     60 days for public comment on the
                                               Communicable Disease Exists. 86 FR 38717 (July          covered noncitizens.                                  proposed action. Interested persons are
                                               22, 2021).                                                112 5 U.S.C. 553(a)(1).                             invited to send comments regarding our


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                      Exhibit E:
                Texas-DHS Agreement
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     AGREEMENT BETWEEN DEPARTMENT OF HOMELAND SECURITY AND THE
                          STATE OF TEXAS

The parties to this Agreement are on the one hand:

         (1)     the Department of Homeland Security,
         (2)     U.S. Customs and Border Protection (CBP),
         (3)     U.S. Immigration and Customs Enforcement (ICE), and
         (4)     U.S. Citizenship and Immigration Services (USCIS); 1

      and on the other hand:

         (5)     the State of Texas, by and through the Office of the Governor (Texas).
I.       AUTHORITY

The authorities governing this Agreement include, but are not limited to:

         (1)     the Immigration Reform and Control Act of 1986, Pub. L. No. 99-603, 100 Stat. 3359, as
                 amended;
         (2)     the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L.
                 No. 104-208, 110 Stat. 3009, as amended;
         (3)     the Privacy Act, 5 U.S.C. Section 552a, as amended;
         (4)     the Inter-Governmental Cooperation Act, 31 U.S.C. Section 6501, et. seq. as
                 amended;
         (5)     the Homeland Security Act of 2002, 116 Stat. 2135, 6 U.S.C. Section 101, et seq. as
                 amended; and
         (6)     the Immigration and Nationality Act, 8 U.S.C. Section 1101, et seq. as amended.

II.      PURPOSE AND COMMITMENT

DHS recognizes that Texas, like other States, is directly and concretely affected by changes to
DHS rules and policies that have the effect of easing, relaxing, or limiting immigration
enforcement. Such changes can impact Texas’s law enforcement, housing, education,
employment, commerce, and healthcare needs and budgets. The harm to Texas is particularly
acute where its budget has been set months or years in advance and it has no time to adjust its
budget to respond to DHS policy changes. Specifically, DHS recognizes that the following actions
result in concrete injuries to Texas:

         (1)     a decrease of any immigration enforcement priorities;
         (2)     a reduction in the number of DHS agents performing immigration enforcement
                 functions;

1
  The Department of Homeland Security, CBP, ICE, and USCIS are collectively referred to in this Agreement as
“DHS.” The Department of Homeland Security, CBP, ICE, and USCIS enter into this Agreement individually and
collectively, such that termination or removal of one or more of those parties (whether by law or contract) does not
terminate this Agreement as to any other parties.
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       (3)     a decrease or pause on returns or removals of removable or inadmissible aliens;
       (4)     a decrease or pause on apprehensions or administrative arrests;
       (5)     relaxation of the standards for granting relief from return or removal, such as
               asylum;
       (6)     an increase in releases from detention;
       (7)     a relaxation of the standards for granting release from detention;
       (8)     changes to immigration benefits or eligibility, including work authorization,
               discretionary actions, or discretionary decisions; and
       (9)     rules, policies, procedures, and decisions that could result in significant increases
               to the number of people residing in a community.
At the same time, Texas recognizes that DHS relies on cooperation with Texas and information
shared by Texas to carry out DHS’s immigration enforcement functions. Any decrease in a State’s
cooperation or information sharing with DHS may result in a decrease in immigration
enforcement.

To that end, this Agreement establishes a binding and enforceable commitment between DHS and
Texas, in which Texas will provide information and assistance to help DHS perform its border
security, legal immigration, immigration enforcement, and national security missions in exchange
for DHS’s commitment to consult Texas and consider its views before taking any action, adopting
or modifying a policy or procedure, or making any decision that could:

       (1)     reduce, redirect, reprioritize, relax, or in any way modify immigration enforcement;
       (2)     decrease the number of ICE agents performing immigration enforcement duties;
       (3)     pause or decrease the number of returns or removals of removable or inadmissible
               aliens from the country;
       (4)     increase or decline to decrease the number of lawful, removable, or inadmissible
               aliens;
       (5)     increase or decline to decrease the number of releases from detention;
       (6)     relax the standards for granting relief from return or removal, such as asylum;
       (7)     relax the standards for granting release from detention;
       (8)     relax the standards for, or otherwise decrease the number of, apprehensions or
               administrative arrests;
       (9)     increase, expand, extend, or in any other way change the quantity and quality of
               immigration benefits or eligibility for other discretionary actions for aliens; or
       (10)    otherwise negatively impact Texas.
In case of doubt, DHS will err on the side of consulting with Texas.

III.   RESPONSIBILITIES

       A.      DHS agrees to:

       (1)     Utilize its immigration authorities, to the maximum extent possible, to prioritize the
               protection of the United States and its existing communities. This includes:


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           a.     enforcing the immigration laws of the United States to prohibit the entry
                  into, and promote the return or removal from, the United States of
                  inadmissible and removable aliens;
           b.     enforcing the immigration laws of the United States to prioritize detention
                  over release of inadmissible and removable aliens;
           c.     enforcing the immigration laws of the United States to apprehend and
                  administratively arrest inadmissible and removable aliens;
           d.     eliminating incentives and so-called “pull factors” for illegal immigration;
           e.     limiting eligibility for asylum and other relief from detention, return, or
                  removal to the statutory criteria; and
           f.     refusing asylum and other relief from detention, return, or removal for those
                  aliens who pose a danger to the United States, whether due to prior criminal
                  history, the security of the United States, health, or some other bar.

     (2)   Consult with Texas before taking any action or making any decision that could
           reduce immigration enforcement, increase the number of removable or
           inadmissible aliens in the United States, or increase immigration benefits or
           eligibility for benefits for removable or inadmissible aliens. This includes policies,
           practices, or procedures which have as their purpose or effect:

           a.     reducing, redirecting, reprioritizing, relaxing, lessening, eliminating, or in
                  any way modifying immigration enforcement;
           b.     decreasing the number of ICE agents within Texas’s territorial jurisdiction
                  performing immigration enforcement duties;
           c.     pausing or decreasing the number of returns or removals of removable or
                  inadmissible aliens from the country;
           d.     decreasing the number of or criteria for detention of removable or
                  inadmissible aliens from the country;
           e.     decreasing or pausing apprehensions or administrative arrests;
           f.     increasing or declining to decrease the number of lawful, removable, or
                  inadmissible aliens residing in the United States;
           g.     increasing, expanding, extending, or in any way changing the quantity or
                  quality of immigration benefits or eligibility for these benefits or other
                  discretionary actions for aliens; or
           h.     otherwise negatively impacting Texas.

     (3)   Provide Texas with 180 days’ written notice (in the manner provided for in Section
           IV of this Agreement) of any proposed action listed in Section III.A.2 and an
           opportunity to consult and comment on the proposed action. DHS will in good faith
           consider Texas’s input and provide a detailed written explanation of the reasoning
           behind any decision to reject Texas’s input before taking any action listed in Section
           III.A.2. In case of doubt as to whether DHS’s action is implicated by this provision,



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               DHS will err on the side of consulting with Texas before taking any such action
               listed above.

       B.      Texas agrees to:

Support DHS’s immigration enforcement by honoring “detainer requests” or “requests to hold”
issued to Texas by ICE or CBP, and honoring DHS requests for records or information from the
Texas Department of Motor Vehicles.

IV.    NOTICES

All notices required hereunder shall be given by certified United States mail, postage prepaid
return receipt requested, and addressed to the respective parties at their addresses set forth below,
or at such other address as any party shall hereafter inform the other party by written notice. All
written notices so given shall be deemed effective upon receipt.

       Department of Homeland Security
       Secretary of Homeland Security
       Washington, D.C. 20528

       U.S. Customs and Border Protection
       Office of the Commissioner
       1300 Pennsylvania Ave. NW
       Washington, D.C. 20229

       U.S. Immigration and Customs Enforcement
       Office of the Director
       500 12th Street SW
       Washington, D.C. 20536

       U.S. Citizenship and Immigration Services
       Office of the Director
       5900 Capital Gateway Drive
       Suitland, Maryland 20746

       Texas
       c/o Greg Abbott, Governor of Texas             c/o Ken Paxton, Attorney General
       1100 San Jacinto Boulevard, 4th Floor          300 West 15th Street
       Austin, Texas 78701                            Austin, Texas 78711

V.     PENALTIES

Texas acknowledges that the information it receives from DHS is governed by the Privacy Act, 5
U.S.C. section 552a(i)(1), and that any person who obtains this information under false pretenses
or uses it for any purpose other than as provided for in this Agreement may be subject to civil or
criminal penalties.

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VI.    INJUNCTIVE RELIEF

It is hereby agreed and acknowledged that it will be impossible to measure in money the damage
that would be suffered if the parties fail to comply with any of the obligations herein imposed on
them and that in the event of any such failure, an aggrieved party will be irreparably damaged and
will not have an adequate remedy at law. Any such party shall, therefore, be entitled (in addition
to any other remedy to which it may be entitled in law or in equity) to injunctive relief, including
specific performance, to enforce such obligations, and if any action should be brought in equity to
enforce any of the provisions of this Agreement, none of the parties hereto shall raise the defense
that there is an adequate remedy at law.

VII.   THIRD PARTY LIABILITY

Each party to this Agreement shall be solely responsible for its own defense against any claim or
action by third parties arising out of or related to the execution or performance of this Agreement,
whether civil or criminal, and retains responsibility for the payment of any corresponding liability.

Nothing in this Agreement is intended, or should be construed, to create any right or benefit,
substantive or procedural, enforceable at law by any non-party to this Agreement against any party,
its agencies, officers, or employees.

VIII. DISPUTE RESOLUTION

DHS and Texas will endeavor to the best of their ability to resolve their disputes informally and
through consultation and communication. Disagreements on the interpretation of the provisions of
this Agreement that cannot be resolved between the parties should be provided in writing to the
authorized officials at both agencies for resolution. If settlement cannot be reached at this level,
the disagreement may be adjudicated in a United States District Court located in Texas.

IX.    CONFLICTS

This Agreement constitutes the full agreement on this subject between DHS and Texas. Any
inconsistency or conflict between or among the provisions of this Agreement, will be resolved in
the following order of precedence: (1) this Agreement and (2) other documents incorporated by
reference in this Agreement. Provided, however, that this Agreement shall not void, abrogate, or
modify any other agreement between DHS and Texas unless and to such extent as such agreement
conflicts with this Agreement.




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X.     SEVERABILITY

The Parties agree that if a binding determination is made that any term of this Agreement is
unenforceable, such unenforceability shall not affect any other provision of this Agreement, and
the remaining terms of this Agreement shall, unless prohibited by law, remain effective as if such
unenforceable provision was never contained in this Agreement.

The parties additionally agree that if this Agreement is found to be unenforceable as to one or more
of the parties comprising DHS, including the Department of Homeland Security, such
unenforceability shall not affect the validity of this Agreement as to the remaining parties and this
Agreement shall remain effective as if such party was never a party to this Agreement.

XI.    ASSIGNMENT

Texas may not assign this Agreement, nor may it assign any of its rights or obligations under this
Agreement. To the greatest extent possible, this Agreement shall inure to the benefit of, and be
binding upon, any successors to DHS and Texas without restriction.

XII.   WAIVER

No waiver by any party of any breach of any provision of this Agreement shall constitute a waiver
of any other breach. Failure of any party to enforce at any time, or from time to time, any provision
of this Agreement shall not be construed to be a waiver thereof.

XIII. EFFECTIVE DATE

This Agreement shall be effective immediately when all parties have signed this Agreement. This
Agreement shall continue in effect unless modified or terminated in accordance with the provisions
of this Agreement.

XIV. MODIFICATION

This Agreement is subject to periodic review by DHS, its authorized agents or designees, and, if
necessary, periodic modification or renewal, consistent with this Agreement’s terms, to assure
compliance with current law, policy, and standard operating procedures. This Agreement
constitutes the complete Agreement between the parties for its stated purpose, and no modification
or addition will be valid unless entered into by mutual consent of all parties evidenced in writing
and signed by all parties.

Any party may accomplish a unilateral administrative modification to change point-of-contact
information. A written bilateral modification (i.e., agreed to and signed by authorized officials of
all parties) is required to change any other term of this Agreement.

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XV.       TERMINATION
Any party may terminate its involvement in this Agreement by submitting a request in writing to
the other parties and providing 180 days’ notice of intent to terminate its involvement in this
Agreement. The termination will be effective 180 days after the written termination request was
submitted or upon a date agreed upon by all parties, whichever is earlier. Termination by one party
of its involvement in this Agreement shall not terminate this Agreement as to the remaining parties.

XVI. STATUS
The foregoing constitutes the full agreement on this subject between DHS and Texas.

Nothing in this Agreement may be construed to (1) negate any right of action for a State, local
government, other person, or entity affected by this Agreement; or (2) alter the laws of the United
States.

XVII. KNOWING AND VOLUNTARY ACKNOWLEDGMENT
The parties enter into this Agreement voluntarily, without coercion or duress, and fully understand
its terms. The parties acknowledge they had an opportunity to review and reflect on this Agreement
and have discussed its provisions with their respective counsel, if any. The parties attest they
understand the effect of each of the provisions in this Agreement and that it is binding on all parties.

XVIII. COUNTERPARTS
This Agreement may be executed in counterparts, each of which shall be deemed to be an original,
but all of which together shall constitute one agreement.

XIX. FORMALIZATION
The undersigned represent that they are authorized to execute this Agreement on behalf of CBP,
ICE, USCIS, and Texas, respectively.

Furthermore, the undersigned execute this Agreement on behalf of CBP, ICE, USCIS, Texas, respectively.

[Signatures on the following pages]




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                                Signature for the Department of Homeland Security

    DEPARTMENT OF HOMELAND SECURITY


                                             1/8/2021
    Kenneth T. Cuccinelli II                    Date
    Senior Official Performing the Duties of the Deputy Secretary
    Signed individually and collectively2




2
  “Signed individually and collectively” as used here indicates that the agency is entering into this Agreement
both (1) for itself, independently, and (2) along with the other entities that comprise DHS, collectively. Should
one agency, for whatever reason, cease to be a party to this Agreement, this Agreement shall still survive for all
other parties and be read and interpreted as if the removed party had never been a party to this Agreement.
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                       Signature for the Office of the Governor of Texas

OFFICE OF THE GOVERNOR OF TEXAS



                                December 31, 2020
Greg Abbott                     Date
Governor




                    Signature for the Office of the Attorney General of Texas

OFFICE OF THE ATTORNEY GENERAL OF TEXAS



                                12/31/2020

Ken Paxton                      Date
Attorney General




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                    Exhibit F:
            Declaration of Rodney Scott
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

STATE OF TEXAS,

              Plaintiff,                       Civil Action No. 4:21-cv-00579-P
                     v.
JOSEPH R. BIDEN, JR., et al.,

              Defendants.

                    DECLARATION OF RODNEY S. SCOTT

      I, Rodney S. Scott, pursuant to 28 U.S.C. § 1746, based upon my personal

knowledge, and documents and information made known or available to me as of the

time of signature hereby declare as follows:

   1. I served as the Chief, U.S. Border Patrol (USBP), of U.S. Customs and Border

      Protection (CBP) from February 2, 2020, to August 14, 2021. My tenure as

      Chief, USBP spanned both the Presidential Administration of Joe Biden as

      well as Donald Trump. As Chief, I served as the senior most official in CBP

      responsible for implementing Title 42 Authority between the ports of entry. I

      honorably retired on August 14, 2021, after serving more than 29 years as a

      U.S. Border Patrol agent. Prior to serving as the Chief of USBP, I was the Chief

      of the San Diego Sector. That Sector (a term for the geographic demarcation of

      a particular area of responsibility within USBP) includes approximately 60

      linear miles of border shared with Mexico and 931 miles of coastal border, with

      approximately 2,200 Border Patrol Agents. I have also served in various other

      leadership positions in USBP, including Chief Patrol Agent of the El Centro


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     Sector; Deputy Chief Patrol Agent at San Diego Sector; Patrol Agent in Charge

     at the Brown Field Station in San Diego Sector; Assistant Chief in CBP's Office

     of Anti-Terrorism in Washington, D.C.; and Director/Division Chief for the

     Incident Management and Operations Coordination Division at CBP

     Headquarters.

  2. In my position as the Chief of USBP, I was the highest ranking official within

     USBP, responsible for executing the missions of the Department of Homeland

     Security (DHS), CBP, and USBP. The USBP is the primary federal law

     enforcement organization responsible for preventing the entry of terrorists and

     their weapons and for preventing the illicit trafficking of people and

     contraband between ports of entry. USBP has a workforce of over 21,000

     personnel who support or directly patrol the border of the United States in-

     between the legal Ports of Entry. As Chief, I was also responsible for the daily

     operations of USBP, including the development and implementation of all

     nationwide policy decisions.

  3. I am familiar with the Centers for Disease Control and Prevention (CDC)

     Order Suspending Introduction of Certain Persons from Countries Where a

     Communicable Disease Exists (Mar. 20, 2020) (CDC Order or Title 42) and

     subsequent extensions and amendments, as well as CBP’s role in assisting

     with implementing this Order.

  4. U.S. Border Patrol equipment and facilities are limited and do not allow for

     social distancing or isolation of individuals as recommended by CDC. The



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     significant volume of migrants encountered by USBP, which is currently

     averaging over 6,000 per day, make COVID testing impractical.

  5. I am familiar with the U.S. District Court for the District of Columbia’s

     November 18, 2020, order (District Court Order) in P.J.E.S. v. Wolf, et al., No.

     1:20-cv-02245 (D.D.C. August 14, 2020), that, among other things, certified a

     class of unaccompanied alien children who are or will be in U.S. government

     custody and would be expelled consistent with the CDC Order, generally

     discussed above. I also understand that the District Court Order enjoined CBP

     from “expelling the Class Members from the United States under the CDC

     Order Process, whether pursuant to an Order issued by the Director of the

     Centers for Disease Control and Prevention under the authority granted by the

     Interim Final Rule, 85 Fed. Reg. 16559-01, or the Final Rule, 85 Fed. Reg.

     56,424-01.” I further understand that the U.S. District Court for the District

     of Columbia denied the government’s request for a stay pending appeal.

  6. On November 18, 2020, under my guidance, USBP headquarters issued

     guidance on the District Court’s preliminary injunction to all USBP Field

     Chiefs and Field Deputies for immediate implementation in their Area of

     Responsibility. Specifically, the guidance provided that operational procedures

     must be amended to immediately prohibit the expulsion of class members

     under Title 42. Additionally, the guidance further confirmed that all

     unaccompanied alien children (UAC) must be processed consistent with

     applicable law and policy.



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  7. On or about January 29, 2021, the U.S Court of Appeals for the D.C. Circuit

     granted the federal government’s motion to stay the preliminary injunction

     pending appeal in P.J.E.S. v. Pekoske, et al., No. 1:20-cv02245. Therefore, DHS

     was allowed to immediately resume expelling unaccompanied alien children

     under Title 42 and return to pre-November 18th, 2020, Title 42 processing.

  8. USBP acted immediately and instructed personnel to resume Title 42

     processing and expulsions consistent with the granted stay. Consistent with

     well-established delegated authority within the USBP Headquarters

     organizational structure, leadership within the USBP Law Enforcement

     Operations Directorate (a Directorate directly subordinate to the Chief, U.S.

     Border Patrol) provided guidance to field chiefs and field deputies to

     immediately resume implementation of Title 42 for UAC. Simultaneously, I

     was informed of this action and concurred.

  9. On or about January 30, 2021, at approximately 6:03 PM I received written

     instructions via electronic email from the Acting Commissioner of U.S.

     Customs and Border Protection, saying that DHS had decided not to act on the

     approved stay and that USBP was prohibited from resuming Title 42

     processing or expulsions of unaccompanied alien children until approved by

     DHS. I was not directly or indirectly included in any pre-decision deliberations

     prior to this DHS guidance, nor was I provided any information to support that

     this decision was formulated based on new medical evidence. Furthermore, in




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     my opinion this decision was in direct contrast to the governments’ evidence-

     based arguments provided during the appeal of this initial injunction.

  10. On or about January 31, 2021, I sent an email to Acting Commissioner Miller

     saying:

     [T]his email serves as my objection to any decision to voluntarily carve
     out a class of individuals from the CDC order. It is my understanding
     that the sole intent of the CDC order is to protect America by preventing
     the further introduction of COVID-19 into the US population. As
     highlighted in discussions with CDC when the original orders were
     issued, any voluntary deviations from that order place U.S. citizens, our
     personnel and the migrants themselves at increased risk of contracting
     COVID-19. Additionally, this decision will increase the pressure placed
     on the limited medical capability in the local communities along the
     border.

  11. To date, I have not been provided any medical rationale or scientific evidence

     to justify excluding any specific group or class of individuals from Title 42.

  12. This is a significant departure from well-established practices and protocols.

     In my experience, USBP leadership, and specifically the Chief of the USBP or

     his or her delegate, has been included in detailed briefings and deliberations

     to facilitate informed decision-making prior to implementing a significant

     policy decision such as this.

  13. Based on my experience, knowledge, and previous briefings from CDC, I

     believe that this decision was arbitrary and lacked any factual or evidentiary

     basis.

  14. Furthermore, based on previous briefings provided by CDC and exposure

     modeling conducted by CBP, I believe this arbitrary decision and the

     associated public statements that followed directly attributed to a significant

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     surge in illegal entries by unaccompanied alien children and significantly

     increased the risk of introducing COVID-19 and its variants into the U.S.

     population.

  15. I am also familiar with CBP’s processing of aliens who were encountered as

     members of family units.

  16. Acting under the CDC’s Order, prior to the January of 2021, members of family

     units were largely expelled from the United States under Title 42 or put into

     an alternate pathway that prevented their release into the interior of the

     United States.

  17. Since approximately January of 2021, CBP has encountered an increasing

     number of members of family units along the southwest border.

  18. In addition to the policy exception for UAC, I believe that a series of political

     decisions resulted in a significant number of illegal aliens, classified as family

     units, being granted exemption from Title 42 expulsions.

  19. For example, after the change in administrations and during my service as the

     Chief of the Border Patrol, the Government of Mexico began refusing to accept

     the return of certain aliens at certain ports of entry, to include family units.

  20. In my opinion, during prior administrations, the Department of State would

     have been engaged to assert political pressure on Mexico to encourage them to

     find a joint solution. To my knowledge the Biden Administration did not apply

     such pressure here, and the United States Government accepted Mexico’s

     unilateral decision and allowed them to control the situation. This directly



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     resulted in a significant increase in aliens being processed under Title 8 and

     then released into the United States.

  21. For example, in October 2020, over 91% of total encounters by USBP were

     processed under Title 42 and expelled in an average of 90 minutes. As of

     August 1, 2021, nearly 53% are being granted exemptions from Title 42 with

     the majority ultimately being released into the United States.

  22. As a routine process, CBP seeks to quickly transfer all aliens—other than

     UAC—to U.S. Immigration and Customs Enforcement (ICE) who cannot be

     immediately removed or expelled.

  23. However, ICE accepts a small fraction of the total alien family units

     apprehended by CBP and processes them for detention that normally will not

     exceed 20 days or for alternatives to detention and then release the family

     units into the United States.

  24. When ICE is unable or unwilling to assume custody of any alien, CBP will

     process the alien for a Notice to Appear or a Notice to Report and then release

     the alien at a local transportation hub or to a non-governmental organization

     that provides assistance to migrant populations.

  25. Today, the vast majority of family unit aliens are apprehended, processed, and

     then released into the United States. They are not tested for COVID-19 prior

     to their release from CBP custody.




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      I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge, information, and belief, as of the time of signature.



      Executed this 23rd day of August 2021.



                                              _____________________________
                                              Rodney S. Scott
                                              Retired Chief, U.S. Border Patrol




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